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                                                         PM Commonwealth Court of Pennsylvania


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                                                                                            464 MD 2021




      IN THE COMMONWEALTH COURT OF PENNSYLVANIA

                               No. 464 M.D. 2021

Carol Ann Carter; Monica Parrilla; Rebecca Poyourow; William Tung; Roseanne
   Milazzo; Burt Siegel; Susan Cassanelli; Lee Cassanelli; Lynn Wachman;
   Michael Guttman; Maya Fonkeu; Brady Hill; Mary Ellen Bachunis; Tom
                DeWall; Stephanie McNulty; and Janet Temin,

                                   Petitioners,

                                        vs.

   Leigh Chapman, in Her Official Capacity as the Acting Secretary of the
Commonwealth of Pennsylvania; and Jessica Mathis, in Her Official Capacity as
         Director of the Bureau of Election Services and Notaries,

                                  Respondents.


                               No. 465 M.D. 2021

  Philip T. Gressman; Ron Y. Donagi; Kristopher R. Tapp; Pamela A. Gorkin;
  David P. Marsh; James L. Rosenberger; Amy Myers; Eugene Boman; Gary
          Gordon; Liz McMahon; Timothy G. Feeman; and Garth Isaak

                                   Petitioners,
                                        vs.

   Leigh Chapman, in her Official Capacity as the Acting Secretary of the
Commonwealth of Pennsylvania ; and Jessica Mathis, in Her Official Capacity as
         Director of the Bureau of Election Services and Notaries,

                                  Respondents.
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    CORRECTED OPENING BRIEF OF HOUSE REPUBLICAN
INTERVENORS KERRY BENNINGHOFF, MAJORITY LEADER, AND
 BRYAN CUTLER, SPEAKER, OF THE PENNSYLVANIA HOUSE OF
REPRESENTATIVES IN SUPPORT OF PROPOSED CONGRESSIONAL
                  REDISTRICTING MAP

I.    INTRODUCTION

      The map offered by Intervenors Bryan Cutler, Speaker of the Pennsylvania

House of Representatives, and Kerry Benninghoff, Majority Leader of the

Pennsylvania House of Representatives (collectively “Republican House Leaders”),

attached as Exhibit 1 to the Affidavit of Bill Schaller, attached as Exhibit I (the

“Schaller Affidavit”), was passed through a transparent and full deliberative

legislative process by the Pennsylvania House of Representatives (“House Plan”).

Intervenors Jake Corman, President Pro Tempore, and Kim Ward, Majority Leader,

of the Pennsylvania Senate are submitting the same map on behalf of the Senate.

What’s more, the House Plan was drawn by a Pennsylvania citizen and good

government advocate – Amanda Holt – who served as the lead plaintiff in the prior

litigation over the state’s legislative map. The House made minimal changes to Ms.

Holt’s submission to increase the compactness of certain districts and to address

other comments received during this open process. But 95% of the map drafted by

Ms. Holt remains the same in the House Plan.

      Importantly, the House Plan follows traditional redistricting principles,

including the criteria in Pa. Const., Art. II, § 16, which, although applicable to

legislative reapportionment, have been adopted as important considerations in
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congressional redistricting in League of Women Voters of Pa. v. Commonwealth,

645 Pa. 1, 120-21 (2018). The House Plan has a population deviation of at most one

person, is compact and contiguous, and splits only 15 counties and 16

municipalities–less than or comparable to the current map adopted by the

Pennsylvania Supreme Court in 2018. There can be no dispute that the House Plan

adheres to these traditional redistricting criteria.

      Moreover, the House did not “use partisan data in [its] consideration of

submitted maps, in the selection of Ms. Amanda Holt’s citizen’s map, or in [its]

adjustments made to the maps through amendment.”1 Perhaps unsurprisingly, this

honest and fair process produced an honest and fair map: one demonstrably fair to

both political parties as measured by numerous partisan fairness metrics. Simulation

analysis performed by Dr. Michael Barber demonstrates that the House Plan is

predicted to result in 9 Democratic seats and 8 Republican seats using an index of

statewide elections from 2012-2020, whereas the most likely outcome in the 50,000

simulated maps without using partisan data is 8 Democratic seats and 9 Republican

seats. In other words, the House Plan is more favorable to Democrats than the most

likely outcome of 50,000 computer drawn maps using no partisan data. Other


1
  Ltr. from Rep. Grove to Gov. Wolf, Jan. 6, 2022, at 5, copy attached as Exhibit A,
http://repgrove.com/Display/SiteFiles/418/OtherDocuments/2022/CongressionalRedistrictingRes
ponsetoGovWolf.pdf (the “Grove Letter”) (last visited Jan. 24, 2022). See also Pennsylvania
House of Representatives, State Government Committee Meeting, December 15, 2021, at
timecode 6:30 (comments of Rep. Grove), at http://www.pahousegop.com/embed/33680/Voting-
meeting-on-HB-2146-and-any-other-business-that-may-come-before-the-committee.

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partisan fairness metrics prove that the House Plan is fair and will allow both parties

the opportunity to translate their votes into seats.

      It is the General Assembly’s prerogative to redraw the state’s congressional

districts under Article I, § 4 of the United States Constitution and the Pennsylvania

Constitution. The Pennsylvania House of Representatives passed a map that meets

constitutional criteria and there is still time for the Senate to pass that map and submit

it to the Governor before the January 30, 2022 deadline. If, however, the Senate

does not pass the map in time, or the Governor vetoes it, the House Plan should be

given deference or at least special consideration as it is the only map the truly reflects

the will of the people of Pennsylvania. It is the only map that has gone through a

transparent and deliberative process by the people’s elected representatives.

II.   DICUSSION

      A.     League of Women Voters of Pa. v. Commonwealth.

      In League of Women Voters of Pa. v. Commonwealth (“LWV”), the

Pennsylvania Supreme Court laid out the framework for evaluating the

constitutionality of a congressional redistricting plan under the Pennsylvania

Constitution’s Free and Equal Elections Clause, Art. I, § 5. 645 Pa. 1 (2018). The

Pennsylvania Supreme Court interpreted the Free and Equal Elections Clause to

require that “an individual’s electoral power not be diminished through any law

which discriminatorily dilutes the power of his or her vote...” LWV, 645 Pa. at 120.


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To help assess that question, the Court relied upon the Article II, Section 16 factors

applicable for legislative redistricting:

      [g]iven the great concern of the delegates over the practice of
      gerrymandering occasioned by their recognition of the corrosive effects
      on our entire democratic process through the deliberate dilution of our
      citizenry's individual votes, the focus on these neutral factors must be
      viewed, then, as part of a broader effort by the delegates to that
      convention to establish ‘the best methods of representation to secure a
      just expression of the popular will.’ Consequently, these factors have
      broader applicability beyond setting standards for the drawing of
      electoral districts for state legislative office.
Id. at 119 (internal citation omitted). It also found that

      the use of compactness, contiguity, and the maintenance of the integrity
      of the boundaries of political subdivisions maintains the strength of an
      individual's vote in electing a congressional representative. When an
      individual is grouped with other members of his or her community in a
      congressional district for purposes of voting, the commonality of the
      interests shared with the other voters in the community increases the
      ability of the individual to elect a congressional representative for the
      district who reflects his or her personal preferences. This approach
      inures to no political party's benefit or detriment. It simply achieves the
      constitutional goal of fair and equal elections for all of our
      Commonwealth’s voters.
Id. at 120-21.

      The Court relied upon the Article II, Section 16 criteria as a basis to strike

down the 2011 congressional plan, finding that when “it is demonstrated that, in the

creation of congressional districts, these neutral criteria have been subordinated, in

whole or in part, to extraneous considerations such as gerrymandering for unfair

partisan political advantage, a congressional redistricting plan violates Article I,



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Section 5 of the Pennsylvania Constitution.” Id. at 122. This subordination is an

effects-based test and does not “require a showing that the creators of congressional

districts intentionally subordinated these traditional criteria...” Id.

       These principles should thus guide this Court in selecting the appropriate

congressional plan to govern elections for the next decade.

       B.      The House Plan Was Passed by the House Following a Transparent
               and Full Deliberative Process and Is Nearly Identical to the Map
               Drawn By a Citizen and Good Government Advocate.

       In the most open and transparent Congressional redistricting process in recent

history, the House State Government Committee held a series of eleven hearings

around the Commonwealth from July 22, 2011 to October 28, 2021 to take input

from the Commonwealth’s citizens, as well as one joint hearing with the State

Senate.2 In addition to those hearings, the Pennsylvania State Government

Committee Chair established a website with options for citizen input, including input

about specific communities of interest as well as the ability to submit maps.3




2
  See Pennsylvania House Republican Caucus, Regional Hearings, copy attached as Exhibit B,
also available at http://paredistricting.com/hearingschedule (last visited Jan. 24, 2022).
3
  See Pennsylvania House of Representatives, Republican Caucus, Redistricting Input Site, copy
attached as Exhibit C, also available at http://paredistricting.com/input (last visited Jan. 24, 2022)
(providing access to submitted communities of interest, public comments on the 2018
Pennsylvania Supreme Court plan, and publicly submitted maps). See also Pennsylvania House
of Representatives, House Republican Caucus, Updated Preliminary Congressional Plan, at
https://app.mydistricting.com/legdistricting/pennsylvania/updated_preliminary_map (last visited
Jan. 24, 2022) (listing public comments on House Bill 2146); see also 225 Pa. §§ 803(8) and
902(5).

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       House Bill 2146 was first introduced and referred to State Government

Committee on December 8, 2021. The bill introduced, for what might be a first in

the history of the Pennsylvania House, a plan proposed by a citizen and good-

government advocate, Ms. Amanda Holt, in unaltered form. The State Government

Committee selected Ms. Holt’s proposal from among 19 submitted by the public

because, as Rep. Seth Grove indicated, it was drawn without political influence, met

constitutional standards, limited the splits of townships and other municipalities, and

offered districts that were compact and contiguous.4 These factors “were highlighted

as priorities by the majority of testifiers and residents throughout the committee’s

extensive regional hearings and online public input process.” 5

       It was amended into the current form (PN 2541) and reported from the State

Government Committee on December 15, 2021. See Pennsylvania General

Assembly, Bill Information – History, House Bill 2146; Regular Session 2021-2022,

attached as Exhibit E (the “Bill History”).6 After it was released and open for public




4
  See Rep. Seth Grove, Grove Announces Citizen Map Selected As Preliminary Congressional
Plan, Invites Public Comment, Dec. 8, 2021, copy attached as Exhibit D, also available at
http://www.repgrove.com/News/22950/Latest-News/Grove-Announces-Citizen-Map-Selected-
as-Preliminary-Congressional-Plan,-Invites-Public-Comment- (last visited Jan. 24, 2022); see also
225 Pa. §§ 803(8) and 902(5).
5
  Id.
6
  The Court can take judicial notice of official records, 225 Pa. Code § 201(b)(2), and this public
record falls within a recognized exception to the hearsay rule, id. § 803(8) and 902(5).

                                                6
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comments, a total of 399 comments were received from citizens and numerous

changes made based upon those requests. 7

      Although several changes were made, the resulting map was 95% the same as

the map originally drawn by Ms. Holt in terms of population and surface area.8 Many

of the changes that were made were to increase the compactness of specific districts

or to address comments received during the process.9 In particular, certain changes

were made to ensure communities of interest were kept whole and to address

inclusion of certain communities within particular congressional districts at the

request of citizens.10

      HB 2146 received first consideration on December 15, 2021, but did not

receive second consideration until January 11, 2022, i.e., almost a month later. Bill

History, Ex. E. See also Pa. Const. Art. III, § 4 (“Every bill shall be considered on

three different days in each House.”). Under the Rules of the Pennsylvania House of

Representatives, second consideration of a bill is the opportunity for any House

Member to introduce and offer amendments to a bill. House Rules 21 and 23. While

Members had ample to time to draft and file amendments to the bill, no amendment

was timely filed to House Bill 2146, Printer’s Number 2541. Bill History, Ex. E. It


7
  See Grove Ltr. at 2, Ex. A.
8
  See Video of Pennsylvania House of Representatives State Government Committee Meeting,
December 15, 2021 Hearing, at 7:26, at https://s3.us-east
2.amazonaws.com/pagopvideo/366117649.mp4.
9
  Id.; see also Grove Ltr. at 3, Ex. A.
10
   Id.

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received third consideration and final passage in the House on January 12, 2021. Id.

So, from the time the bill was amended in the House State Government Committee

on December 15, 2021, until the bill was passed by the House, the public had 28

days to view the contents of the bill and review the House’s proposed congressional

plan.11 In contrast, the preliminary legislative reapportionment plan produced by the

Pennsylvania      Legislative     Reapportionment        Commission, which           redistricts

Pennsylvania’s House and Senate Districts, released its preliminary legislative

reapportionment plan on December 13, 2021 and adopted the plan on December 16,

2021, a mere three days later.

       HB2146 was referred to the Senate State Government Committee, which

passed it on January 12, 2022. See Bill History, Ex. E. The Senate gave HB 2146

first consideration on January 18, 2022 and second consideration on January 19,

2022. Id. The Senate is scheduled to be in session on January 24, 25, and 26, 2022,

and HB 2146 is eligible for third consideration and final passage on any of those

dates, or on any future legislative session that may be convened.




11
  See Pennsylvania House of Representatives, House Republican Caucus, Updated Preliminary
Plan Page, copy attached as Exhibit F, also available at http://paredistricting.com/pcplan. House
Bill 2146 was posted immediately to this website and made accessible to the public.

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      C.     It Is the Prerogative of the General Assembly To Perform
             Congressional Redistricting in the First Instance. To the Extent
             the House Plan Adheres to Traditional Redistricting Principles, as
             Enunciated in LWV v. Commonwealth, It Should Be Given Special
             Consideration.

      The United States and Pennsylvania Constitutions vest the General Assembly

with the authority to redistrict this Commonwealth’s congressional districts.

Specifically, Article I, Section 4 of the United States Constitution (the “Elections

Clause”) provides that “[t]he Times, Places and Manner of holding Elections for

Senators and Representatives, shall be prescribed in each State by the Legislature

thereof....” Pursuant to the Elections Clause, as a matter of federal law, “redistricting

is a legislative function, to be performed in accordance with the State’s prescriptions

for lawmaking.” Arizona State Legislature v. Arizona Indep. Redistricting Comm’n,

576 U.S. 787, 808 (2015). The Commonwealth’s legislative power is vested in the

General Assembly. PA. CONST. ART. II, § 1.

      As Petitioners concede (see Carter Petition ¶ 36), congressional districting

plans are legislative enactments of the General Assembly, passed like any other

legislation. The Pennsylvania Supreme Court has confirmed that the “primary

responsibility and authority for drawing federal congressional legislative districts

rests squarely with the state legislature.” League of Women Voters v. Com., 178 A.3d

737, 821–22 (Pa. 2018), citing Butcher v. Bloom, 216 A.2d 457, 458 (Pa. 1966)

(identifying the General Assembly as “the organ of government with the primary



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responsibility for the task of apportionment”) and Growe v. Emison, 507 U.S. 25, 34

(1993) (“the Constitution leaves with the States primary responsibility for

apportionment of their federal congressional and state legislative districts”).

      All impasse cases necessarily involve scenarios where the legislature and

governor are unable to agree on a redistricting plan. But impasse does not mean that

the General Assembly’s plan—despite the failure of the Governor to sign it into

law—is entitled to no special consideration when the judiciary must take up the

unwelcome obligation of redistricting the Commonwealth. After all,

      The task of reapportionment is…a function which can be best
      accomplished by that elected branch of government. The composition
      of the Legislature, the knowledge which its members from every part
      of the state bring to its deliberations, its techniques for gathering
      information, and other factors inherent in the legislative process, make
      it the most appropriate body for the drawing of [district] lines...
Butcher v. Bloom, 203 A.2d 556, 569 (Pa. 1964). Because of the legislature’s

constitutionally protected role to redistrict, the Court should select a map that reflects

“the policy choices of the elected representatives of the people, rather than the

remedial directive of a federal court.” Tallahassee Branch of NAACP v. Leon Cty.,

827 F.2d 1436, 1439 (11th Cir. 1987).

      In Donnelly v. Meskill, 345 F. Supp. 962 (D. Conn. 1972), for example, the

legislature passed a congressional plan that the governor vetoed. When the job of

redistricting was thrust upon the court, three plans were submitted, including a plan

from the legislature. The court adopted the legislature’s proposed plan and explained


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that “[t]he legislative adoption of Public Act 807 tips the scales in favor of the plan

in Exhibit B-1, which provides districts essentially as outlined by the legislature,

with adjustments necessary to bring about virtually complete population equality.”

Id. at 965. Recognizing the constitutionally protected role of the legislature in

redistricting, the court emphasized that the plan it adopted had “the added advantage

that it is basically the plan adopted by the legislature.” Id.

      Similarly, in Skolnick v. State Electoral Bd. of Ill., 336 F. Supp. 839 (N.D. Ill.

1971), an impasse occurred after a congressional plan had passed the Illinois House

but stalled out in the Senate. The court, in fashioning a remedial plan, considered

four proposed plans—including one submitted by three U.S. House Representatives

that “was, with one minor exception, the same as the one passed by the Illinois House

and introduced into the Senate” but not passed. Id. at 842. The court selected that

plan because it satisfied the required criteria and, in part, because it had received the

“approval of one house of the legislature.” Id. at 846.

      So too, the House Plan here should receive special consideration,

notwithstanding any potential Governor veto, because it best reflects state policies

and the people’s preferences. “[T]he fundamental principle is that reapportionment

is primarily a legislative function and that the courts should defer to the legislative

judgment where constitutional and statutory standards have been satisfied.” In re

Ross Twp. Election Dist. Reapportionment, 489 A.2d 297, 302–03 (1985), aff’d, 514


                                           11
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Pa. 41, 522 A.2d 553 (Pa. 1987); see also Newbold v. Osser, 230 A.2d 54, 59 (Pa.

1967) (recognizing “the importance of permitting reapportionment by the

Legislature wherever possible”).

      The House Plan has been submitted by both the legislative leaders of the

Pennsylvania House of Representative and the Senate for adoption by this Court so

it has support of the General Assembly. The Pennsylvania House of Representatives

passed a plan through a full deliberative and transparent process. And there is still

time for the Senate to likewise pass the map as it has already received first and

second consideration with time for third consideration before the end of the month.

The House Plan, which as discussed more fully below, closely adheres to traditional

redistricting principles, best reflects the will of the people as it was passed by their

elected representatives. None of the other plans Republican House Leaders are

aware of have been subjected to this open and democratic process, and one suspects

many of the plans submitted by other parties in this case have been drawn behind

closed doors without any opportunity for comment. At a minimum, the House Plan

should receive special consideration. And given that the plan adheres to traditional

redistricting principles as well as the Governor’s stated principles, any ultimate veto

by the Governor can be seen only as a partisan political ploy. This Court should

adopt the House Plan regardless of whether it is ultimately vetoed by the Governor.




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       D.      The House Plan Was Drawn Without Partisan Data and Consistent
               with the Traditional Redistricting Criteria in Pa. Const., Art. II, §
               16 and this Court’s Decision in League of Women Voters of Pa. v.
               Commonwealth.

       The constitutional criteria in Art. II, § 16 of the Pennsylvania Constitution –

equal population, contiguity, compactness, and avoiding political subdivisions splits

except where absolutely necessary – were held in LWV to be appropriate benchmarks

in determining whether a congressional districting plan dilutes the votes of

Pennsylvania’s citizens. In addition, the Governor’s Redistricting Advisory Council

has recognized that federal and state law require compliance with these same

elements.12 The House Plan does exceptionally well on these traditional redistricting

factors.

       First, the House Plan has a population deviation of +/- one, as good as can be

achieved.13 Second, the map contains contiguous and compact districts. Indeed, the

average Polsby-Popper score for the proposed map is .324, which is very similar to

the plan adopted by the Pennsylvania Supreme Court in 2018 which is .327.14 In




12
   See Pennsylvania Redistricting Advisory Council, Redistricting Principles, attached as Exhibit
G; also available at: https://www.governor.pa.gov/congressional-districts-map-proposals/#fair-
maps (last visited Jan. 24, 2022).
13
   See Exhibit I, Schaller Aff., at Ex. 2, p. 1 (Report of Legislative Data Processing Center on H.B.
2146).
14
   See Remedial Plan Compactness Report available at:
https://www.pacourts.us/Storage/media/pdfs/manual_uploads/file-6844.zip?cb=c50222 (last
visited Jan. 24, 2022). See also Exhibit I, Schaller Aff., at Ex. 3 (Report of Compactness Scores
for H.B. 2146).

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other words, the House Plan is as compact as a map that the Pennsylvania Supreme

Court previously adopted.

       Finally, the House Plan splits only 15 counties with 18 total splits. 15 This is

very similar to the current plan adopted by the Pennsylvania Supreme Court in 2018

that splits 14 16 counties 19 times. It likewise splits fewer municipalities than the

current map. The proposed map splits only 16 municipalities with a total of only 18

splits. 17 The current map adopted in 2018, however, splits 18 municipalities a total

of 19 times. 18 A certain number of municipal splits are necessary to reach population

equality. Thus, it is not only important to examine the total splits, but which

municipalities are split.

       Philadelphia is the only municipality in the Commonwealth that is larger than

the population of a single congressional district. Thus, it must be split into two

districts. The remainder of municipalities split in the House Plan are small in

population. See Report of Michael (“Barber Rep.”) at 16, attached as Exhibit H.


15
   See Exhibit I, Schaller Aff., at Ex. 2 (Report of Legislative Data Processing Center on H.B.
2146, “Counties Split by Congressional Districts”).
16
   See Remedial Plan Split Report, available at:
https://www.pacourts.us/Storage/media/pdfs/manual_uploads/file-6844.zip?cb=c50222 (last
visited Jan. 24, 2022). In LWV, the Pennsylvania Supreme Court recognized that the number of
counties split was only 13 because “[a]n additional county split may appear in some GIS
program calculations, but that is due to the fact that a non-contiguous Chester County census
block with zero population is located inside Delaware County. That census block and its
adjoining water is appropriately placed inside the district that contains Delaware County.” 181
A.3d 1083, 1087 n. 10 (2018).
17
   See Exhibit I, Schaller Aff., at Ex. 2 (Legislative Processing Data Center Report, “Places Split
By Congressional Districts”).
18
   See id.

                                               14
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These splits were necessary to reach population equality and have minimal, to zero,

impact on the likely partisan outcomes of the map. See also Ex. I, Schaller Aff. at

Ex. 4, Precinct Split Reports for H.B. 2146 (reflecting precinct population splits).

      Additionally, although not a stated goal of HB2146, following traditional

redistricting criteria also resulted in the creation of two districts with a minority

voting age population greater than 50% including one with a Black voting age

population over 50%. Barber Rep. at 35, Table 2.

      E.     Although Not a Requirement of the Constitution, the House Plan is
             Demonstrably Fair Under Numerous Partisan Fairness Measures.

      In League of Women Voters, the Pennsylvania Supreme Court held that “when

. . . it is demonstrated that, in the creation of congressional districts, these neutral

criteria have been subordinated, in whole or in part, to extraneous considerations

such as gerrymandering for unfair partisan political advantage, a congressional

redistricting plan violates Article I, Section 5 of the Pennsylvania Constitution.” 645

Pa. at 122. As demonstrated above, the House Plan adheres to traditional

redistricting criteria. But as demonstrated further below, it also does not give any

unfair political advantage to any party. To the contrary, the House Plan is fair and

gives both major political parties an opportunity to translate their votes into seats.

      One way to evaluate the partisan fairness of a map is by comparing it to a set

of simulated maps that follow only traditional redistricting criteria. This set of

simulated districts is helpful because it provides a set of maps to which one can

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compare the proposed map that also accounts for the geographic distribution of voters

in the state. Because voters are not distributed evenly across Pennsylvania, one cannot

evaluate the fairness of a proposed plan without an apples-to-apples comparison. In

other words, if a plan is not evaluated against a non-partisan set of maps, then

potential issues or red flags in the map may not at all be due to partisan

gerrymandering, but rather the geographic distribution of voters in the state. Barber

Rep. at 11. This process has been recognized in a variety of redistricting cases

including in Pennsylvania. Barber Rep. at 11-12.

      Dr. Michael Barber – Associate Professor of Political Science at Brigham

Young University – prepared a set of 50,000 simulated maps using only the

traditional redistricting criteria of equal population, compactness, contiguity, and

minimizing political subdivision splits. Barber Rep. at 13-14. Dr. Barber’s results

demonstrate that the House Plan follows these traditional redistricting criteria similar

to that of the simulated plans. Barber Rep. at 16, Table 1. Moreover, his analysis

demonstrates that, if anything, the House Plan is more favorable to Democrats.

      The proposed plan is predicted to result in 9 Democratic-leaning seats and 8

Republican-leaning seats using an index of statewide elections from 2012 to 2020.

Barber Rep. at 23, Figure 3. That result occurs in 32.1% of the 50,000 simulated

plans. Id. The most common outcome, however, is 9 Republican-leaning seats and

8 Democratic-leaning seats, occurring in 34.9% of the 50,000 simulated maps. Id.


                                          16
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In other words, using that index of elections, the House Plan is predicted to result in

an additional Democratic-leaning seat than the most common outcome in the 50,000

plans simulated created without use of any partisan data. As Dr. Barber concludes:

      Recall that in using the simulations we are comparing the proposed map
      to a set of maps drawn by the computer using only those criteria that I
      instructed the algorithm to follow - namely the pre-specified
      nonpartisan criteria of equal population, contiguity, geographic
      compactness and a preference for fewer county splits. Both the HB2146
      plan and the simulations account for the unique political geography of
      Pennsylvania. Doing so shows us that the HB2146 plan is within the
      middle portion of simulation results and if anything leans slightly
      towards the Democratic party by generating 9 Democratic-leaning
      districts rather than 8, which is the modal outcome in the simulations.
      By no standard definition would the plan be considered an outlier.

Barber Rep. at 22 (emphasis added). However, using a partisan index of 2014-2020

statewide elections, the House Plan is predicted to result in 8 Democratic-leaning

seats and 9 Republican-leaning seats, showing how the House Plan is fair and can

flip seats depending on different election outcomes. Barber Rep. at 44 (App’x A).

      Dr. Barber also analyzed the House Plan under various other partisan fairness

metrics commonly utilized by political scientists to test the partisan fairness of a

districting map. The downside with many of these metrics, however, is that they do

not take into account the political geography of the state. Barber Rep. at 28, 31. Yet,

they still all demonstrate that the House Plan is fair.

      Dr. Barber calculates that the House Plan has a mean-median of -.015, which

is very close to zero. Barber Rep. at 27-28 & Figure 5. “The median-mean measure


                                           17
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is calculated by taking the median value (the value for which half of the observations

are smaller and half the observations are larger) of the partisan index across all 17

districts in a plan and subtracting from that the mean (the simple average) from the

median.” Barber Rep. at 27. Dr. Barber concludes that

      First, without comparing to the simulations, the HB2146 plan is very
      nearly unbiased. The median-mean value for the HB2146 plan is -.015,
      which is very close to zero. In other words, the median district and the
      mean district in the HB2146 plan are different by less than two
      percentage points. Second, when comparing the HB2146 plan to the
      simulations, the HB2146 plan is more favorable to Democratic voters
      than the vast majority of the simulated districting plans. The HB2146
      plan has a median-mean value that is smaller (in absolute value) than
      85 percent of the simulated plans. In other words, using only the non-
      partisan criteria described above to draw the simulated districts, 85%
      of them generate districts with a greater median-mean value, indicating
      a less efficient distribution of Democratic voters than the HB2146 plan
      contains.

Barber Rep. at 28.

      Dr. Barber likewise calculates an efficiency gap for the House Plan. The

efficiency gap “looks for the degree to which a party’s votes statewide are translated

into seats in each district.” Barber Rep. at 28-29. It analyzes how the parties are

wasting votes with any vote for a losing candidate and any vote above 50%+1

considered wasted. Barber Rep. at 29-30. Dr. Barber calculates the efficiency gap

for the House Plan is -.02, which is also very close to zero. Barber Rep. at 31. But

even more telling, the efficiency gap for the House Plan is more favorable to

Democratic voters than the majority of the simulated districting plans. Barber Rep.



                                         18
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at 31-32, Figure 6. It is, in fact, smaller than all other outcomes in the simulated

plans. Barber Rep. at 32. This demonstrates that the House Plan eliminates at least

some of the natural geographic advantage of Republican voters.

      Dr. Barber also performs a uniform swing analysis, which considers how a

plan performs under a variety of different electoral environments by randomly

adding certain percentages from previous elections uniformly to each district in the

plan. Barber Rep. at 33-34. Like the other metrics, Dr. Barber’s uniform swing

analysis demonstrates that the House Plan is fair. The House Plan is nearly exactly

in the middle of the distribution, meaning roughly half of the simulations are worse

for Democrats and nearly half are better. Barber Rep. at 34, Figure 7.

      In addition, and although not a requirement, the House Plan creates a number

of competitive districts. Barber Rep. at 18. Based upon the same set of elections

form 2012-2020, Dr. Barber concludes that six of the districts in the House Plan will

be competitive – over one-third – with five of them having a partisan index between

.48 and .52. Barber Rep. at 21, Figure 2. And, of these competitive districts, four of

them lean Democratic. Barber Rep. at 19.

      By any number of different metrics, the House Plan is demonstrably fair to

both political parties. If anything, the House Plan does much to negate the natural

geographic disadvantage faced by Democratic voters being packed in urban cities,

and is predicted to result in more Democratic seats than the most common outcome


                                         19
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in the 50,000 simulated plans. By several metrics, it has also been shown that the

plan fairly allows the political parties to each translate their votes into seats and

creates numerous competitive districts.

         In 2018, the Pennsylvania Supreme Court adopted a map that was predicted

to result in 9 Republican-leaning seats and 9 Democratic-leaning seats. Indeed, that

was the outcome following the 2020 election.           Pennsylvania is losing one

congressional seat following the 2020 Census. Yet, the House Plan is predicted to

result in 9 Democratic-leaning seats and 8 Republican-leaning seats. Barber Rep. at

23, Figure 3. Any claim that the House Plan was drawn to somehow benefit

Republican voters and candidates belies common sense.

         Finally, although Dr. Barber’s simulations were drawn without consideration

of racial data, his core finding is robust even when the House Plan is compared to

“race conscious” simulations under two scenarios. First, Dr. Barber examined the

1,852 simulated plans from his race-blind sample that likewise created two majority-

minority districts including one majority Black district. Barber Rep. at 35-36.

Second, Dr. Barber also generated another set of 5,000 simulated race conscious

maps where he instructed the model to ensure that every simulated plan had at least

three districts that have at least 35% non-white voting age population. Barber Rep.

at 36.     Dr. Barber’s analysis reflects that even when using “race conscious”

simulations, a map with 9 Democratic-leaning seats–the same as the House Plan–


                                          20
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remains the most common outcome, occurring in 70.6% of the simulations. Barber

Rep. at 37-38, Figure 8.

      F.     This Court Should Reject Maps That Subordinate Traditional
             Redistricting Criteria in Favor of a Map That Seeks Proportional
             Representation.

      In LWV, the Pennsylvania Supreme Court explained:

      We recognize that other factors have historically played a role in the
      drawing of legislative districts… However, we view these factors to be
      wholly subordinate to the neutral criteria of compactness, contiguity,
      minimization of the division of political subdivisions, and maintenance
      of population equality among congressional districts. These neutral
      criteria provide a “floor” of protection for an individual against the
      dilution of his or her vote in the creation of such districts.

      When, however, it is demonstrated that, in the creation of congressional
      districts, these neutral criteria have been subordinated, in whole or in
      part, to extraneous considerations such as gerrymandering for unfair
      partisan political advantage, a congressional redistricting plan violates
      Article I, Section 5 of the Pennsylvania Constitution.

645 Pa. at 122. Moreover, in analyzing the constitutional criteria for legislative

redistricting in Article II, Section 16, the Pennsylvania Supreme Court has stated

that “[t]he constitutional reapportionment scheme does not impose a requirement of

balancing the representation of the political parties; it does not protect the ‘integrity’

of any party’s political expectations. Rather, the construct speaks of the ‘integrity’

of political subdivisions, which bespeaks history and geography, not party affiliation

or expectations.” Holt v. 2011 Legislative Reapportionment Commission, 620 Pa.

373, 413-14 (2013).



                                           21
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          The Pennsylvania State Government Committee, and the House Republican

Caucus, did not use partisan data in consideration of submitted maps, in the selection

of Ms. Amanda Holt’s citizen’s map, or in our adjustments made to the map through

amendment.         Instead, it focused on traditional redistricting criteria which, as

acknowledged by the Court, provide protection against the dilution of votes. The

Pennsylvania Supreme Court was very clear: the neutral criteria explicitly provided

for by the Pennsylvania Constitution cannot be subordinated to partisan concerns or

considerations.

          But, a map prioritizing the neutral criteria found in the Pennsylvania

Constitution – equal population, compactness and the avoidance of county,

municipal, and ward splits unless absolutely necessary – may not result in a

proportional congressional delegation due to the spatial dispersion of the political

groups throughout the state. That is a fundamental reality of Pennsylvania’s current

political geography. According to Dave Wasserman, among the foremost

nonpartisan redistricting experts in the country, developing a congressional map that

provides proportional election outcomes, in Pennsylvania at least, “requires

conscious pro-Dem[ocrat] mapping                  choices.”19    Even the LWV opinion

acknowledged, when discussing the expert testimony presented by Petitioners’




19
     See https://twitter.com/redistrict/status/965719652188991488.

                                                 22
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expert (Dr. Warshaw), that “historically Democratic voters tend to self-sort into

metropolitan areas.” LWV, 645 Pa. at 127.

      Like many states, Democratic voters in Pennsylvania are clustered in cities

and urban areas while Republican voters are more evenly distributed in rural areas.

Thus, Democratic voters tend to be more inefficiently packed into homogeneous

districts. Political science scholars have thus recognized that to overcome this

natural geographic disadvantage “Democrats would need a redistricting process that

intentionally carved up large cities like pizza slices or spokes of a wheel, so as to

combine some very Democratic urban neighborhoods with some Republican exurbs

in an effort to spread Democrats more efficiently across districts.” 20 The decision in

LWV, however, does not allow for such division of cities for political gain in

subordination of the traditional redistricting criteria of preserving the lines of

political subdivisions.

      Thus, any map that prioritizes proportional election outcomes, such as

negating a natural geographic disadvantage to achieve proportionality, at the

expense of traditional redistricting criteria violates the Pennsylvania Constitution’s

Free and Equal Elections Clause. Additionally, the U.S. Supreme Court in Vieth v.

Jubelirer, a case originating in Pennsylvania, stated that “[t]he Constitution provides



20
  Barber Rep. at 10 (quoting Jonathan A. Rodden, Why Cities Lose: The Deep Roots Of The
Urban-Rural Political Divide 155 (Basic Books 2019)).

                                          23
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no right to proportional representation.” 541 U.S. 267, syllabus ¶ 3 (2004). “It

guarantees equal protection of the law to persons, not equal representation . . . to

equivalently sized groups. It nowhere says that farmers or urban dwellers, Christian

fundamentalists or Jews, Republicans or Democrats, must be accorded political

strength proportionate to their numbers.” Id. at 288.

       Proportionality is neither a requirement nor a goal of redistricting under

federal or state law; in fact, the very nature and design of our representative

democracy is in many ways at odds with the pursuit of proportionality. This conflict

is heightened by Pennsylvania’s constitutional requirement that districts be compact

and must avoid county, municipal, and ward splits unless absolutely necessary.

Thus, any plan that seeks to achieve proportionality at the expense of traditional

redistricting factors should be disregarded.

III.   CONCLUSION

       For the foregoing reasons, the Republican House Leaders respectfully request

that the Court adopt the House Plan, which was passed by the Pennsylvania House

of Representatives following a full transparent and deliberative process and therefore

reflects the will of the people, complies with traditional redistricting criteria, and has

been demonstrated to be fair based upon any number of different metrics.




                                           24
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Dated: January 24, 2022              Respectfully submitted,

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                                     House of Representatives, and Kerry
                                     Benninghoff, Majority Leader of the
                                     Pennsylvania House of Representatives


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  EXHIBIT A
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       HONORABLE
    SETH M. GROVE
196TH LEGISLATIVE DISTRICT
                                                                                                   CHAIR
  HARRISBURG OFFICE                                                                     STATE GOVERNMENT COMMITTEE
      7 EAST WING
     P.O. BOX 202196
HARRISBURG. PA 17120-2196                                                                       COMMITTEES
   PHONE: (7I7) 783-2655                                                                REPUBLICAN POLICY COMMITTEE

    DISTRICT OFFICE                                                                      LEGISLATIVE APPOINTMENTS
 2501 CATHERINE STREET                                                                     STATE PLANNING BOARD
        SUITE 10                                                                                   YAMPO
      YORK, PA 17408
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     Twitter: @RepGrove
                                          House of Representatives
 Facebook.com/RepSethGrove                  Commonwealth of Pennsylvania

                                                     January 6, 2022


        The Honorable Tom Wolf
        Governor
        Commonwealth of Pennsylvania
        225 Main Capitol Building
        Harrisburg, PA 17120

        Dear Governor Wolf,

                 While I am disappointed you have declined my offer to publicly discuss the congressional
        districts proposed by HB 2146, P.N. 2541 or the Updated Preliminary Citizens’ Congressional
        Redistricting Map, I wanted to address some serious fallacies in your letter to Speaker Culter and
        Leader Benninghoff. Further, I wanted to ensure you had factual information presented to you
        from the prime sponsor of the legislation, which I hope you will read prior to making any decisions.
        We both agree misinformation and disinformation are dangerous and the people of Pennsylvania
        deserve to know the truth. I think we can also agree that developing congressional maps is a
        constitutional mandate placed on the General Assembly and the Governor through legislative
        duties granted by our state and federal constitutions. Whether you decide to actively participate
        in the legislative process or to sit on the bench is wholly your decision. But if your goal is for the
        courts to draw the maps, then you are failing the people of Pennsylvania, your constitutional
        obligations, and treating the independent judiciary as your personal attorneys for hire.

        Myth: The districts have a deviation of 9,000 people between the largest and smallest district, and
        this discrepancy may be successfully challenged as unconstitutional.

        Fact: Fair Districts Pennsylvania1 loaded the districts created by the Updated Preliminary Citizens’
        Congressional Redistricting Map to DavesRedistricting.org website2 3. Here is their breakdown
        of population by district, when using the data set of total population provided by the 2020 Census:




        1
          Preliminary Maps: Review and Offer Comment | Fair Districts PA
        2
          DRA 2020 (davesredistricting.org)
        3
          Comments | MyDistricting
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                   District 1 764,865                     District 10  764,865
                   District 2 764,865                     District 11  764,865
                   District 3 764,865                     District 12  764,865
                   District 4 764,865                     District 13  764,864
                   District 5 764,865                     District 14  764,865
                   District 6 764,865                     District 15  764,864
                   District 7 764,864                     District 16  764,865
                   District 8 764,864                     District 17  764,865
                  District 9  764,864

        I can only imagine your claim has been based on an analysis of the bill using the adjusted
data set approved by the Legislative Reapportionment Commission for the drawing of General
Assembly maps. If that data set is applied to the plan proposed by the Updated Preliminary
Citizens’ Congressional Redistricting Map, it would result in the nearly 9,000 person ‘deviation’
you claim.

         However, this ‘deviation’ certainly could not give rise to a claim of unconstitutionality. It
has always been the practice of Pennsylvania, as well as nearly every other state, to count prisoners
where they reside and where they are counted by the Census. Despite recent changes in some
states, it remains obvious that states may continue to constitutionally reapportion districts on the
basis of the total population numbers provided by the Census. And in fact, the vast majority of
states are continuing to do so.

         The unadjusted Census figures provide the data set used by Ms. Amanda Holt in designing
her citizen’s map, as well as the data set used in making the various improvements enacted through
amendment. According to the actual Census numbers, population deviation is zeroed out.

        You may wish for the map to use the adjusted data set and you may even decide using an
adjusted data set is a litmus test for your approval of a Congressional mapping plan. Those
discussions would be a natural part of any dialogue and negotiation between the General Assembly
and your office on the basis for an agreed-upon map. That is, if you are willing to engage in any
type of honest dialogue.

        But you cannot and should not be dishonest with the people of Pennsylvania by claiming
that the citizen’s map advanced within the Updated Preliminary Citizens’ Congressional
Redistricting Map contains an unconstitutional population deviation. If anything, it is the
constitutionality of adjusted population schemes like the one approved by the Legislative
Reapportionment Commission that are more novel, and that present legal and constitutional
questions still to be resolved by the courts.

Myth: “When Republican members of the House State Government Committee objected to
aspects of the map submitted by Ms. Amanda Holt, Chairman Grove quickly abandoned the pretext
of a citizen-selected map and redrew lines in ways that completely undermine the principles that
motivated Ms. Amanda Holt’s map in the first place. The result is a highly skewed map.”

Fact: After the Preliminary Citizens’ Congressional Redistricting Map was originally released, it
was open for public comment on PaRedistricting.com4. There were 399 total comments submitted
by citizens. The amendment in committee made changes based on requests by citizens or to
increase compactness.:

4
    Comments | MyDistricting
2|Page
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Here are the specific changes:

    •   District 3 went from 49% African American Voting Age Population to 52.49%. In
        compliance with traditional redistricting principles, precincts were shifted between District
        3 and District 2.
    •   District 5 was adjusted to increase compactness and we received numerous public
        comments from Williston Township residents requesting to be part of District 6, so while
        we increased the compactness of District 5, we also moved Williston Township into
        District 6.
    •   Districts 6, 10, 11, & 13 were all adjusted to increase compactness. Further, residents of
        the Camp Hill area filed numerous public comments requesting to be connected with the
        Capitol region.
    •   The “left-hand pinky” in District 10 was eliminated to increase compactness.
    •   District 9 was adjusted to increase compactness, to ensure the Susquehanna River
        communities were whole, and to eliminate the “zipper” in Potter County.
    •   District 7 was shifted back into Monroe County to increase compactness and align new
        boundaries with the current map developed by the PA Supreme Court.
    •   District 8 was adjusted to increase compactness.
    •   District 12 was adjusted to increase compactness, notably the zippers in Butler County
        were eliminated.
    •   District 17 was adjusted after receiving citizen feedback on Washington Borough not being
        in District 17. District 17 and District 14 were adjusted to meet constitutional population
        requirements.
        I specifically addressed these changes at the House State Government Committee voting
    meeting on Wednesday, December 15. I do not know why your staff did not provide you this
    information or reach out to me to request this information.

       During the committee vote on the Updated Preliminary Citizens’ Congressional
    Redistricting Map, I addressed how the amendment makes overall adjustments to the original
    map submitted by Ms. Amanda Holt5. In both population and land area, the current map is
    95% the same as the original map.6 7 Here are tables for your review on comparing the two
    maps:




5
  http://www.paredistricting.com/Video/Redistricting
6
  Preliminary Plan and Updated Plan Comparison by Population.xlsx (paredistricting.com)
7
  Preliminary Plan and Updated Plan Compactness Comparison.pdf (paredistricting.com)
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                            Compactness Comparison
                                                                                               Square Miles % Change Between
            Citizen's Map Submission                   Updated Map - Amendment A03209
                                                                                                 Citizen's Map Submission &
 District Square Miles   Polsby-Popper      Reock District Square Miles Polsby-Popper Reock         Updated Amendment
    1         713             0.39           0.4     1          713          0.39       0.4                 100%
    2          65             0.25           0.32    2           65          0.22       0.3                 100%
    3          56             0.25           0.37    3           56          0.23      0.37                 100%
    4         399             0.25           0.36    4          399          0.25      0.36                 100%
    5         499             0.15           0.21    5          339          0.25      0.34                  68%
    6        1,139            0.12           0.26    6         1,246         0.19      0.38                  91%
    7        1,038            0.36           0.34    7         1,071         0.37       0.4                  97%
    8        5,071            0.36           0.42    8         4,979         0.35      0.41                  98%
    9        7,304            0.28           0.38    9         6,984          0.3      0.33                  96%
   10        1,825            0.43           0.38   10         1,557         0.44      0.44                  85%
   11        1,514            0.21           0.35   11         1,455         0.49      0.49                  96%
   12        9,977            0.23           0.57   12        10,301         0.42      0.62                  97%
   13        4,932            0.23           0.4    13         5,350         0.29      0.43                  92%
   14        5,085            0.24           0.38   14         5,051         0.24      0.38                  99%
   15         308             0.29           0.58   15          308          0.29      0.58                 100%
   16        4,877             0.4           0.37   16         4,896         0.49      0.38                 100%
   17        1,249            0.23           0.44   17         1,284         0.24      0.45                  97%
         Citizen's Map Submission                                                    Average               95%
 Average Compactness Polsby-Popper : 0.27
     Average Compactness Reock: 0.38
   Updated Map - Amendment A03209
 Average Compactness Polsby-Popper : 0.32
     Average Compactness Reock: 0.42


                  Difference between Preliminary Map and Updated Preliminary Map by
                                              Population              Percentage of
                                                                  Preliminary Distrcts
                                                                      that Remains
                  District Final Population Unchanged Population       Unchanged
                      1         764,865             764,865             100.00%
                      2         764,865             727,974              95.18%
                      3         764,865             727,974              95.18%
                      4         764,865             764,865             100.00%
                      5         764,865             665,110              86.96%
                      6         764,865             664,660              86.90%
                      7         764,864             744,414              97.33%
                      8         764,864             745,298              97.44%
                      9         764,864             710,269              92.86%
                     10         764,865             685,726              89.65%
                     11         764,865             745,299              97.44%
                     12         764,865             720,103              94.15%
                     13         764,864             642,606              84.02%
                     14         764,865             741,290              96.92%
                     15         764,864             764,864             100.00%
                     16         764,865             755,133              98.73%
                     17         764,865             741,290              96.92%
                                             Average Same                 95%




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                                Split Analysis from LDPC
              County                                    Municipal                                 Voting Precinct
    Original         Update                 Original                  Update                Original           Update
14 County Splits 15 County Splits 16 Municipalities Split      18 Municipalities Split 11 Precincts Split 19 Precincts Split
16 Total Splits 18 Total Splits   18 Total Splits              18 Total Splits         11 Total Splits    19 Total Splits


       As you can see, the Updated Preliminary Citizens’ Congressional Redistricting Map is
based upon the same pretext and principles as Ms. Amanda Holt’s original map. Further, I would
urge you to actually watch the Informational Meeting the House State Government Committee
held on Thursday, December 9 with Ms. Amanda Holt: https://s3.us-east-
2.amazonaws.com/pagopvideo/946333055.mp4. Again, I do not know why your staff did not
provide you this information or reach out to me for this information.

Myth: “. . . the council also recommended that I review proposed maps to determine whether their
expected performance is proportional to statewide voter preference. The HB 2146 map falls short
on this basic measure of partisan fairness.”

Fact: In League of Women Voters of Pennsylvania et. al. vs. the Commonwealth of Pennsylvania
(2018), the Pennsylvania Supreme Court gave specific criteria for the development of redistricting
maps.8 Specifically, the court explained:

          “We recognize that other factors have historically played a role in the drawing of
          legislative districts… However, we view these factors to be wholly subordinate to the
          neutral criteria of compactness, contiguity, minimization of the division of political
          subdivisions, and maintenance of population equality among congressional districts. These
          neutral criteria provide a “floor” of protection for an individual against the dilution of his
          or her vote in the creation of such districts.

          When, however, it is demonstrated that, in the creation of congressional districts, these
          neutral criteria have been subordinated, in whole or in part, to extraneous considerations
          such as gerrymandering for unfair partisan political advantage, a congressional
          redistricting plan violates Article I, Section 5 of the Pennsylvania Constitution.”

        The Pennsylvania State Government Committee, and the House Republican Caucus, did
not use partisan data in our consideration of submitted maps, in the selection of Ms. Amanda Holt’s
citizen’s map, or in our adjustments made to the map through amendment.

        Instead, we focused on traditional redistricting criteria which, as acknowledged by the
Court, provide protection against the dilution of votes. The Pennsylvania Supreme Court was very
clear: the neutral criteria explicitly provided for by the Pennsylvania Constitution cannot be
subordinated to partisan concerns or considerations. By demanding a map that is likely to result in
a Congressional delegation proportional to some theoretical statewide vote of each party, you are
essentially asking us to violate the Constitution as it was interpreted by League of Women Voters.

        A map prioritizing the neutral criteria found in the Pennsylvania Constitution- compactness
and the avoidance of county, municipal, and ward splits unless ‘absolutely necessary,’ will not, at
this time, likely result in a proportional congressional delegation. That is a fundamental reality of
Pennsylvania’s current political geography. According to Dave Wasserman, among the foremost
nonpartisan redistricting experts in the country, developing a congressional map that provides

8
    194537-feb.19,2018-opinionandorderadoptingremedialplan.pdf (pacourts.us)
5|Page
      Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 33 of 157
proportional election outcomes, in Pennsylvania at least, “requires conscious pro-Dem[ocrat]
mapping choices9.”

        By demanding a map that provides proportional outcomes, you are demanding that we
violate the Pennsylvania Constitution in developing any map that would be acceptable to you- by
ignoring the neutral and explicit criteria found in Article II of the PA Constitution and elevating
partisan data, and pro-Democratic mapping choices, above the prioritization of Pennsylvanians’
communities and daily lives.

       Additionally, the U.S. Supreme Court in Vieth v. Jubelirer, 541 U.S. 267, a case originating
in Pennsylvania, already addressed concerns regarding proportionality:

           “The Constitution provides no right to proportional representation . . . It guarantees equal
           protection of the law to persons, not equal representation . . . to equivalently sized groups.
           It nowhere says that farmers or urban dwellers, Christian fundamentalists or Jews,
           Republicans or Democrats, must be accorded political strength proportionate to their
           numbers.”

        Proportionality is neither a requirement nor a goal of redistricting under federal or state
law; in fact, the very nature and design of our representative democracy is in many ways at odds
with the pursuit of proportionality. This conflict is heightened by Pennsylvania’s constitutional
requirement that districts be compact and must avoid county, municipal, and ward splits unless
absolutely necessary. Even the League of Women Voters opinion acknowledged, when discussing
the expert testimony presented by Petitioners’ expert (Dr. Warshaw), that “historically Democratic
voters tend to self-sort into metropolitan areas.” Where the natural political geography of the
Commonwealth puts the two in conflict, the pursuit of proportionality cannot prevail over neutral
constitutional mandates.

        You, as Governor, have constitutional legislative powers and are involved in the
mapmaking process. Whether you engage in this process is your decision, but you are
constitutionally bound with the General Assembly to administer your powers on an equal basis.
Neither the Governor nor the General Assembly can ignore these specific directions by the
Pennsylvania Supreme Court to ensure that those involved in the constitutional legislation process
adopt acceptable maps.

         I would further point out the hypocrisy of demanding proportionality in the name of
‘fairness.’ In 2018, the political data site Fivethirtyeight conducted a redistricting analytics project
that it referred to as The Atlas of Redistricting.10 This analysis makes clear that, based on
Pennsylvania’s recent political geography, a map drawn to pursue proportionality is no different
than a map drawn to be the best possible gerrymander to advance Democratic political interests. I
encourage you or any Pennsylvanian who has concerns regarding the redistricting process to access
this site and see the evidence for themselves.

       We have a duty to be honest with the people of Pennsylvania. It is dishonest to claim that
our map does not meet your criteria for fairness, when in fact you have established criteria that can
only be pursued through an unconstitutional map-making process.



9
    https://twitter.com/redistrict/status/965719652188991488
10
     https://projects.fivethirtyeight.com/redistricting-maps/pennsylvania/
6|Page
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        It is even more dishonest to claim that a map may only be ‘fair’ if it has been drawn to
neglect the constitutionally required, apolitical criteria of compactness and the preservation of
local communities, and instead to pursue a thinly veiled Democratic gerrymander.

        That is what the prioritization of proportionality entails: partisan gerrymandering. If you
do not want to participate in partisan gerrymandering, then do not base your decisions on partisan
data, and certainly do not subordinate the neutral criteria found in Pennsylvania’s Constitution to
those partisan concerns. The House Republican Caucus is not doing so, and you should join us in
avoiding these mistakes.

Myth: “. . . the revised map splits multiple communities of interest, including splits in Luzerne,
Dauphin, Philadelphia, and Chester counties that do not appear to be motivated by compelling
legal principles, but rather by a desire to make districts more favorable to Republican Candidates.”

Fact: Neither the House State Government Committee nor the House Republican Caucus have
used political data in any portion of developing the Updated Preliminary Citizens’ Congressional
Redistricting Map. It is our understanding that this also applies to Ms. Amanda Holt and her
development of her original map. The House State Government Committee and the House
Republican Caucus will not be involved in any map or development of a map which are in violation
of the established principles laid in any court case, the U.S. and Pennsylvania Constitutions, and
federal and state laws.

       In 2018, you submitted a map to the Pennsylvania Supreme Court.11 Three years later, not
only do you not want to participate in the legislative process, but you are also going out of your
way to claim that your only recourse is a veto.




11
  League of Women Voters, et al. v. the Commonwealth of Pennsylvania, et al. – 159 MM 2017 | Cases of Public
Interest | News & Statistics | Unified Judicial System of Pennsylvania (pacourts.us)
7|Page
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        Your 2018 map county split analysis:12

                              Gov. Wolf Map County Split Analysis
                       Allegheny County – 2      Lehigh County – 2
                       Beaver County – 2         Luzerne County – 2
                       Berks County – 3          Mifflin County – 2
                       Bucks County – 2          Montogomery County – 3
                       Centre County – 2         Northampton County – 2
                       Cumberland County – 2     Philadelphia City – 3
                       Delaware County – 2       Somerset County – 2
                       Lebanon County - 2        Tioga County – 2
                                   16 Counties Split 35 Times

        The Updated Preliminary Citizens’ Congressional Redistricting Map has a total of 15
counties split with 18 total splits and only one county is split three times, where your 2018 map
has three counties split three times. Further, under the Updated Preliminary Citizens’
Congressional Redistricting Map, Philadelphia City is only split twice unlike your 2018 proposed
congressional redistricting map. I fail to see how in 2021 you have issues with the county splits
contained in the Updated Preliminary Citizens’ Congressional Redistricting Map, when there are
fewer splits than in your proposed 2018 congressional redistricting map. Even more puzzling, two
of the counties you are questioning, Luzerne County and City of Philadelphia, were also split in
your proposed map.

Myth: “. . . the manner in which Chairman Grove has
conducted the recent steps of the crucial process has been
disgraceful. Despite his promise to conduct the “most
open and transparent congressional redistricting process
sin PA history,” it is not clear that he consulted with even
the Republican members of his own Committee prior to
selecting the Ms. Amanda Holt map – much less the
Democratic members, who have been completely cut out
of the process. And despite Chairman Grove’s attempt
make up a narrative as he goes, there is no explanation
for the changes that were made beyond the fact that some
of them seem to correlate with complaints aired by
members of his Committee when the original map was
released.”

Fact: If you or your staff took the time to engage in the
process, you would find we did institute the most open
and transparent congressional redistricting process in the
history of the commonwealth. As a matter of fact, it has
been so good, you copied it.13




12
  md-report.pdf (pa.gov)
13
  https://www.thecentersquare.com/pennsylvania/pennsylvania-governor-launches-familiar-public-
congressional-redistricting-effort/article_3e9deb4e-14dd-11ec-af4e-8310de694fa1.html
8|Page
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        If you or your staff want any information on the House redistricting process, just go to
www.PaRedistricting.com. It has all the testimony received from our hearings, citizen drawn
communities of interest, public comment, all the verified citizens drawn maps, all the pertinent
information on the preliminary map including the testimony from Ms. Amanda Holt, and the
voting meeting of the Updated Preliminary Citizens’ Congressional Redistricting Map, during
which I went into specific detail on the amendment to HB 2146. House Democrats, your
Administration and the public had full access to this information. Unfortunately, you and your
staff also failed to engage me or the committee at any time thus I am not surprised by these
egregious accusations.

       As this letter already contains the exact explanation I will not reiterate, but recommend you
view these two hearings, both of which are found on www.PaRedistricting.com:

           •   House State Government Committee Information Hearing with Ms. Amanda Holt:
               https://s3.us-east-2.amazonaws.com/pagopvideo/946333055.mp4
           •   House State Government Committee Voting Meeting on HB 2146:
               http://www.paredistricting.com/Video/Redistricting

Myth: “. . . I have significant concern about the timeline for the final passage of this map. As
Acting Secretary Degraffenreid noted in a June 28, 2021 letter to the leaders of the four legislative
caucuses as well as the Chair of the Legislative Reapportionment Commission, the Department of
State and county boards of elections have historically needed at least three weeks to prepare the
Statewide Uniform Registry of Electors (“SURE”) to facilitate the nomination petition process,
which is statutorily mandated to begin on February 15, 2022.”

Fact: When the PA Supreme Court adopted their maps in 2018, it took the Department of State
far less time to update the SURE system. I have full confidence we will get a congressional
redistricting map to your desk within your department’s arbitrary date of January 24th.

        In closing, we have a historic opportunity to sign a non-partisan, citizens’ Congressional
redistricting map into law. We have a historic opportunity to reset how we develop and approve
Congressional redistricting maps. I am willing to work with you and hope you are able to put any
issues you have with me aside for the greater good of our beloved Commonwealth. The decision
is yours. I hope you side with the people of Pennsylvania over political partisanship.

                                             Sincerely,




                                         Seth M. Grove
                                       State Representative
                                           196th District


Cc:    Speaker Bryan Cutler
       House Majority Leader Kerry Benninghoff
       President Pro Tempe Jake Corman
       Senate Majority Leader Kim Ward
       Geoff Moulton, Court Administrator of Pennsylvania
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                                                          PA House Republican Caucus


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   Each hearing link includes video of the completed hearing, schedule and written testimony, and counties included in the region.

   Disclaimer: The general geographic regions are being provided for guidance only to help Pennsylvania residents determine the regional
   hearing(s) in which they want to participate. Generally, testifiers should participate in the hearing(s) most closely associated with their
   primary place of residence.



   COMPLETED HEARINGS
   Congressional Redistricting 101: Harrisburg
   Thursday, July 22

   Stakeholder Input: Harrisburg
   Thursday, July 22
   Regional Hearing: Northwest
   Tuesday, August 24
   Regional Hearing: Allegheny
   Wednesday, August 25
   Regional Hearing: Southwest
   Thursday, August 26
   Regional Hearing: North Central
   Tuesday, Oct. 12
   Regional Hearing: South Central
   Wednesday, Oct 13
   Regional Hearing: Northeast
   Monday, Oct. 18
   Regional Hearing: Southeast
   Tuesday, Oct. 19
   Regional Hearing: Philadelphia
   Wednesday, Oct. 20
   Hearing on Congressional Redistricting and Census Data Analysis
   Thursday, Oct. 28
   Informational Meeting on Citizen Map
   Thursday, Dec. 9
   Voting Meeting on Preliminary Plan
   Monday, Dec. 13
   Voting Meeting on Citizens Map
   Wednesday, Dec. 15


   Sign up for updates here.




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                                                 Thank You for Providing Your Input

   Thank you to every resident who submitted their own congressional district map for consideration, shared with the Chair of the House
   State Government Committee about their community of interest or took the time to comment on the 2018 Supreme Court map with our
   online mapping tool. Your involvement to date in this once-in-a-decade process has been very much appreciated.

   While the window for providing input into map development is closed, residents can view previously submitted maps, communities of
   interest and public comments at the links below:




   Click here to view validated, publicly submitted maps.




   Click here to view communities of interest identified by Pennsylvanians across the Commonwealth.




   Click here to read the comments received on the current congressional district map, drawn by the PA Supreme Court in 2018.

   Click here to view additional public comments received by the Chair.




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                       Grove                           Document
                             Announces Citizen Map Selected            49-6
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                                                                                                                           State Rep. Seth Grove

   Contact Rep. Grove                     Search


                                                                   PA STATE REP.

                                                         SETH GROVE
                                                      Serving PA's 196th Legislative District


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                               Grove Announces Citizen Map Selected as
                             Preliminary Congressional Plan, Invites Public
                                              Comment

                                                                 DEC. 08, 2021



                        HARRISBURG – Rep. Seth Grove (R-York), chairman of the House State Government Committee,
                        announced today that following the most open and transparent congressional redistricting
                        process in Pennsylvania history, the committee has selected a citizen map as its preliminary
                        congressional plan. The preliminary plan, submitted through the committee’s online mapping tool
                        by Lehigh County resident Amanda Holt, is now posted for public comment.

                        “Over the last several months, advocates and every-day Pennsylvanians told us they didn’t want
                        the process of years’ past,” Grove said. “The people of Pennsylvania asked for increased public
                        involvement, a map that was drawn by people, not by politicians, and the opportunity to offer
                        comment on a preliminary plan before a final vote was taken.”
                        “Today, I am proud to announce that a citizen’s map, not a map drawn by legislators, has been
                        introduced for consideration by the General Assembly, and for the first time in Pennsylvania
                        history is posted for public view and comment.”

                        Holt’s map was one of the 19 verified statewide maps submitted to the committee through its
                        online mapping tool. To view the preliminary map, residents should visit paredistricting.com and
                        click on “Preliminary Map.” There, users will be able to view the map and offer public comments.
                        “The introduction of this map is a starting point, and we look forward to hearing the thoughts of
                        residents across Pennsylvania about how this map would impact their community and how they
                        are represented in Washington, D.C.,” Grove said.

                        Holt’s map was introduced by Grove because it was drawn without political influence; complies
                        with constitutionally mandated criteria; satisfies equal population requirements; limits splits of
                        townships, municipalities and other local subdivisions; and is comprised of districts that are
                        compact and contiguous, all of which were highlighted as priorities by the majority of testifiers
                        and residents throughout the committee’s extensive regional hearings and online public input
                        process.
                        “This is a historic step forward in transparency and good government,” Grove said.

                        Grove also announced the House State Government Committee would be holding two meetings
                        in Harrisburg on the preliminary plan:

                        • Informational meeting on Thursday, Dec. 9, at 5:30 p.m. in Room G50, Irvis Office Building.
                        • Voting meeting on Monday, Dec. 13, at 8 a.m. in Room 523, Irvis Office Building.

                        The meetings will also be livestreamed at paredistricting.com.
                        “I look forward to kicking off the legislative process and getting a map before the people of
                        Pennsylvania for feedback and consideration,” Grove said.
                        In addition to the ability to comment on the preliminary citizen map, residents can also watch or
                        read testimony from one of the 12 previously held hearings and view previously submitted
                        statewide maps, communities of interest and public comments.
                        Representative Seth Grove
                        196th District

www.repgrove.com/News/22950/Latest-News/Grove-Announces-Citizen-Map-Selected-as-Preliminary-Congressional-Plan,-Invites-Public-Comment-       1/2
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                                                                                                                           State Rep. Seth Grove
                        Pennsylvania House of Representatives
   Contact Rep. Grove   Media Contact: Greg Gross
                                        Search
                        717.260.6374
                        ggross@pahousegop.com
                        RepGrove.com / Facebook.com/RepSethGrove

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   York, PA 17408                                                          PO Box 202196
   717-767-3947                                                            Harrisburg, PA 17120
   Mon – Fri 8:30 a.m. - 4:30 p.m.                                         717-783-2655




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                                                                           2146; Regular 02/27/22     Page
                                                                                               2021-2022       46 ofAssembly
                                                                                                         - PA General 157
Pennsylvania General Assembly                                                                                      01/24/2022 01:46 PM
https://www.legis.state.pa.us/cfdocs/billinfo/bill_history.cfm?syear=2021&sind=0&body=H&type=B&bn=2146


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 Bill Information - History
 House Bill 2146; Regular Session 2021-2022
  Sponsors:               GROVE

  Printer's No.(PN): 2541* , 2491

  Short Title:            An Act apportioning this Commonwealth into congressional districts in conformity with constitutional
                          requirements; providing for the nomination and election of Congressmen; and requiring publication of notice
                          of the establishment of congressional districts following the Federal decennial census.

  Actions:                    PN 2491       Referred to STATE GOVERNMENT, Dec. 8, 2021
                              PN 2541       Reported as amended, Dec. 15, 2021
                                            First consideration, Dec. 15, 2021
                                            Laid on the table, Dec. 15, 2021
                                            Removed from table, Jan. 10, 2022
                                            Second consideration, Jan. 11, 2022
                                            Re-committed to APPROPRIATIONS, Jan. 11, 2022
                                            Re-reported as committed, Jan. 12, 2022
                                            Third consideration and final passage, Jan. 12, 2022 (110-91)
                                            (Remarks see House Journal Page ), Jan. 12, 2022
                                                                                              In the Senate
                                            Referred to STATE GOVERNMENT, Jan. 12, 2022
                                            Reported as committed, Jan. 18, 2022
                                            First consideration, Jan. 18, 2022
                                            Second consideration, Jan. 19, 2022
                                            Re-referred to APPROPRIATIONS, Jan. 24, 2022

                                                           * denotes current Printer's Number
                                                  How to Read a Bill  About PDF Documents




https://www.legis.state.pa.us/cfdocs/billinfo/bill_history.cfm?syear=2021&sind=0&body=H&type=B&bn=2146                              1/1
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                                      Updated Preliminary Congressional Plan

   On Dec. 8, 2021, Chairman Grove announced a citizen map was selected as the preliminary congressional plan. On Dec. 15, the citizen's
   map was updated in committee to incorporate additional public feed back.




                                                              Click here for larger map




   To view and comment on the updated preliminary congressional plan, click here.
   Click here to download the updated preliminary plan shapefiles.
   Click here to download the preliminary plan block equivalency file.

   Click here to view a preliminary plan and updated plan comparison by population.
   Click here to view a compactness comparison between the preliminary plan and the updated plan.

   Click here to view additional public comments received to date on the updated preliminary plan outside of the online mapping tool.
   The updated preliminary plan took into consideration input from the citizens across Pennsylvania. To read the comments received on the
   initial preliminary plan, click here.
   Click here to watch previously held informational meetings and hearings on the preliminary plan.




paredistricting.com/pcplan                                                                                                                  1/2
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                 Pennsylvania Redistricting Advisory Council
                                 Redistricting Principles

Under existing state law, Pennsylvania’s congressional districts are drawn by the General
Assembly and passed as a regular statute, subject to veto by the Governor. On
September 13, 2021, Governor Wolf issued Executive Order 2021-05 establishing the
Pennsylvania Redistricting Advisory Council and charging the Council with developing
recommendations for the Governor in evaluating a congressional district map passed by
the General Assembly.

The Council has identified three types of principles that it believes the Governor should
adopt in determining the fairness and propriety of any proposed congressional map
presented by the General Assembly. The first are legal principles, drawn from settled
constitutional and legal requirements, that serve as a minimal floor of protection against
improper maps. Second are principles of representation, three in particular, as described
below, that are crucial to assuring equal representation and fairness in a resulting map.
Finally, there are procedural principles that should be in place to ensure that
Pennsylvania's congressional districts are drawn through a fair and transparent process.

Legal Principles

As an initial step in analyzing a proposed congressional map, the Council believes that
the Governor should evaluate the map’s fidelity to traditional neutral criteria that form a
“floor” of protection against the dilution of votes in the creation of districts. The Free and
Equal Elections Clause of the Pennsylvania Constitution requires that each congressional
district be composed of compact and contiguous territory and minimize the division of
political subdivisions as practicable.

The Pennsylvania Supreme Court has noted that the goal is to create “representational
districts that both maintain the geographical and social cohesion of the communities in
which people live and conduct the majority of their day-to-day affairs.” In addition, any
proposed map must comply with the requirements of federal law, including most
specifically, the constitutional requirement to maintain population equality among
congressional districts and the provisions of the Voting Rights Act as they apply in
Pennsylvania. These federal and state legal principles require that, in evaluating a
proposed Congressional map, the Governor ensure that these legally mandated elements
are complied with, along with other principles noted below.

   •   Maintenance of population equality among congressional districts refers to the
       principle that that each district should be as nearly equal in population as
       practicable. As a result of the 2020 Census, the ideal Congressional district in
       Pennsylvania will contain 764,865 residents. In evaluating a map, the Governor
       should ensure that the deviations in populations between districts comply with the
       requirements of the Constitution.
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   •   Assurance of contiguity refers to the principle that all territory within a district
       connect to the rest of the district. In evaluating a map, the Governor should ensure
       that all parts of the district are in contact with another part of the district and should
       disfavor any proposed map in which territory is only connected at a narrow single
       point.

   •   Maintaining compactness refers to the principle that the boundaries of a district
       should not be irregularly shaped or sprawl unnecessarily from a central area.
       Evaluation of compactness tends to focus formulaically on the relationship of the
       district’s perimeter to its area, or the extent to which the district spreads from a
       central core. In evaluating a proposed map, the Governor should prioritize plan
       level geographic compactness unless dispersion is required to advance another
       positive districting principle, such as preserving communities of interest or avoiding
       political-subdivision splits.

   •   Minimization of division of political subdivisions refers to the principle that local
       political subdivisions–such as counties or, where possible, municipalities and
       school districts– not be arbitrarily split into multiple districts. In evaluating a
       proposed map, the Governor should prioritize fewer subdivision splits unless a
       division is necessary to preserve a cohesive–and clearly identified–community of
       interest.

   •   Finally, in certain circumstances, but only in those circumstances, the Voting
       Rights Act requires the creation of “majority-minority” districts to prevent the denial
       or abridgement of the right to vote based on race, color, or membership in a
       language minority. In evaluating a proposed map, the Governor should
       independently consider whether the Voting Rights Act requires the creation of
       proposed majority-minority districts.

Principles of Representation

Assuming a proposed congressional map from the General Assembly complies with the
principles above, the Governor should further evaluate the map to ensure that it does not
unfairly dilute the power of a particular group’s vote. Essential to this evaluation are three
additional principles of representation which contribute to the ultimate fairness of a
proposed map: communities of interest should be maintained, the composition of the
congressional delegation should be proportional to statewide voter preference, and the
map should be responsive to changing voter preference. These principles operate as a
further check on the two features of partisan gerrymandering: the splitting of communities
of voters across several districts to dilute their voting power (cracking), and squeezing as
many voters of one political interest into just one or a few districts, thereby wasting their
votes in those districts, which decreases the likelihood of success elsewhere (packing).
In evaluating a proposed map, the Governor should consider the extent to which these
principles of representation are met, when compared to other potential maps that could
have been drawn.
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•   Communities of interest are contiguous geographic areas or neighborhoods in
    which residents share common socio-economic and cultural interests which the
    residents of the region may seek to translate into effective representation.
    Examples of shared interests include those common to rural, urban, industrial or
    agricultural areas, where residents have similar work opportunities, share similar
    standards of living, use the same transportation facilities, or share common
    environmental, healthcare, or educational concerns, among others. In statewide
    listening sessions held by the Council, Pennsylvanians frequently emphasized
    communities of interest focused around school districts, colleges, industrial
    corridors, and commuting patterns, and urged particular attention to emerging
    communities of interest and demographic groups that are growing in Pennsylvania.
    While a community of interest may be contained within a single political
    subdivision, they often extend across borders within a region, and may be better
    represented by regional planning entities such as Councils of Governments. In
    evaluating a proposed map, the Governor should consider the extent to which a
    map preserves cohesive communities of interest, particularly where failure to do
    so cannot be easily explained by compelling neutral factors outlined above.

•   Ensuring partisan fairness and proportionality requires that parties have the
    opportunity to translate their popular support into legislative representation with
    approximately equal efficiency such that the proportion of districts whose voters
    favor each political party should correlate to the statewide preferences of the
    voters. Partisan fairness requires preventing structural advantage from being
    baked into the map so as to allow one party to more efficiently translate votes into
    seats in the delegation. In evaluating a proposed map, the Governor should
    analyze how it would have performed in a full range of prior statewide elections
    when compared to other potential maps which could have been drawn. A map with
    expected performance proportional to statewide voter preference should be
    favored as comporting with broad principles of fairness.

•   Responsiveness and competitiveness require that there are enough districts “in
    play” that changes in electoral sentiment can translate into clear changes in the
    overall composition of the congressional delegation. A competitive district is one
    in which the electoral outcome is close enough that the district can change with
    shifting voter preferences. A responsive map is one with enough competitive
    districts to allow for changes in the composition of the delegation with changes in
    proportion of votes for the parties. Voters should not be deprived of their choice
    and a fair opportunity to elect candidates they support. In evaluating a proposed
    map, the Governor should analyze how it would have performed in a full range of
    prior statewide elections and favor a map with districts where partisan swings were
    reflected in changes in the congressional delegation.
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Principles of Process

Beyond both the floor of protection and the additional checks on a partisan gerrymander
endorsed above, it is critical that the map passed by the General Assembly be the result
of a process that provides an opportunity for meaningful public input, comment, and
participation. In the Council’s listening sessions, many participants pointed to the public
processes that have accompanied citizen-mapping efforts over the past several months
as exemplifying the level of transparency that is expected. Procedural fairness begins
with strong engagement with members of the public as to their priorities for the
redistricting process, with particular focus on hearing about what ordinary Pennsylvanians
identify as their communities of interest.

And when the General Assembly’s proposed map is shared publicly, a process of robust
public engagement and transparency dictates that there be a public record accompanying
the map setting forth why specific decisions were made as they were. For instance, if
certain counties were split in the map the public is entitled to know the justification for
doing so. Likewise, if the proposed map prioritizes specific communities of interest, the
public should be told what those communities are and how they were defined. If majority-
minority districts are created, there should be a discussion of the factors that resulted in
the minority group’s denial of equal opportunity to participate in the political processes. In
evaluating a proposed map, the Governor should disfavor any map that is made public
and passed quickly with limited legislative debate or opportunity for public consideration.
In addition, the Governor should more closely scrutinize any map that is not accompanied
by a public record or narrative which explains the rationale for decisions which were
made.
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               Report on Proposed
         Congressional Redistricting Plan
     from the Pennsylvania House Republican
                     Caucus

                      Dr. Michael Barber
                   Brigham Young University
                 724 Spencer W. Kimball Tower
                       Provo, UT 84604
                        barber@byu.edu
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1       Introduction and Qualifications

        I have been asked by counsel to review the Pennsylvania House of Representatives
Republican Caucus’ proposed congressional redistricting plan (hereafter, “HB2146 plan”)
and compare it to a set of simulated redistricting plans across a number of factors commonly
considered in the redistricting process and in redistricting litigation. To do this, I implement
a publicly available and peer-reviewed redistricting simulation algorithm to generate 50,000
simulated district maps, each containing 17 congressional districts. The redistricting algo-
rithm generates a representative sample of districts by following neutral redistricting criteria
without regard to partisan data. In this way, the simulated districts establish a comparison
set of plans that use purely non-partisan redistricting inputs. I then compare the simulated
plans against the proposed plan using a number of commonly used redistricting criteria to
assess whether the proposed plan is consistent with what one would expect to see in a redis-
tricting plan composed without reference to any racial or partisan considerations.1 Across
all measures, the proposed plan is well within the distribution of simulated plans and is
unbiased, with a slight lean towards favoring Democratic candidates.
        I am an associate professor of political science at Brigham Young University and
faculty fellow at the Center for the Study of Elections and Democracy in Provo, Utah.
I received my PhD in political science from Princeton University in 2014 with emphases
in American politics and quantitative methods/statistical analyses. My dissertation was
awarded the 2014 Carl Albert Award for best dissertation in the area of American Politics
by the American Political Science Association.
        I teach a number of undergraduate courses in American politics and quantitative
research methods.2 These include classes about political representation, Congressional elec-
tions, statistical methods, and research design.
        I have worked as an expert witness in a number of cases in which I have been asked
    1
     In a later section I consider the impact of considering only the simulations that meet certain thresholds
with regards to the racial composition of some districts.
   2
     The political science department at Brigham Young University does not offer any graduate degrees.


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to analyze and evaluate various political and elections-related data and statistical methods.
Cases in which I have testified at trial or by deposition are listed in my CV, which is at-
tached to the end of this report. I have previously provided expert reports in a number of
cases related to voting, redistricting, and election-related issues: Nancy Carola Jacobson,
et al., Plaintiffs, vs. Laurel M. Lee, et al., Defendants. Case No. 4:18-cv-00262 MW-CAS
(U.S. District Court for the Northern District of Florida); Common Cause, et al., Plaintiffs,
vs. Lewis, et al., Defendants. Case No. 18-CVS-14001 (Wake County, North Carolina);
Kelvin Jones, et al., Plaintiffs, v. Ron DeSantis, et al., Defendants, Consolidated Case No.
4:19-cv-300 (U.S. District Court for the Northern District of Florida); Community Success
Initiative, et al., Plaintiffs, v. Timothy K. Moore, et al., Defendants, Case No. 19-cv-15941
(Wake County, North Carolina); Richard Rose et al., Plaintiffs, v. Brad Raffensperger,
Defendant, Civil Action No. 1:20-cv-02921-SDG (U.S. District Court for the Northern Dis-
trict of Georgia); Georgia Coalition for the People’s Agenda, Inc., et. al., Plaintiffs, v. Brad
Raffensberger, Defendant. Civil Action No. 1:18-cv-04727-ELR (U.S. District Court for
the Northern District of Georgia); Alabama, et al., Plaintiffs, v. United States Department
of Commerce; Gina Raimondo, et al., Defendants. Case No. CASE NO. 3:21-cv-00211-
RAH-ECM-KCN (U.S. District Court for the Middle District of Alabama Eastern Division);
League of Women Voters of Ohio, et al., Relators, v. Ohio Redistricting Commission, et al.,
Respondents. Case No. 2021-1193 (Supreme Court of Ohio); Harper, et al., Plaintiffs, v.
Hall et al., Defendants. Case No. 21-CVS-015426 (Wake County North Carolina). I have
also recently testified before the Pennsylvania Legislative Reapportionment Commission re-
garding the LRC’s proposed map for the Pennsylvania House of Representatives.
       In my position as a professor of political science, I have conducted research on a
variety of election- and voting-related topics in American politics and public opinion. Much
of my research uses advanced statistical methods for the analysis of quantitative data. I
have worked on a number of research projects that use “big data” that include millions of
observations, including a number of state voter files, campaign contribution lists, and data


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from the US Census. I have also used geographic information systems and other mapping
techniques in my work with political data.
       Much of this research has been published in peer-reviewed journals. I have published
nearly 20 peer-reviewed articles, including in our discipline’s flagship journal, The American
Political Science Review as well as the inter-disciplinary journal, Science Advances. My CV,
which details my complete publication record, is attached to this report as Appendix A.
       The analysis and opinions I provide in this report are consistent with my education,
training in statistical analysis, and knowledge of the relevant academic literature. These
skills are well-suited for this type of analysis in political science and quantitative analysis
more generally. My conclusions stated herein are based upon my review of the information
available to me at this time. I reserve the right to alter, amend, or supplement these con-
clusions based upon further study or based upon the availability of additional information.
The opinions in this report are my own, and do not represent the view of Brigham Young
University.



2     Summary of Conclusions

       Based on the evidence and analysis presented below, my opinions regarding the
HB2146 plan for congressional districts in Pennsylvania can be summarized as follows:

    • The contemporary political geography of Pennsylvania is such that Democratic ma-
      jorities are geographically clustered in the largest cities of the state while Republican
      voters dominate the suburban and rural portions of the state.

    • This geographic clustering in cities puts the Democratic Party at a natural disadvantage
      when single-member districts are drawn. Specifically, districts drawn to be contiguous,
      compact, and contain minimal county and municipal splits will naturally create several
      districts in the Philadelphia and Pittsburgh areas that contain substantial Democratic
      majorities with many “wasted votes.”

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• Based on a comparison between the HB2146 plan, and a set of 50,000 simulated maps,
  the HB2146 plan is a fair plan with no evidence of partisan gerrymandering across a
  number of different measures used to assess the fairness of a map.

• Based on an index of statewide elections from 2012-2020, the HB2146 plan generates
  nine Democratic-leaning districts and eight Republican-leaning districts.

• Based on the same index of statewide elections from 2012-2020, six of the districts in
  the HB2146 plan will likely be competitive with candidates from both parties having
  a realistic possibility of winning the seats. Five of these competitive districts are
  extremely competitive, with a partisan index within two percentage points of an even
  50/50 split.

• Compared to a second set of simulations that explicitly consider the creation of minor-
  ity opportunity districts, the HB2146 plan is similarly unbiased. The race-conscious
  simulations reduce the variation in Democratic-leaning districts substantially, mak-
  ing nine Democratic-leaning districts the overwhelmingly most likely outcome in the
  simulations.

• Based on these commonly-used measures of redistricting fairness, the HB2146 plan is
  unbiased, and when compared to the simulations on these same metrics is balanced
  between occasionally having a slight Republican benefit and occasionally providing a
  slight benefit to Democratic voters.




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3       Political Geography of Pennsylvania

        Scholarship in political science has noted that the spatial distribution of voters through-
out a state can have an impact on the partisan outcomes of elections when a state is, by
necessity, divided into a number of legislative districts. This is largely the case because
Democratic-leaning voters tend to cluster in dense, urban areas while Republican-leaning
voters tend to be more evenly distributed across the remainder of the state.3 One prominent
study of the topic (Chen and Rodden, 2013) finds that “Democrats are highly clustered in
dense central city areas, while Republicans are scattered more evenly through the suburban,
exurban, and rural periphery...Precincts in which Democrats typically form majorities tend
to be more homogenous and extreme than Republican-leaning precincts. When these Demo-
cratic precincts are combined with neighboring precincts to form legislative districts, the
nearest neighbors of extremely Democratic precincts are more likely to be similarly extreme
than is true for Republican precincts. As a result, when districting plans are completed,
Democrats tend to be inefficiently packed into homogenous districts” (pg. 241).4
        The map below confirms that this is the case in Pennsylvania. There are extremely
large Democratic majorities shown in dark blue in and around Philadelphia and Pittsburgh.
The remainder of the state contains smaller cities that are Democratic-leaning and large
swaths of the state that are solidly Republican.
        The upshot of this pattern is that a political party stands at a disadvantage when
its voters are not “efficiently” distributed across the state. To understand what I mean by
efficient, imagine two different scenarios. First, imagine a party with a slim majority of
    3
      See for example Stephanopoulos, N. O. and McGhee, E. M., Partisan Gerrymandering and the Efficiency
Gap, The University of Chicago Law Review 82: 831-900, (2015); Chen, J. and Rodden, J., Unintentional
Gerrymandering: Political Geography and Electoral Bias in Legislatures, Quarterly Journal of Political
Science 8: 239-269, (2013); Nall, C., The Political Consequences of Spatial Policies: How Interstate Highways
Facilitated Geographic Polarization, Journal of Politics, 77(2): 394-406, (2015); Gimple, J. and Hui, I., .
Seeking politically compatible neighbors? The role of neighborhood partisan composition in residential
sorting, Political Geography 48: 130-142 (2015); Bishop, B., The Big Sort: Why the Clustering of Like-
Minded America is Tearing Us Apart, Houghton Mifflin Press (2008); and Jacobson, G. C., and Carson, J.
L., The Politics of Congressional Elections, 9th ed. Lanham, MD: Rowman and Littlefield (2016).
    4
      Chen, J. and Rodden, J., Unintentional Gerrymandering: Political Geography and Electoral Bias in
Legislatures, Quarterly Journal of Political Science 8: 239-269, (2013)


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      Figure 1: Distribution of People and Partisan Preferences in Pennsylvania




Note: Distribution of Partisan Preferences in Pennsylvania based on the average of statewide
partisan elections. Blue = Democratic, Red = Republican


voters statewide in which every precinct’s vote share perfectly reflected the overall state.
In other words, the party has a slight majority in every precinct that adds up to a slight
majority statewide. In this case, this party’s voters are extremely efficiently distributed in
such a way that the party will win every single district despite only a slim majority statewide.
Now imagine a different arrangement: a party that still holds a slim majority statewide, but
whose voters are heavily concentrated in a few areas and sparsely populated throughout the
rest of the state. In this case, despite holding a majority of votes statewide, the party will
only win a few seats where their voters are heavily concentrated. The political geography of
Pennsylvania closely resembles this second scenario.
       The geographic concentration of a party’s voters tends to harm that party when
single-member districts are drawn by creating districts that favor that party by very large
margins, thus “wasting” many votes by running up large majorities far beyond 50%+1.5
  5
    McGhee, E. (2017). Measuring Efficiency in Redistricting. Election Law Journal: Rules, Politics, and
Policy, 16(4), 417–442. doi:10.1089/elj.2017.0453


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This occurs in Pennsylvania at the scale of congressional districts in the two largest cities
of the state - Pittsburgh and Philadelphia. The overwhelming margins for the Democratic
Party in these cities are what drives “wasted votes,” which in turn translate to fewer seats
than the statewide proportion of votes would suggest.6
         For example, Philadelphia is large enough to constitute roughly 2.1 congressional dis-
tricts. Thus, a plan that attempts to avoid splitting counties will draw two districts entirely
within the city of Philadelphia.7 In the HB2146 plan Districts 2 and 3 are completely con-
tained in Philadelphia. In the 2020 presidential election, the city of Philadelphia supported
the Democratic candidate, Joe Biden, by an 81.4% to 17.9% margin. As a result, the two
congressional districts that will be contained within the city, whatever their configuration,
will be overwhelmingly Democratic and contain hundreds of thousands of wasted votes that
could be used more efficiently if they were geographically distributed more evenly across the
state.
         The story is very similar in Pittsburgh and Allegheny County as well. Pittsburgh is
not large enough to contain a single congressional district. However, its population is roughly
40% of the size required for a congressional district in 2020. Allegheny County’s population
is larger than a congressional district (its 2020 population was roughly equal to 1.6 con-
gressional districts), and thus a plan that draws district boundaries that are geographically
compact and avoid splitting counties and cities will contain a congressional district within
Allegheny County that also contains the city of Pittsburgh. In the HB2146 plan District 15
contains the city of Pittsburgh and is entirely contained in Allegheny County. Both Pitts-
burgh and Allegheny County are very Democratic leaning. In the 2020 presidential election,
the city supported Joe Biden by a 78% to 20.9% margin and Allegheny County supported
Biden by a 59.7% to 39.2% margin. As a result, whichever congressional district Pittsburgh
   6
      The term “wasted votes” in political science is not to imply that a person’s vote is not important or
counted, but rather that the vote is not helpful in gaining an additional seat for their preferred party if it
is an additional vote in favor of a candidate that has already won a majority of the votes in their district.
Technically, all votes beyond 50%+1 are “wasted”. However, parties are interested in winning by majorities
larger than 50%+1, but not by margins beyond the point at which their candidate is quite certain to win.
    7
      Philadelphia city and county are coterminous.


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is drawn into will be extremely Democratic as a result of the strong support for Democratic
candidates in Pittsburgh and its immediate suburbs within Allegheny County.
        Taken together, this suggests that any plan that follows the non-partisan criteria
of drawing maps that are geographically compact and avoid splitting counties and cities
will begin with three districts (2 in Philadelphia and 1 in Allegheny County centered in
Pittsburgh) that are extremely Democratic leaning with an abundance of wasted votes.
The spillover effect of this natural packing of Democratic voters is that the remaining 14
congressional districts will be more favorable to Republican voters than if the Democratic
voters in these two large cities were more evenly distributed across the state.
        The inefficient distribution of voters in Pennsylvania would not be a problem for
Democrats if district boundaries were able to amble about the state and divide counties and
municipalities to create districts that had less overwhelming Democratic support. Rodden
(2019) notes this by saying: “Democrats would need a redistricting process that intentionally
carved up large cities like pizza slices or spokes of a wheel, so as to combine some very Demo-
cratic urban neighborhoods with some Republican exurbs in an effort to spread Democrats
more efficiently across districts” (pg. 155).8 However, the provisions governing redistricting
in Pennsylvania run counter to either of these strategies. The Pennsylvania Supreme Court’s
decision in League of Women Voters of Pa. v. Commonwealth establishes that congressional
redistricting plans must adhere to traditional redistricting rules that require districts to be
geographically compact and to avoid county and municipal divisions. It thus prohibits the
type of meandering districts that Rodden describes above. In the end, this means that Re-
publicans begin the redistricting process with a natural geographic advantage due to the
constraints of where and how districts can be lawfully drawn combined with the particular
spatial distribution of their voters.
   8
    Rodden, Jonathan A. Why cities lose: The deep roots of the urban-rural political divide. Hachette UK,
2019.




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4    Methods

       To gauge the degree to which the HB2146 plan is a partisan gerrymander, I conduct
simulated districting analyses to allow me to produce a large number of districting plans
that follow traditional redistricting criteria using small geographic units as building blocks
for hypothetical legislative districts. This simulation process ignores all partisan and racial
considerations when drawing districts. Instead, the computer simulations are programmed
to create districting plans that follow traditional districting goals without paying attention
to partisanship, race, the location of incumbent legislators, or other political factors. This
set of simulated districts is helpful because it provides a set of maps to which we can compare
the HB2146 map that also accounts for the geographic distribution of voters. Because voters
are not distributed evenly across the state (as discussed in the previous section), we cannot
evaluate the fairness of a proposed plan without an apples-to-apples comparison. In other
words if a plan is not evaluated against a comparison set of maps that also use the same
political geography of the state, then potential issues or red flags in the map may not at all
be due to partisan gerrymandering, but rather the geographic distribution of voters in the
state. By comparing a proposed map to a set of alternative maps that are drawn using only
non-partisan districting criteria that also consider the same geographic distribution of voters,
we can identify if oddities or patterns in the proposed plan are due to the political geography
of the state because the simulated maps are drawn using the same political geography. In
other words, by comparing the HB2146 map to the simulated districts, we are comparing
the proposal to a set of alternative maps that we know to be unbiased that holds constant
the political geography of the state. If the HB2146 map produces a similar outcome as
the alternative set of maps, we may reasonably conclude that the HB2146 plan is unbiased.
Alternatively, if the HB2146 plan significantly diverges from the set of simulated maps, it
suggests that some other criteria that were not used in drawing the comparison set of maps
may have guided the decisions made in drawing the proposed map.
       The process of simulating districting plans has been recognized and used in a variety

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of redistricting litigation, including in Pennsylvania.9 While different people employ slightly
different methods, the overall process is much the same. For my simulations, I use a program
developed by Fifield et al. (2020).10
        A significant advantage of the simulation-based approach is the ability to provide
a representative sample of possible districting plans that accounts for the unique political
geography of a state, such as the spatial distribution of voters or the location and number
of administrative boundaries, such a counties. Simulation methods can also to a degree
incorporate each state’s unique redistricting rules. The simulation-based approach therefore
permits us to compare a particular plan to a large number of representative districting plans
in Pennsylvania. In the simulations I run, I instruct the model to generate plans that adhere
to the redistricting criteria discussed in the League of Women Voters case: equal population,
compactness, and minimzing political subdivision splits.
        A major factor in the validity of the simulated maps is whether or not they constitute
a representative sample of the trillions of possible maps that could be drawn.11 If the sample
produced by the simulations is not representative, then we may be comparing the proposed
map to a biased selection of alternative maps, which renders the value of the comparison
much less useful.
        A specific benefit of the particular algorithm I use here is that the authors show math-
   9
     See League of Women Voters of Ohio v. Ohio Redistricting Commission (2021); Harper v. Hall (2021);
Common Cause v. Lewis (2019); Harper v. Lewis (2019); League of Women Voters of Pennsylvania v.
Commonwealth of Pennsylvania (2018); City of Greensboro v. Guilford County Board of Elections (2017);
January 6, 2022 testimony for PA LRC from Kosuke Imai and Michael Barber.
  10
     Fifield, Benjamin, , Michael Higgins, Kosuke Imai, and Alexander Tarr. ”Automated redistricting
simulation using Markov chain Monte Carlo.” Journal of Computational and Graphical Statistics 29, no. 4
(2020): 715-728.
  Fifield, Benjamin, Kosuke Imai, Jun Kawahara, and Christopher T Kenny. 2020. “The essential role of
empirical validation in legislative redistricting simulation.” Statistics and Public Policy 7 (1): 52–68.
  Kenny, Christopher T., Cory McCartan, Benjamin Fifield, and Kosuke Imai. 2020. redist: Computational
Algorithms for Redistricting Simulation. https://CRAN.R-project.org/package= redist.
  McCartan, Cory, and Kosuke Imai. 2020. “Sequential Monte Carlo for sampling balanced and compact
redistricting plans.” arXiv preprint arXiv:2008.06131.
  11
     Tam Cho, Wendy K., and Yan Y. Liu. ”Toward a talismanic redistricting tool: A computational method
for identifying extreme redistricting plans.” Election Law Journal 15, no. 4 (2016): 351-366. Cho, Wendy
K. Tam, and Bruce E. Cain. ”Human-centered redistricting automation in the age of AI.” Science 369, no.
6508 (2020): 1179-1181. McCartan, Cory, and Kosuke Imai. ”Sequential Monte Carlo for sampling balanced
and compact redistricting plans.” arXiv preprint arXiv:2008.06131 (2020).


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ematically and in a small-scale validation study that their method produces a representative
sample of maps. With regards to this issue, the authors state:

       Yet, until recently, surprisingly few simulation algorithms have existed in the
       published scholarship. In fact, most of these existing studies use essentially the
       same Monte Carlo simulation algorithm where a geographical unit is randomly
       selected as a “seed” for each district and then neighboring units are added to con-
       tiguously grow this district until it reaches the pre-specified population threshold
       (e.g., Cirincione, Darling, and O’Rourke 2000; Chen and Rodden 2013). Unfor-
       tunately, no theoretical justification is given for these simulation algorithms, and
       hence they are unlikely to yield a representative sample of redistricting plans
       for a target population....Unlike the aforementioned standard simulation algo-
       rithms, the proposed algorithms are designed to yield a representative sample of
       redistricting plans under contiguity and equal population constraints.12

        Specifically, the model is constrained to conduct 50,000 simulations in which each
simulation generates 17 districts that are of roughly equal population (<0.5% deviation above
or below the target population of 764,865). While congressional districts are constrained to
contain a truly equal population, it is not possible to place such a strict constraint on the
model. Because of this, I relax the constraint to allow for a 0.5% deviation, or a roughly
3,800 person deviation. This is common in redistricting simulations of congressional districts,
including in litigation presented to, and relied upon by the Pennsylvania Supreme Court in
the 2018 League of Women Voters case. The process for zeroing out population on any given
simulation map would have minimal to no impact on the partisan outcomes.13
  12
      Cirincione, C., Darling, T. A., and O’Rourke, T. G. (2000), “Assessing South Carolina’s 1990s Congres-
sional Districting,” Political Geography, 19, 189–211. DOI: 10.1016/S0962-6298(99)00047-5. Chen, J., and
Rodden, J. (2013), “Unintentional Gerrymandering: Political Geography and Electoral Bias in Legislatures,”
Quarterly Journal of Political Science, 8, 239–269. DOI: 10.1561/100.00012033.
   13
      See for example: Expert report of Dr. Wesley Pegden in League of Women Voters of Pennsylvania case,
whose simulations use a 2% population constraint. Expert report of Dr. Jonathan Mattingly in Harper v.
Hall in North Carolina, whose congressional simulations use a 1% population constraint and states, “We
have verified in previous work in related settings that the small changes needed to make the districting plan


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        The algorithm generates 17 congressional districts with each run by assembling small
geographic units — electoral precincts — into larger groups until a group of precincts is large
enough to constitute a new legislative district. It then repeats this process 50,000 times,
generating a different set of 17 districts with each run of the model. In each of the 50,000
iterations, the model is instructed to generate geographically compact districts that do not
divide cities, boroughs, townships, and other municipal corporations. No city in Pennsylvania
is larger than a congressional district aside from Philadelphia. As a result, there are no split
precincts or municipalities (aside from the necessity of dividing Philadelphia into multiple
districts due to its population) in the simulated districts. I constrain the model to not split
municipalities because of the constitutional instructions in Article II, Section 16 that no city,
incorporated town, borough, township or ward shall be divided unless “absolutely necessary”.
Although Article II Section 16 does not on its face apply to congressional redistricting, the
League of Women Voters case held that an “essential part” of an inquiry into whether a
congressional plan is constitution under the Free and Equal Elections Clause is if the districts
created under the plan are: “composed of compact and contiguous territory; as nearly equal
in population as practicable; and which do not divide any county, city, incorporated town,
borough, township, or ward, except where necessary to ensure equality of population” (645
Pa. 1, 123, 2018). Later, the court described this principle as the “minimization of the
division of political subdivisions” (Id). Thus, if it is possible to generate districts that do
not split municipalities and stay within the 0.5% population constraint, it is therefore not
“absolutely necessary” to split municipalities aside from Philadelphia when constructing
simulated districts. The process for zeroing out population on any given simulation map
would, of course, require the division of some municipal corporations, but not many. The
model is also instructed to draw districts that cross county boundaries as few times as
have perfectly balanced populations do not change the results.” See also expert report of Daniel Magleby in
Harper v. Hall in North Carolina. Also, expert report of Kouske Imai in League of Women Voters of Ohio v.
Ohio Redistricting Commission, who uses a 0.5% population deviation and states, “Although this deviation
is greater than the population deviation used in the enacted plan, it only accounts for less than 4,000 people
and hence has no impact on the conclusions of my analysis.”



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possible. County populations do not always add up to round units of districts, and thus
some county boundaries will be need to be traversed. The model is further instructed that
when a county boundary needs to be crossed, it should avoid splitting the county more times
than necessary.
        Once the simulated district plans are complete, only then do I compute the partisan
composition of each district in each plan. For the partisan composition of each district I
rely on the election results from statewide elections disaggregated to the level of the election
precinct. I then reassemble these election results for each of the simulated districts in each of
the 50,000 simulations to compute the proportion of votes across all statewide elections con-
ducted between 2012 and 2020 that were won by the Democratic and Republican candidates
in those districts.14 In other words, the partisan index is the average vote share for Demo-
cratic candidates in each district for the statewide elections considered between 2012-2020.
I choose the period 2012-2020 because it represents an entire decade of elections between de-
cennial censuses when redistricting traditionally occurs. Averages of multiple elections have
the benefit of “washing out” the impact of any particular election, since individual elections
can vary due to particular idiosyncratic candidate features. Furthermore, particular years
can vary due to national electoral waves (i.e. 2018 was an especially good year for Democrats
while 2016 was an especially good year for Republicans nationwide). Later in the report I
also display the results using a variety of alternative election indices.
  14
     The particular races are 2020: President, Auditor, Attorney General, Treasurer; 2018: Governor, US
Senate; 2016: President, US Senate, Auditor, Attorney General, Treasurer; 2014. I do not include statewide
judicial elections in the index. It is uncommon in political science to use judicial elections to measure voters’
partisan preferences as research suggests voters treat judicial elections very differently, even when judges run
under party labels, than they do partisan elections to legislative and executive positions. Other commonly
used measures indices such as Dave’s Redistricting and PlanScore.com also omit judicial elections from their
partisan indices.




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5     Results

5.1     Population, Boundary Splits, and Compactness

        Table 1 below compares the HB2146 plan to the distribution of simulations for bound-
ary splits, and compactness. The HB2146 plan splits 15 counties, which is within the range
of county splits in the simulations. The HB2146 plan divides only 16 municipalities, one of
which would be Philadelphia, which is required to be divided because the city’s population
is larger than a single congressional district. Furthermore, the requirement that the proposal
contain exact population equality will require the division of some municipalities since the
combination of cities into districts will not necessarily lead to the exact population needed
for a congressional district. Finally, the HB2146 plan has only nine precinct splits. On the
whole, the plan performs exceptionally well at having few county, municipal, and precinct
splits. With regards to district compactness, the HB2146 plan’s average district compactness
score closely aligns with the results of the simulations. District-by-district measures of com-
pactness as well as a list of specific counties and municipalities that are split are contained
in the appendix of this report.


    Table 1: HB2146 plan and 50,000 Simulations: Subdivision Splits, and Compactness
                                                               Simulations Simulations
                                             HB2146 plan
                                                                 Median      Range
              Boundary Splits
              Counties Split:                      15                12            [7, 15]
              Municipalities Split:                16                 1             [1, 1]
              Precincts Split:                      9                 0             [0, 0]

              Compactness
              Average Polsby-Popper:              0.32             0.28         [0.22, 0.35]

Note: As described above, the simulations are constrained to not divide municipalities, aside from Philadel-
phia, which is too large to be contained within one district. However, exact population equality requires
some municipalities be split in the proposed plan.




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5.2    Partisan Lean of Districts

       Before comparing the proposal to the simulations, I first present the results of the
partisan index for each district in the HB2146 plan. Figure 2 shows this for the 17 districts
in the plan. Districts are ordered from least Democratic at the bottom to most Democratic
at the top. Districts with a partisan index less than 0.50 are Republican leaning and districts
with a partisan index greater than 0.50 are Democratic leaning. A vertical dashed line is
placed at 0.50 for reference. In the plan there are eight Republican-leaning districts with
an index less than 0.50 (on the left side of the dashed line at .50) and nine Democratic-
leaning districts with an index greater than 0.50 (on the right side of the dashed line at
.50). The grey horizontal lines around each point show the range of election outcomes for
all of the statewide elections used to generate the index. Districts in which the Republican
candidate for statewide elections won the majority of the two-party vote share in all of the
statewide races in that district are shown as red squares while districts where the Democratic
candidate for statewide elections won the majority of the two-party vote share in all of the
statewide races in that district are shown as blue triangles. Districts where both parties
have won a majority of the two-party vote share in these statewide races in the district are
displayed as green circles. Looking at the range across the index, there are six districts
colored red (reliably Republican), five blue districts (reliable Democratic), and six green
districts (competitive) in the plan. Using an alternative definition of competitiveness based
on the closeness of the index to 0.50, there are five districts with an index between 0.48 and
0.52. A range of two percentage points is a commonly used measure of competitiveness in
congressional elections.
       A few key points come out of this figure. First, we see the result of the natural
clustering of Democratic voters in Philadelphia and Pittsburgh. Districts 3 and 2 are the
most Democratic leaning and are entirely contained within Philadelphia in the HB2146
plan. District 15 is the third most Democratic leaning district and contains the entirety of
Pittsburgh and some of its surrounding suburbs in Allegheny County. These districts are


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overwhelmingly Democratic leaning. In fact, they are much more Democratic than the degree
to which the most Republican-leaning districts lean towards Republicans. For example, the
most Democratic district (District 3) has a partisan index of 0.92 while the most Republican
district (District 13) has a partisan index of 0.35 (0.35 is much closer to .50 than 0.92 is to
0.50). This illustrates the idea that geographic clustering of voters when divided into single
member districts that are compact and avoid dividing counties and cities generally lead to
more wasted votes for Democrats than for Republicans.
       The second major point is that the HB2146 plan generates a significant number
of competitive districts. Electoral competitiveness is an essential component of a liberal
democracy. The threat of electoral defeat is critical to creating a democratic government
in which elected officials are responsive to public opinion and are held accountable for their
decisions while in office.15
       I use two different metrics to measure competitiveness.
       The first measure considers a district competitive if both a Democratic and Repub-
lican candidate for statewide federal office between 2012-2020 have won a majority of the
two-party vote share in that district. Figure 2 shows these districts as green circles. Note
how the grey line in each of these districts crosses the 0.50 line, indicating that both Repub-
lican and Democratic candidates for statewide office have won a majority of votes in that
district. This approach has the virtue of considering the candidate-specific characteristics
that a partisan average or index would not measure. For example, particular candidates
from either party might outperform their party’s average candidate performance. This is
important to consider because actual elections are determined by which candidate wins the
most votes, not the result of an average of votes cast, and individual elections in individual
  15
    Mayhew, David R., 1974. Congress: The Electoral Connection. New Haven, CT: Yale University Press.
Gordon, Sanford C., and Gregory Huber. “The effect of electoral competitiveness on incumbent behavior.”
Quarterly Journal of Political Science 2, no. 2 (2007): 107-138.
Ansolabehere, Stephen, David Brady, and Morris Fiorina. “The vanishing marginals and electoral respon-
siveness.” British Journal of Political Science 22, no. 1 (1992): 21-38.
Dropp, Kyle, and Zachary Peskowitz. “Electoral security and the provision of constituency service.” The
Journal of Politics 74, no. 1 (2012): 220-234.



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districts are influenced by the characteristics and qualities of individual candidates. Using
this metric, there are 6 competitive districts (Districts 16, 8, 17, 7, 6, and 1).
        The second measure of competitiveness uses the partisan index and simply looks
at districts where the partisan index is within two percentage points of 50% of the two-
party vote share. Scholars have often used two percentage points as a heuristic for hyper-
close races in which unforeseen or “knife-edge electoral shifts” can change election results.16
Furthermore, recent studies of the legislative incumbency advantage have suggested a decline
in the benefit afforded to incumbents by voters with more recent estimates being between
3 and 4 percentage points, which divided symmetrically would yield roughly 2 points on
either side of the 50% vote margin.17 Using this metric, there are five competitive districts
(Districts 8, 17, 7, 6, and 1).
        Unlike the first metric described above, this measure of competitiveness is based on
the average performance of candidates. Both metrics have their benefits and drawbacks.
The virtue of using the average is that it “washes out” the impact of any one particular
candidate by aggregating multiple election results together. The virtue of the “bipartisan
victories” metric described above is that it captures the fact that particular candidates often
perform very differently from what a partisan index would predict. Thus, the virtues of the
first are in many ways the drawbacks of the second, and vice versa. As a result, including
both presents a more complete picture. In either case, the HB2146 plan creates a substantial
number of competitive districts.
        A final point to note is that among these competitive districts, four of them lean
Democratic. In other words, while both parties will likely win these districts some of the
time, Democratic candidates are slightly favored in four of the five (or six depending on the
measure of competitiveness) competitive districts in the plan.
        It is important to note that partisan averages — such as the ones I have created here
  16
      Erikson, Robert S., and Rocı́o Titiunik. ”Using regression discontinuity to uncover the personal incum-
bency advantage.” Quarterly Journal of Political Science 10, no. 1 (2015): 101-119.
   17
      Jacobson, Gary C. ”It’s nothing personal: The decline of the incumbency advantage in US House
elections.” The Journal of Politics 77, no. 3 (2015): 861-873.


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— are useful, but not perfect. Every congressional race is different. Individual candidate
factors such as prior elected experience, professional background, gender, and ties to the
local community are all important factors in determining candidate success. Campaigns and
the issues and policies that candidates choose to emphasize and endorse are also important.
These factors all contribute to making each race unique and slightly different from what an
index of statewide election results might predict. In other words, no election will perfectly
mirror the partisan average for that district based on an index of election results, and in
some cases that difference could be quite large.




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             Figure 2: Partisan Index of HB2146 plan Congressional Districts

                                          Partisan Lean of HB−2146 Proposal Districts
                                             (2012−2020 Statewide Election Index)

                               3

                               2

                               15

                               4

                               5

                               1

                               6
             District Number




                               7

                               17

                               8

                               16

                               10

                               11

                               14

                               12

                               9

                               13


                                    0.0    0.1   0.2     0.3   0.4    0.5   0.6   0.7   0.8   0.9   1.0

                                                       Average Democratic Vote Share


Note: Partisan Index based on the average of statewide partisan races between 2012-2020. Districts with a
partisan index less than 0.50 are Republican leaning and districts with a partisan index greater than 0.50
are Democratic leaning. A vertical dashed line is placed at 0.50 for reference. The grey horizontal lines
around each point show the range of election outcomes for all of the statewide elections used to generate the
index. Districts in which the Republican candidate for statewide elections won the majority of the two-party
vote share in all of the statewide races are shown as red triangles (there are 6 of them) while districts where
the Democratic candidate for statewide elections won the majority of the two-party vote share in all of the
stateside races are shown as blue triangles (there are 5 of them). Districts where both parties have won a
majority of the two-party vote share in these statewide races are displayed as green circles (there are 6 of
them).


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5.3    Partisan Lean of Districts Compared to Simulations

       Figure 3 displays the distribution of Democratic-leaning districts in both the simula-
tions and the HB2146 plan using the 2012-2020 partisan index discussed above. If a district
in the simulations or in the HB2146 plan has a partisan index greater than 0.50, I call that
a Democratic-leaning district. Likewise, if a districts in the simulations has a partisan index
less than 0.50, I call that a Republican-leaning district. The grey histogram shows the distri-
bution of Democratic-leaning seats generated by the simulations. The simulations generate
between six and ten Democratic-leaning districts, and the numbers above each bar in the
histogram display the proportion of simulated maps that generate each outcome. For exam-
ple, in 34.9% of the simulations there are eight Democratic-leaning districts (and therefore
nine Republican-leaning districts). The solid black vertical line shows the results of calcu-
lating the partisan index for the HB2146 plan. The HB2146 plan generates nine Democratic
leaning districts, which is in line with the distribution of Democratic-leaning seats generated
by the simulations (32.1% of the simulations generate this result). As noted above, the most
common outcome in the simulations is eight Democratic-leaning seats, which is one less than
the HB2146 plan generates.
       Recall that in using the simulations we are comparing the proposed map to a set
of maps drawn by the computer using only those criteria that I instructed the algorithm
to follow - namely the pre-specified nonpartisan criteria of equal population, contiguity,
geographic compactness and a preference for fewer county splits. Both the HB2146 plan and
the simulations account for the unique political geography of Pennsylvania. Doing so shows
us that the HB2146 plan is within the middle portion of simulation results and if anything
leans slightly towards the Democratic party by generating nine Democratic-leaning districts
rather than eight, which is the modal outcome in the simulations. By no standard definition
would the plan be considered an outlier.




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                                         Figure 3: Partisan Composition of HB2146 plan and Simulations

                                                Comparison to 50,000 simulated PA congressional plans:
                                         (drawn with population equality, compactness, and minimal county splits)

                                                                             HB−2146 Proposal

                                    20


                                    18                                        34.9%


                                                                                            32.1%
                                    16
      Number of Maps (in 1,000s)




                                    14


                                    12


                                    10                           19%




                                     8
                                                                                                       13.7%


                                     6


                                     4


                                     2

                                                     0.2%
                                     0


                                           5          6           7              8              9       10     11


                                                                       Democratic Districts
                                                            grey=simulations, black=HB−2146 Proposal

Note: The grey distribution is the number of Democratic seats generated from the 50,000 simulations. The
vertical black line is the number of Democratic leaning seats in the HB2146 plan. The HB2146 plan generates
9 Democratic leaning districts. The partisan lean of districts in the simulations and the HB2146 plan are
calculated as the two-party vote share of statewide partisan elections from 2012-2020.


5.4                                District-by-District Comparisons

                                   While Figure 3 shows the position of the HB2146 plan in relation to the simulations
overall, it is also instructive to look at a district-by-district level to see if any particular
district stands out as an outlier. Figure 4 below does this for each of the 17 districts in



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the state. The figure plots the partisan lean of each district across all of the simulations
ordered from least Democratic at the top to most Democratic at the bottom of the figure.
The simulation results are displayed in grey and generate a “cloud” or range of partisan
outcomes for each district. The black dots in the figure show the partisan lean of each of
the districts in the HB2146 plan and their relative position within the simulations. Next to
each district is text showing the position of the HB2146 plan in relation to the simulations.
For example, in the most Republican-leaning district (District 13) at the top of the figure,
the HB2146 plan is more Democratic than 64% of the simulations in that district.
       Looking district by district, we see that in most cases the HB2146 plan sits well
within the middle of the distribution of simulations. In a few cases it stands out as an
outlier, and I consider each of these cases one by one. In the 5th and 6th most Republican
districts (Districts 11 and 10 in the HB2146 plan, as labelled on the vertical axis of the
figure) the HB2146 plan is at the Republican edge of the simulation results indicating that
the HB2146 plan is more Republican than only five and six percent of the simulations in
these two districts, respectively. However, both of these districts are squarely Republican
leaning, even in the simulations that are more favorable to Democrats.
       In the 5th most Republican district (District 11 in the HB2146 plan) the partisan
index of the HB2146 plan is 0.40 while the median simulation has a partisan index of 0.42. In
other words, District 11 is only two points away from the median simulation in this district,
and a partisan index or 0.40 or 0.42 would be a safely Republican districts in either case.
       The same is true of the 6th most Republican district in the simulations, which is
District 10 in the HB2146 plan. This district has a partisan index of 0.42 in the HB2146
plan while the median simulation has a partisan index of 0.435. In other words, District 10 is
only 1.5 percentage points away from the median simulation in this district, and a partisan
index or 0.42 or 0.435 would be a safely Republican districts in either case. In other words,
in these two districts, the position of the HB2146 plan in relation to the median simulation
will have minimal real-world impact on the electoral outcomes in those districts.


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       As described above, the HB2146 plan produces five districts that are extremely com-
petitive with a partisan index within two percentage points of 0.50 (Districts 17, 8, 6, 1, and
7). In two of those five districts, the proposal is more Democratic than the median partisan
index in the simulations (Districts 17 and 8), is very near the median simulation in one of
the districts (District 6), and in two of these districts (Districts 1 and 7) the HB2146 plan is
more Republican than the median simulation. Thus, in the districts where a shift of a few
percentage points really could make a difference in the party that wins a congressional seat,
the HB2146 plan is balanced between favoring Democrats in 2 of the districts, Republicans
in 2 of the districts, and neither party in 1 of the districts when compared to the distribution
of simulation results.




                                              25
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                                                                   Figure 4: Partisan Composition of HB2146 plan and Simulations
                                                                                         Partisan Lean of Districts
                                                                                    (2012−2020 Statewide Election Index)




                                                                   13                 64 pctile

                                                                   9                      73 pctile

                                                                   12                       46 pctile

                                                                   14                        12 pctile
        District (ordered from least to most Democratic leaning)




                                                                   11                          5 pctile

                                                                   10                           6 pctile

                                                                   16                             21 pctile

                                                                   17                                   77 pctile

                                                                   8                                      81 pctile

                                                                   6                                      49 pctile

                                                                   1                                       17 pctile

                                                                   7                                         17 pctile

                                                                   5                                                   91 pctile

                                                                   4                                                       31 pctile

                                                                   15                                                                  76 pctile

                                                                   2                                                                               28 pctile

                                                                   3                                                                                      96 pctile




                                                                        0.2   0.3   0.4        0.5           0.6         0.7       0.8             0.9         1.0

                                                                                               Democratic Vote Index
                                                                                      grey=simulations, black=HB−2146 Proposal

Note: The grey ‘clusters’ show the range of vote margins for each district, ordered from least Democratic to
most Democratic in the 50,000 simulations. The black dot inside of each cluster shows the partisan index
for the HB2146 plan. Next to each cluster is the percentile, or relative position of the HB2146 plan within
each cluster of simulation results for each district.



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5.5     Median-Mean Difference

        Another common measure of the partisan slant of a districting plan is the median-
mean difference.18 The median-mean measure is calculated by taking the median value of the
partisan index across all 17 districts in a plan (the value for which half of the observations
are smaller and half the observations are larger) and subtracting from that the mean partisan
index (the simple average) of all of the districts from the median. Consider a simple example
in which there are three districts in a plan with partisan indices of 0.91, 0.46, and 0.40. To
find the median we simply look for the district for which there is one district larger and one
district smaller (0.46 in this case). To find the mean, we simply take the average by dividing
the sum of the partisan indices by the number of districts. In this case, (0.91+0.46+0.40)/3
= 0.59. The median-mean value would then be 0.46-0.59 = -0.13. As in this example, in
Figure 5 I take the Democratic vote share of the median district minus the mean Democratic
vote share for all 17 districts in the HB2146 plan. Negative numbers indicate a districting
plan that favors Republicans and positive numbers indicate a slant in favor of Democrats.
        The median-mean test is essentially a test of skew, or in the context of redistricting
packing voters into legislative districts. If voters of one party are packed into few districts,
those districts will have very high vote shares for one party and will pull the value of the
mean district partisanship away from the district partisan index of the median district.19
This indicates that the party that is packed into the districts with overwhelming majorities
will have a harder time translating their votes into seats.20
  18
     See Best, Robin E., Shawn J. Donahue, Jonathan Krasno, Daniel B. Magleby, and Michael D. McDonald.
”Considering the prospects for establishing a packing gerrymandering standard.” Election Law Journal 17,
no. 1 (2018): 1-20. Warrington, Gregory S. ”A comparison of partisan-gerrymandering measures.” Election
Law Journal: Rules, Politics, and Policy 18, no. 3 (2019): 262-281. Wang, Samuel S-H. ”Three tests for
practical evaluation of partisan gerrymandering.” Stan. L. Rev. 68 (2016): 1263. McDonald, Michael D.,
and Robin E. Best. ”Unfair partisan gerrymanders in politics and law: A diagnostic applied to six cases.”
Election Law Journal 14, no. 4 (2015): 312-330.
  19
     A helpful analogy is to imagine a representative group of 100 Americans gathered at a restaurant.
The median and mean incomes of the 100 customers are likely quite similar. If Bill Gates walks into the
restaurant, the median income of the now 101 patrons will not shift by much at all, but the mean income
will jump significantly, possibly by several million dollars.
  20
     McDonald, Michael D., and Robin E. Best. ”Unfair partisan gerrymanders in politics and law: A
diagnostic applied to six cases.” Election Law Journal 14, no. 4 (2015): 312-330.


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        One drawback of the median-mean test is that it does not account for the natural
clustering of voters that occurs in Pennsylvania and other states. This can be remedied
by also computing the median-mean difference for the simulated districting plans that also
consider for the geographic distribution of voters in the state. This allows us to make an
apples-to-apples comparison that holds the political geography of the state constant. Figure 5
displays the results of the median-mean measure for the simulations (in grey) and the HB2146
plan (solid black line). The fact that the distribution of results from the simulations is mostly
less than zero shows that the geography of Pennsylvania leads to a natural advantage for
Republicans due to the dense clustering of Democratic voters in Philadelphia and Pittsburgh
even when districts are drawn using strictly non-partisan criteria.
        The solid black line shows the results of the HB2146 plan. There are two major points
to take away from the results. First, without comparing to the simulations, the HB2146 plan
is very nearly unbiased. The median-mean value for the HB2146 plan is -0.015, which is very
close to zero.21 In other words, the median district and the mean district in the HB2146 plan
are different by less than two percentage points. Second, when comparing the HB2146 plan
to the simulations, the HB2146 plan is more favorable to Democratic voters than the vast
majority of the simulated districting plans. The HB2146 plan has a median-mean value that
is smaller (in absolute value) than 85 percent of the simulated plans. In other words, using
only the non-partisan criteria described above to draw the simulated districts, 85% of them
generate districts with a greater median-mean value, indicating a less efficient distribution
of Democratic voters than the HB2146 plan contains.


5.6     Efficiency Gap

        The efficiency gap is another common redistricting metric and is similar to the median-
mean measure in that it looks for the degree to which a party’s votes statewide are translated
  21
    For example, the congressional plan that was challenged in the League of Women Voters of Pennsylvania
case in 2017-2018 showed the congressional district plan had a median-mean difference of -0.059. The post-
LWV case 2020 congressional plan had a median-mean difference of tktk.



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                                       Figure 5: Median-Mean Measure of HB2146 plan and Simulations

                                                                       Median−Mean Test

                                                                             Proposal in 85th percentile
                           8000
Number of Simulated Maps




                           7000
                           6000
                           5000
                           4000
                           3000
                           2000
                           1000
                              0

                                    −0.08      −0.07     −0.06      −0.05      −0.04      −0.03      −0.02     −0.01       0.00


                                                               Median − Mean District Partisanship
                                                            grey=simulations, black=HB−2146 Proposal

                           Note: Values calculated by taking the Democratic partisan index of the median district minus the mean of
                           all 17 districts’ partisan indices. Negative numbers indicate a districting plan that favors Republicans and
                           positive numbers indicate a slant in favor of Democrats. The grey histogram shows the results for each of the
                           simulations. The black bar shows the results for the HB2146 plan. The proposal shows very little absolute
                           bias (it is very close to zero) and is more favorable to Democrats than 85% of the simulated districts.


                           into seats in each district.22 A description of this measure provided by the Brennen Center
                           for Justice summarizes it well: “[T]he efficiency gap counts the number of votes each party
                           wastes in an election to determine whether either party enjoyed a systematic advantage in
                           turning votes into seats. Any vote cast for a losing candidate is considered wasted, as are all
                           the votes cast for a winning candidate in excess of the number needed to win.”23 In other
                           words, the ideal strategy for a political to maximize the impact of their voters is to distribute
                             22
                                McGhee, Eric. ”Measuring efficiency in redistricting.” Election Law Journal: Rules, Politics, and Policy
                           16, no. 4 (2017): 417-442. Veomett, Ellen. ”Efficiency gap, voter turnout, and the efficiency principle.”
                           Election Law Journal: Rules, Politics, and Policy 17, no. 4 (2018): 249-263. Plener Cover, Benjamin.
                           ”Quantifying partisan gerrymandering: An evaluation of the efficiency gap proposal.” Stan. L. Rev. 70
                           (2018): 1131.
                             23
                                https://www.brennancenter.org/sites/default/files/legal-work/How_the_Efficiency_Gap_
                           Standard_Works.pdf


                                                                                29
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them as evenly as possible across districts so as to win by a narrow margin in the district
they win and lose by very large margins in the districts where they lose. Put another way,
‘win by a little, lose by a lot” is the ideal strategy for a party to maximize their impact of
their voters.24
        The Brennen Center provides a simple example of how the efficiency gap is calculated:

      To understand how the efficiency gap works, consider a hypothetical state with
      500 residents that is divided into five legislative districts, each with 100 voters. In
      the most recent election cycle, Democrats won Districts 1 and 2 by wide margins,
      while Republicans won Districts 3, 4, and 5 in closer races. Overall, Democratic
      candidates received 55 percent of the statewide vote but won just 40 percent of
      the legislative seats, while Republican candidates received 45 percent and won 60
      percent of the seats. The table below shows the election results for each district.25


                                District    D votes        R Votes   Result
                                1           75             25        D wins
                                2           60             40        D wins
                                3           43             57        R wins
                                4           48             52        R wins
                                5           49             51        R wins
                                Total:      275            225


        Once we have the election results, the first step is to consider the number of “wasted
votes” in each district. Because the Republican candidate in this example lost in District 1,
all 25 of the votes cast for that candidates are wasted. The Democratic candidate in District
1 won, but by 24 more votes than would be necessary (since all that is needed is 51 votes
to win). Thus, there are 24 wasted Democratic votes in this district. Taking the difference
indicates that there was a net of 1 Republican wasted vote in this district.
  24
     Of course, parties have other priorities and winning by a single vote might not be their ideal scenario in
reality.
  25
     https://www.brennancenter.org/sites/default/files/legal-work/How_the_Efficiency_Gap_
Standard_Works.pdf




                                                      30
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        The efficiency gap is then calculated as Efficiency Gap = (Total Democratic Wasted
Votes - Total Republican Wasted Votes) / Total Votes. In order to account for uneven
turnout across districts and elections, the efficiency gap formula can be re-expressed as the
following equation: Efficiency Gap = (Seat Margin – 50%) – 2(Vote Margin – 50%) where
the seat margin is the fraction of seats won by Democrats minus 0.50 and the vote margin
is the fraction of votes won by Democratic candidates statewide minus 0.50.26
        In this example and in Figure 5 I use the Democratic seat and vote margins which
means that negative efficiency gap numbers indicate a districting plan that favors Republican
voters and positive numbers indicate a plan that favors Democratic voters. As with the
median-mean test, the efficiency gap has the drawback of not accounting for the natural
clustering of Democratic voters in Pennsylvania and other states. However, as before I
remedy this by also computing the efficiency gap for the simulated districting plans that
also must account for the geographic distribution of voters in the state. This allows us to
make an apples-to-apples comparison that accounts for political geography. Figure 6 displays
the results of the efficiency-gap measure for the simulations (in grey) and the HB2146 plan
(solid black line). The distribution of results from the simulations show that the geography
of Pennsylvania leads to a naturally arising advantage for Republicans due to the dense
clustering of Democratic voters in Philadelphia and Pittsburgh.27
        The solid black line shows the results of the HB2146 plan. There are two major points
to take away from the results. First, the HB2146 plan is very nearly unbiased. The efficiency
gap for the HB2146 plan is -0.02, which is very close to zero.28 In other words, in the HB2146
plan Democratic votes are not much more likely than Republican votes to be “wasted” across
the districts. Second, when comparing the HB2146 plan to the simulations, the HB2146
  26
     See McGhee, Eric. ”Measuring efficiency in redistricting.” Election Law Journal: Rules, Politics, and
Policy 16, no. 4 (2017): 417-442.
  27
     Because the efficiency gap is a measure of seat shares, it will be a ‘chunky’ measure with values for
each seat won or lost in a plan, unlike the median-mean measure which is a more continuous measure that
changes based on small changes in the margin of victory in each district.
  28
     For example, the congressional plan that was challenged in the League of Women Voters of Pennsylvania
case in 2018 showed the congressional district plan had a pro-Republican efficiency gap of between -0.15 and
-0.20. The post-LWV 2020 congressional map had an efficiency gap of tktk.


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                 plan is more favorable to Democratic voters than the majority of the simulated districting
                 plans. The HB2146 plan has an efficiency gap that is smaller (in absolute value) than all
                 other outcomes in the simulated plans. While some of the simulated plans generate pro-
                 Democratic efficiency gaps, they are larger in absolute terms and would be more biased than
                 the HB2146 plan in favor of Democrats instead of the very slight lean towards Republicans
                 exhibited in the HB2146 plan. In other words, using only the non-partisan criteria described
                 above to draw the simulated districts, the HB2146 plan is in agreement with the least biased
                 outcome in the simulations.

                            Figure 6: Efficiency Gap Measure of HB2146 plan and Simulations

                                                                  Efficiency Gap


        20000                                                                    HB−2146 Proposal


        15000
Number of Maps




        10000


                 5000


                    0

                          −0.20   −0.18   −0.16   −0.14   −0.12    −0.10        −0.08   −0.06   −0.04   −0.02   0.00   0.02   0.04


                                                                Efficiency Gap
                                                  grey=simulations, black=HB−2146 Proposal

                 Note: Distribution of efficiency gap among simulations shown in grey and the HB2146 plan shown as the
                 solid black line. Negative values indicate plans that are have a Republican advantage and positive values
                 indicate plans that have a Democratic advantage. The HB2146 plan has a very small efficiency gap of -0.02
                 and is more favorable to Democratic voters than the majority of the non-partisan simulations, which have
                 larger (more negative) efficiency gap values.




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5.7     Expected Seats from Uniform Swing

        Another measure of redistricting considers how a plan performs, on average, under a
variety of different electoral environments. While the partisan index does this to a degree
by averaging across a number of elections and years, I present another measure here where I
report the results of applying a randomly chosen uniform swing to the election results in the
HB2146 plan and the simulations. A uniform swing is simply a way of asking what would
the election results in the districts look like if a certain percentage were added uniformly to
each district in the plan.29 In other words, a uniform swing of 1.3 points in the Democratic
direction would simply add 0.013 to the partisan index of each district while a uniform swing
of 2.5 points in the Republican direction would simply subtract 0.025 from the partisan index
of each district. Of course, a swing of 1 points is more likely than a swing of 5 or 6 points
as large wave elections are more rare than elections that perform closer to the average
performance of each party. To account for this, I randomly apply 10,000 uniform swings
to the simulations and the partisan index of the HB2146 plan and calculate the average of
the number of seats that are held by Democrats in the HB2146 plan and each of the 50,000
simulations. The value of the uniform swing is chosen from a normal distribution that is
centered at zero with a standard deviation of 3 percentage points.30 Thus, small swings
are more likely than large swings, but large swings of 3, 4, 5, and even 6 percentage points
are possible, just as we occasionally observe large electoral waves in national politics. This
gives us an idea of how a plan performs, on average, under a variety of potential electoral
environments.
        The result of this process is a measure of the expected number of Democratic seats
that a plan will produce under a variety of different electoral conditions — some good for
  29
     See Jackman, Simon. ”The predictive power of uniform swing.” PS: Political Science & Politics 47, no.
2 (2014): 317-321 for a discussion of the concept of a uniform swing in elections. See Expert Report of Dr.
Wesley Pegden in Harper v. Hall, Wake County North Carolina, No. 21 CVS 500085 for another example
of using a uniform swing to calculate expected seat shares in redistricting.
  30
     3 percentage points is approximately the standard deviation of all of the statewide election results used
in creating the 2012-2020 partisan index.




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                 one party, some good for the other party, and some that are about average for both parties.
                 Figure 7 shows the results of this process. The grey distribution shows the expected number
                 of Democratic seats after applying the 5,000 draws from the uniform swing to the 50,000
                 simulations. Some of the simulated plans are very favorable to Republicans (with expected
                 Democratic seat shares near 5) while other plans are very favorable to Democrats (with
                 expected seat shares of 12 Democratic seats). The HB2146 plan, however, is nearly exactly
                 in the middle of this distribution. The proposal generates an expected seats of 8.10 and is in
                 the 44th percentile of the distribution of the simulated results. In other words, 44 percent
                 of the simulations are worse for Democrats and 55 percent the simulations are better for
                 Democrats compared to the HB2146 plan. The plan is positioned nearly in the middle of
                 the non-partisan simulations on this measure.


                       Figure 7: Expected Seats from Uniform Swing of HB2146 plan and Simulations

                                                        Expected Democratic Seats Generated by 5,000
                                                             Draws from Uniform Election Swing

                 500
                                                                                       Proposal in 44th percentile
                 400
Number of Maps




                 300


                 200


                 100


                   0

                          3.5   4.0   4.5   5.0   5.5    6.0   6.5   7.0   7.5   8.0    8.5    9.0   9.5   10.0   10.5   11.0   11.5   12.0   12.5   13.0   13.5   14.0   14.5


                                                                        Expected Democratic Seats
                                                                 grey=simulations, black=HB−2146 Proposal

                 Note: Distribution of expected seats in the HB2146 plan (black line) and the simulations (grey distribution)
                 after applying 5,000 uniform swings to the partisan index. The value of each uniform swing is chosen from
                 a normal distribution that is centered at zero with a standard deviation of 3 percentage points.




                                                                                          34
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5.8    Considerations of Race

       Table 3 shows the non-Hispanic Black voting age population percent of each district
and the non-White voting age population percent of each district in the HB2146 plan. The
districts are ordered from lowest to highest percentage in each category. The HB2146 plan
contains one district (District 3) in Philadelphia that is just shy of being majority Black with
a 49.82% non-Hispanic Black voting age population. Additionally, District 2 has a 59.60%
non-White voting age population. District 15 has a 32.5% non-White voting age population.

             Table 2:   District-by-District Racial Composition of HB2146 plan
       District rank    District Number NHBVAP District Number Non-White
       17               12                  2.1%       14                7.2%
       16               9                   2.3%       12                9.0%
       15               14                  2.4%       16                10.8%
       14               11                  3.3%       9                 11.6%
       13               1                   3.8%       17                12.2%
       12               17                  3.9%       13                13.8%
       11               16                  3.9%       1                 18.1%
       10               13                  4.9%       11                18.1%
       9                7                   5.2%       8                 18.3%
       8                6                   5.3%       10                20.0%
       7                8                   5.4%       4                 25.6%
       6                10                  6.8%       6                 26.4%
       5                4                   9.6%       7                 27.5%
       4                15                  17.5%      15                28.3%
       3                5                   19.2%      5                 32.8%
       2                2                   21.9%      2                 57.1%
       1                3                   52.2%      3                 68.6%


       One potential criticism that some may raise of the simulations is that they do not
take into account racial data when drawing district boundaries, and that once this constraint
is imposed it may shift the partisan composition of the remaining districts in a way that the
distribution of simulations may look different when racial factors are explicitly considered.
This criticism, however, is unwarranted, as the explicit consideration of race, if anything,
actually brings the distribution of simulations more in line with the HB2146 plan.
       Figure 8 below shows this. The left panel of Figure 8 is the same as Figure 3 in

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the earlier section of this report and shows the partisan distribution of the simulations and
the location of the HB2146 plan. The middle panel of the figure subsets the race-blind
simulations to the 1,842 plans that, while race was not explicitly considered, nevertheless
contain both a majority-black district as well as an additional majority-minority district.31
Comparing the two panels shows that the distributions are extremely similar. The probability
of a 9-D map, which is what the HB2146 plan generates, is nearly identical across the two sets
of simulations (35.1% in the race-blind simulations, 32.1% in the race-filtered simulations).
        The right panel in Figure 8 is the distribution of Democratic-leaning seats derived
from a separate set of simulations that explicitly consider race. In this race-conscious set
of simulations I instruct the model to ensure that every plan contains three districts that
have at least a 35% non-white voting age population. These districts are often referred to
as minority oppfortunity districts. I choose to instruct the model to generate three of these
districts as it is similar to the number of minority opportunity districts generated by the
HB2146 plan and the plans put forward recently by Governor Wolf. Other than the use of
racial data to inform the construction of minority opportunity districts, the other parameters
and data used in the two sets of simulations are identical in every other way. The right panel
of Figure 8 shows that the results of the race-conscious simulations is a general reduction in
the variation in the number of Democratic-leaning seats generated by the simulations. The
probability of a 7-D or 8-D map has decreased substantially while there are no simulations
that generate a 6-D map and only 1.4% of the simulations generate a 10-D map. A map
with 9 Democratic-leaning districts is now the most common outcome with 70.6% of the
simulations generating this result.




  31
    While a reduction from 50,000 to 1,842 simulated plans is substantial, 1,842 is still a large number of
plans to compare against and is larger than many simulations presented in other expert reports in recent
redistricting litigation and is still large enough to provide a sufficient sample of maps to compare to.


                                                    36
                                                                               Figure 8: Seats Carried by Democrats in Race-Blind and Race-Conscious Simulations
                                         Comparison to 50,000 simulated PA congressional plans:                                          Comparison to simulated PA congressional plans                                                 Comparison to 5,000 simulated PA congressional plans:
                                  (drawn with population equality, compactness, and minimal county splits)                          containing at least 1 maj−BVAP and 2 maj−minority districts                                   (drawn with instructions to generate 3 minority opportunity districts)
                                                                      HB−2146 Proposal
                                                                                                                              800                                                                                               4000
                             20
                                                                                                                                                                                       HB−2146 Proposal                                                                           70.6%
                                                                                                                                                                      38%
                             18                                        34.9%                                                                                                                                                    3500
                                                                                                                                                                                 35.1%
                                                                                     32.1%
                             16
                                                                                                                              600                                                                                               3000

                             14
                                                                                                                                                                                                                                2500
                             12

                                                                                                                              400                                                                                               2000
                             10                           19%

                                                                                                                                                           17.9%




                                                                                                             Number of Maps
                                                                                                                                                                                                               Number of Maps




                             8                                                                                                                                                                                                  1500
                                                                                                13.7%




                             37
Number of Maps (in 1,000s)
                                                                                                                                                                                                                                                                       20.5%
                             6
                                                                                                                              200                                                                                               1000
                                                                                                                                                                                                8.6%
                             4
                                                                                                                                                                                                                                                            7.5%
                                                                                                                                                                                                                                500
                             2                                                                                                                                                                                                                                                                  1.4%
                                                                                                                                             0.4%
                                              0.2%                                                                             0                                                                                                  0
                             0

                                                                                                                                    5         6              7         8           9             10       11                           5         6           7           8          9            10    11
                                    5          6           7             8               9       10     11


                                                                Democratic Districts                                                                           Democratic Districts                                                                             Democratic Districts
                                                     grey=simulations, black=HB−2146 Proposal                                                       grey=simulations, black=HB−2146 Proposal                                                         grey=simulations, black=HB−2146 Proposal


                                         Note: The left panel contains the results of the 50,000 simulations that do not consider race when districts are drawn. The middle panel considers the
                                         1,832 districts that, even though they were drawn without any racial data, nevertheless contain a majority Black district and an additional majority
                                         minority district. The right panel is the distribution from 5,000 simulations that are drawn with racial data and instructions to generate three districts
                                         with at least a 35% minority voting age population.
                                                                                                                                                                                                                                                                                                            Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 92 of 157
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6     Conclusion

       Based on the evidence and analysis presented above, my opinions regarding the
HB2146 plan for congressional districts in Pennsylvania can be summarized as follows:


    • The contemporary political geography of Pennsylvania is such that Democratic ma-
      jorities are geographically clustered in the largest cities of the state while Republican
      voters dominate the suburban and rural portions of the state.

    • This geographic clustering in cities puts the Democratic Party at a natural disadvantage
      when single-member districts are drawn. Specifically, districts drawn to be contiguous,
      compact, and contain minimal county and municipal splits will naturally create several
      districts in the Philadelphia and Pittsburgh areas that contain substantial Democratic
      majorities with many “wasted votes.”

    • Based on a comparison between the HB2146 plan, and a set of 50,000 simulated maps,
      the HB2146 plan is a fair plan with no evidence of partisan gerrymandering across a
      number of different measures used to assess the fairness of a map.

    • Based on an index of statewide elections from 2012-2020, the HB2146 plan generates
      nine Democratic-leaning districts and eight Republican-leaning districts.

    • Based on the same index of statewide elections from 2012-2020, six of the districts in
      the HB2146 plan will likely be competitive with candidates from both parties having
      a realistic possibility of winning the seats. Five of these competitive districts are
      extremely competitive, with a partisan index within two percentage points of an even
      50/50 split.

    • Compared to a second set of simulations that explicitly consider the creation of minor-
      ity opportunity districts, the HB2146 plan is similarly unbiased. The race-conscious
      simulations reduce the variation in Democratic-leaning districts substantially, mak-


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  ing nine Democratic-leaning districts the overwhelmingly most likely outcome in the
  simulations.

• Based on these commonly-used measures of redistricting fairness, the HB2146 plan is
  unbiased, and when compared to the simulations on these same metrics is balanced
  between occasionally having a slight Republican benefit and occasionally providing a
  slight benefit to Democratic voters.




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       I am being compensated for my time in preparing this report at an hourly rate of
$400/hour. My compensation is in no way contingent on the conclusions reached as a result
of my analysis.




       Michael Jay Barber




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7   Appendix A: Additional Statistics

            Table 3: District-by-District Compactness - Polsby-Popper
                 District rank District Number Polsby-Popper
                 17              6                0.20
                 16              2                0.23
                 15              3                0.24
                 14              14               0.24
                 13              17               0.24
                 12              4                0.25
                 11              5                0.26
                 10              13               0.29
                 9               15               0.29
                 8               9                0.30
                 7               8                0.35
                 6               7                0.37
                 5               1                0.40
                 4               12               0.42
                 3               10               0.45
                 2               16               0.49
                 1               11               0.50




                                       41
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Split Municipalities:

   • Philadelphia*

   • Stowe Township, Allegheny County

   • Centre Township, Berks County

   • Summit Township, Butler County

   • East Hanover Township, Butler County

   • Stonycreek Township, Cambria County

   • West Whiteland Township, Chester County

   • Pine Creek Township, Clinton County

   • Silver Spring Township, Cumberland County

   • Stroud Township, Dauphin County

   • Luzerne Borough, Luzerne County

   • Horsham Township, Montgomery County

   • Buffalo Township, Union County

   • Amwell Township, Washington County

   • Independence Township, Washington County

   • North Franklin Township, Washington County



*Population of the city is larger than a single congressional district and therefore will need
to be split between multiple districts.


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Split Counties:

   • Allegheny County*

   • Berks County

   • Butler County

   • Cambria County

   • Chester County

   • Clinton County

   • Cumberland County

   • Dauphin County

   • Luzerne County

   • Monroe County

   • Montgomery County*

   • Philadelphia County*

   • Snyder County

   • Union County

   • Washington County



*Population of the county is larger than a single congressional district and therefore will
need to be split between multiple districts.




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Number of Democratic-leaning Districts using Alternative Election Indices:

  • All 2012-2020 statewide elections: 9

  • All 2014-2020 statewide elections: 8

  • 2016-2020 index used by Dave’s Redistricting: 9

  • Index used by Planscore.com: 8




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Appendix B: Curriculum Vitae




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Michael Jay Barber
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Information        Department of Political Science                                      http://michaeljaybarber.com
                   724 KMBL                                                             Ph: (801) 422-7492
                   Provo, UT 84602



Academic           Brigham Young University, Provo, UT
Appointments
                       August 2020 - present Associate Professor, Department of Political Science
                       2014 - July 2020 Assistant Professor, Department of Political Science
                       2014 - present Faculty Scholar, Center for the Study of Elections and Democracy

Education          Princeton University Department of Politics, Princeton, NJ

                       Ph.D., Politics, July 2014
                           • Advisors: Brandice Canes-Wrone, Nolan McCarty, and Kosuke Imai
                           • Dissertation: “Buying Representation: the Incentives, Ideology, and Influence of
                             Campaign Contributions on American Politics”
                           • 2015 Carl Albert Award for Best Dissertation, Legislative Studies Section, American
                             Political Science Association (APSA)
                       M.A., Politics, December 2011

                   Brigham Young University, Provo, UT

                       B.A., International Relations - Political Economy Focus, April, 2008
                           • Cum Laude


Research           American politics, congressional polarization, political ideology, campaign finance, survey re-
Interests          search



Publications        19. “Ideological Disagreement and Pre-emption in Municipal Policymaking”
                        with Adam Dynes
                        Forthcoming at American Journal of Political Science
                    18. “Comparing Campaign Finance and Vote Based Measures of Ideology”
                        Forthcoming at Journal of Politics
                    17. “The Participatory and Partisan Impacts of Mandatory Vote-by-Mail”, with
                        John Holbein
                        Science Advances, 2020. Vol. 6, no. 35, DOI: 10.1126/sciadv.abc7685
                    16. “Issue Politicization and Interest Group Campaign Contribution Strategies”,
                        with Mandi Eatough
                        Journal of Politics, 2020. Vol. 82: No. 3, pp. 1008-1025
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        15. “Campaign Contributions and Donors’ Policy Agreement with Presidential
            Candidates”, with Brandice Canes-Wrone and Sharece Thrower
            Presidential Studies Quarterly, 2019, 49 (4) 770–797
        14. “Conservatism in the Era of Trump”, with Jeremy Pope
            Perspectives on Politics, 2019, 17 (3) 719–736
        13. “Legislative Constraints on Executive Unilateralism in Separation of Powers
            Systems”, with Alex Bolton and Sharece Thrower
            Legislative Studies Quarterly, 2019, 44 (3) 515–548
            Awarded the Jewell-Loewenberg Award for best article in the area of subnational politics
            published in Legislative Studies Quarterly in 2019
        12. “Electoral Competitiveness and Legislative Productivity”, with Soren Schmidt
            American Politics Research, 2019, 47 (4) 683–708
        11. “Does Party Trump Ideology? Disentangling Party and Ideology in America”,
            with Jeremy Pope
            American Political Science Review, 2019, 113 (1) 38–54
        10. “The Evolution of National Constitutions”, with Scott Abramson
            Quarterly Journal of Political Science, 2019, 14 (1) 89–114
         9. “Who is Ideological? Measuring Ideological Responses to Policy Questions in
            the American Public”, with Jeremy Pope
            The Forum: A Journal of Applied Research in Contemporary Politics, 2018, 16 (1) 97–122
         8. “Status Quo Bias in Ballot Wording”, with David Gordon, Ryan Hill, and Joe Price
            The Journal of Experimental Political Science, 2017, 4 (2) 151–160.
         7. “Ideologically Sophisticated Donors: Which Candidates Do Individual Con-
            tributors Finance?”, with Brandice Canes-Wrone and Sharece Thrower
            American Journal of Political Science, 2017, 61 (2) 271–288.
         6. “Gender Inequalities in Campaign Finance: A Regression Discontinuity De-
            sign”, with Daniel Butler and Jessica Preece
            Quarterly Journal of Political Science, 2016, Vol. 11, No. 2: 219–248.
         5. “Representing the Preferences of Donors, Partisans, and Voters in the U.S.
            Senate”
            Public Opinion Quarterly, 2016, 80: 225–249.
         4. “Donation Motivations: Testing Theories of Access and Ideology”
            Political Research Quarterly, 2016, 69 (1) 148–160.
         3. “Ideological Donors, Contribution Limits, and the Polarization of State Leg-
            islatures”
            Journal of Politics, 2016, 78 (1) 296–310.
         2. “Online Polls and Registration Based Sampling: A New Method for Pre-
            Election Polling” with Quin Monson, Kelly Patterson and Chris Mann.
            Political Analysis 2014, 22 (3) 321–335.
         1. “Causes and Consequences of Political Polarization” In Negotiating Agreement
            in Politics. Jane Mansbridge and Cathie Jo Martin, eds., Washington, DC: American
            Political Science Association: 19–53. with Nolan McCarty. 2013.


              • Reprinted in Solutions to Political Polarization in America, Cambridge University
                Press. Nate Persily, eds. 2015
              • Reprinted in Political Negotiation: A Handbook, Brookings Institution Press. Jane
                Mansbridge and Cathie Jo Martin, eds. 2015




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Available         “Misclassification and Bias in Predictions of Individual Ethnicity from Adminis-
Working Papers    trative Records” (Revise and Resubmit at American Political Science Review )

                  “Taking Cues When You Don’t Care: Issue Importance and Partisan Cue Taking”
                  with Jeremy Pope (Revise and Resubmit)

                  “A Revolution of Rights in American Founding Documents”
                  with Scott Abramson and Jeremy Pope (Conditionally Accepted)

                  “410 Million Voting Records Show the Distribution of Turnout in America Today”
                  with John Holbein (Revise and Resubmit)

                  “Partisanship and Trolleyology”
                  with Ryan Davis (Under Review)

                  “Who’s the Partisan: Are Issues or Groups More Important to Partisanship?”
                  with Jeremy Pope (Revise and Resubmit)

                  “Race and Realignment in American Politics”
                  with Jeremy Pope (Revise and Resubmit)

                  “The Policy Preferences of Donors and Voters”

                  “Estimating Neighborhood Effects on Turnout from Geocoded Voter Registration
                  Records.”
                  with Kosuke Imai

                  “Super PAC Contributions in Congressional Elections”



Works in          “Collaborative Study of Democracy and Politics”
Progress          with Brandice Canes-Wrone, Gregory Huber, and Joshua Clinton

                  “Preferences for Representational Styles in the American Public”
                  with Ryan Davis and Adam Dynes

                  “Representation and Issue Congruence in Congress”
                  with Taylor Petersen

                  “Education, Income, and the Vote for Trump”
                  with Edie Ellison



Invited           “Are Mormons Breaking Up with Republicanism? The Unique Political Behavior of Mormons
Presentations     in the 2016 Presidential Election”
                      • Ivy League LDS Student Association Conference - Princeton University, November 2018,
                        Princeton, NJ

                  “Issue Politicization and Access-Oriented Giving: A Theory of PAC Contribution Behavior”
                      • Vanderbilt University, May 2017, Nashville, TN




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                “Lost in Issue Space? Measuring Levels of Ideology in the American Public”
                    • Yale University, April 2016, New Haven, CT

                “The Incentives, Ideology, and Influence of Campaign Donors in American Politics”
                    • University of Oklahoma, April 2016, Norman, OK

                “Lost in Issue Space? Measuring Levels of Ideology in the American Public”
                    • University of Wisconsin - Madison, February 2016, Madison, WI

                “Polarization and Campaign Contributors: Motivations, Ideology, and Policy”
                    • Hewlett Foundation Conference on Lobbying and Campaign Finance, October 2014, Palo
                      Alto, CA

                “Ideological Donors, Contribution Limits, and the Polarization of State Legislatures”
                    • Bipartisan Policy Center Meeting on Party Polarization and Campaign Finance, Septem-
                      ber 2014, Washington, DC

                “Representing the Preferences of Donors, Partisans, and Voters in the U.S. Senate”
                    • Yale Center for the Study of American Politics Conference, May 2014, New Haven, CT



Conference      Washington D.C. Political Economy Conference (PECO):
Presentations
                    • 2017 discussant

                American Political Science Association (APSA) Annual Meeting:
                    • 2014 participant and discussant, 2015 participant, 2016 participant, 2017 participant,
                      2018 participant

                Midwest Political Science Association (MPSA) Annual Meeting:
                    • 2015 participant and discussant, 2016 participant and discussant, 2018 participant

                Southern Political Science Association (SPSA) Annual Meeting:
                    • 2015 participant and discussant, 2016 participant and discussant, 2017 participant



Teaching        Poli 315: Congress and the Legislative Process
Experience
                    • Fall 2014, Winter 2015, Fall 2015, Winter 2016, Summer 2017

                Poli 328: Quantitative Analysis
                    • Winter 2017, Fall 2017, Fall 2019, Winter 2020, Fall 2020, Winter 2021

                Poli 410: Undergraduate Research Seminar in American Politics
                    • Fall 2014, Winter 2015, Fall 2015, Winter 2016, Summer 2017




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Awards and         2019 BYU Mentored Environment Grant (MEG), American Ideology Project, $30,000
Grants
                   2017 BYU Political Science Teacher of the Year Award

                   2017 BYU Mentored Environment Grant (MEG), Funding American Democracy Project, $20,000

                   2016 BYU Political Science Department, Political Ideology and President Trump (with Jeremy
                   Pope), $7,500

                   2016 BYU Office of Research and Creative Activities (ORCA) Student Mentored Grant x 3
                       • Hayden Galloway, Jennica Peterson, Rebecca Shuel

                   2015 BYU Office of Research and Creative Activities (ORCA) Student Mentored Grant x 3
                       • Michael-Sean Covey, Hayden Galloway, Sean Stephenson

                   2015 BYU Student Experiential Learning Grant, American Founding Comparative Constitu-
                   tions Project (with Jeremy Pope), $9,000

                   2015 BYU Social Science College Research Grant, $5,000

                   2014 BYU Political Science Department, 2014 Washington DC Mayoral Pre-Election Poll (with
                   Quin Monson and Kelly Patterson), $3,000

                   2014 BYU Social Science College Award, 2014 Washington DC Mayoral Pre-Election Poll (with
                   Quin Monson and Kelly Patterson), $3,000

                   2014 BYU Center for the Study of Elections and Democracy, 2014 Washington DC Mayoral
                   Pre-Election Poll (with Quin Monson and Kelly Patterson), $2,000

                   2012 Princeton Center for the Study of Democratic Politics Dissertation Improvement Grant,
                   $5,000

                   2011 Princeton Mamdouha S. Bobst Center for Peace and Justice Dissertation Research Grant,
                   $5,000

                   2011 Princeton Political Economy Research Grant, $1,500

Other Scholarly Expert Witness in Nancy Carola Jacobson, et al., Plaintiffs, vs. Laurel M. Lee, et al., De-
Activities      fendants. Case No. 4:18-cv-00262 MW-CAS (U.S. District Court for the Northern District of
                Florida)

                   Expert Witness in Common Cause, et al., Plaintiffs, vs. LEWIS, et al., Defendants. Case No.
                   18-CVS-14001 (Wake County, North Carolina)

                   Expert Witness in Kelvin Jones, et al., Plaintiffs, v. Ron DeSantis, et al., Defendants, Consol-
                   idated Case No. 4:19-cv-300 (U.S. District Court for the Northern District of Florida)

                   Expert Witness in Community Success Initiative, et al., Plaintiffs, v. Timothy K. Moore, et
                   al., Defendants, Case No. 19-cv-15941 (Wake County, North Carolina)

                   Expert Witness in Richard Rose et al., Plaintiffs, v. Brad Raffensperger, Defendant, Civil
                   Action No. 1:20-cv-02921-SDG (U.S. District Court for the Northern District of Georgia)



                                                                  5
        Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 106 of 157



               Georgia Coalition for the People’s Agenda, Inc., et. al., Plaintiffs, v. Brad Raffensberger,
               Defendant. Civil Action No. 1:18-cv-04727-ELR (U.S. District Court for the Northern District
               of Georgia)

               Expert Witness in Alabama, et al., Plaintiffs, v. United States Department of Commerce;
               Gina Raimondo, et al., Defendants. Case No. CASE No. 3:21-cv-00211-RAH-ECM-KCN (U.S.
               District Court for the Middle District of Alabama Eastern Division)

               Expert Witness in League of Women Voters of Ohio, et al., Relators, v. Ohio Redistricting
               Commission, et al., Respondents. Case No. 2021-1193 (Supreme Court of Ohio)

               Expert Witness in Regina Adams, et al., Relators, v. Governor Mike DeWine, et al., Respon-
               dents. Case No. 2021-1428 (Supreme Court of Ohio)

               Expert Witness in Rebecca Harper, et al., Plaintiffs, v. Representative Destin Hall, et al.,
               Defendants (Consolidated Case). Case No. 21 CVS 500085 (Wake County, North Carolina)


Additional     EITM 2012 at Princeton University - Participant and Graduate Student Coordinator
Training

Computer       Statistical Programs: R, Stata, SPSS, parallel computing
Skills




                                                                                  Updated January 7, 2022




                                                            6
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    EXHIBIT I
   Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 108 of 157




      IN THE COMMONWEALTH COURT OF PENNSYLVANIA

                              No. 464 M.D. 2021

Carol Ann Carter; Monica Parrilla; Rebecca Poyourow; William Tung; Roseanne
    Milazzo; Burt Siegel; Susan Cassanelli; Lee Cassanelli; Lynn Wachman;
   Michael Guttman; Maya Fonkeu; Brady Hill; Mary Ellen Balchunis; Tom
                DeWall; Stephanie McNulty; and Janet Temin,

                                  Petitioners,

                                       VS.


 Leigh Chapman, in Her Capacity as Acting Secretary of the Commonwealth of
 Pennsylv ania; and Jessica Mathis, in Her Capacity as Director of the Bureau of
                         Election Services and Notaries,

                                 Respondents.


                              No. 465 M.D. 2021

  Philip T. Gressman; Ron Y. Donagi; Kristopher R. Tupp; Pamela A. Gorkin;
  David P. Marsh; James L. Rosenberger; Amy Myers; Eugene Boman; Gary
          Gordon; Liz McMahon; Timothy G. Feeman; and Garth Isaak

                                  Petitioners,

                                       VS


 Leigh Chapman, in Her Capacity as Acting Secretary of the Commonwealth of
 Pennsylvanra; and Jessica Mathis, in Her Capacity as Director of the Bureau of
                        Election Services and Notaries,

                                 Respondents.
       Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 109 of 157




                             AFFIDA VIT OF BILL SCHAL LER

        I, Bill Schaller, depose and state the following:

        1.          I am over eighteen years of   age and   I have personal knowledge of the

matters set forth herein.

        2.          I am employed as Director of Republican Reapportionment

Deparlment for the Republican Caucus of the Pennsylvania House               of

Representatives, and have been employed by the Pennsylvania House                 of

Representatives for 26.5 Years.

        3.          As part of my responsibilities, I am familiar with the congressional

redistricting plan passed by the Pennsylvania House of Representatives, House Bill

2146, in the 2021-2022 Session thereof.

        4.          A true, accurate, and complete rendering of the plan is attached hereto

as   Exhibit   1.


        5.          Our office received from the Legislative Data Processing Center (the

..LDpC") of the Pennsylvania General Assembly a report that analyzes House Bill

2146.This report was prepared in the ordinary course of business by a person with

knowledge, and it is reliable. A true, accurate, and complete copy of the LDPC

report is attached hereto as Exhibit 2.

        6.          A staff member under my direct supervision used our Autobound

Edge GIS software to produce a repott of the compactness of the House                  Bill2146
          Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 110 of 157




congressional plan. This report was prepared in the ordinary course of business by

a person         with knowledge, and it is reliable. A true, accurate, and complete copy of

this report is attached hereto as Exhibit 3.

             7.        A staff member under my direct supervision used our Autobound

Edge GIS software to produce a report of the precinct split population breakdowns

by district in the House Blll2146 plan. This report was prepared in the ordinary

course of business by a person with knowledge, and it is reliable. A true, accurate,

and complete copy of this report is attached hereto as Exhibit 4

             I   hereby verify that the foregoing is true and correct to the best    of my

knowledge, information, and             belief. This verification is made subject to     the

penalties of 18 Pa.C.S. $ 4904, relating to unsworn falsification to authorities.




             January 24,2022
             Harrisburg, PA                          Bill Schaller
r   22042.000003 488 9-993 0-6763
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                  Exhibit 1
                                                       Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 112 of 157
                                                                                              Preliminary Congressional Plan Amendment
                                                                                                          Based on Holt Map




              Erie




                                                Warren                         McKean                                                                                                                              Susquehanna
                                                                                                                                                  Tioga                               Bradford
                                                                                                                  Potter
           Crawford                                                                                                                                                                                                              V
                                                                                                                                                                                                                                 U
                                                                                                                                                                                                                                 8
                                                                                                                                                                                                                                               Wayne

                 V
                 U
                 16                                  Forest                                                                                             V
                                                                                                                                                        U
                                                                                                                                                        9                                                    Wyoming
                            Venango                                           Elk                Cameron                                                                              Sullivan                                Lackawanna
                                                                                                                                                            Lycoming                                                                                         Pike
    Mercer
                                                                                                                               Clinton
                                          Clarion               U
                                                                V
                                                                12                                                                                                                                            Luzerne
                                                              Jefferson
                                                                                                                                                                                            Columbia                                          Monroe
Lawrence                                                                            Clearfield                                                                                   Montour
                                                                                                                                                               Union
                      Butler                                                                                          Centre                                                                                                Carbon

                                        Armstrong                                                                                                              Snyder        Northumberland                                               Northampton
Beaver                                                                                                                                                                                               Schuylkill                           U
                                                                                                                                                                                                                                          V
                                                                                                                                                                                                                                          7
                                                         Indiana                                                                Mifflin                                                                                          Lehigh
                                                                                                                                             Juniata
         U
         V
         17
                                                                          Cambria           Blair
                Allegheny
                                                                                                                                                       Perry                                                      Berks
                                                                                                                                                                         Dauphin
                       U
                       V
                       15
                                                                                                       Huntingdon                                                                          Lebanon                                                      V
                                                                                                                                                                                                                                                        U
                                                                                                                                                                                                                                                        1
                                      Westmoreland                                                                                      V
                                                                                                                                        U                                                                                                                   Bucks
                                                                                                                                        13                                                                              U
                                                                                                                                                                                                                        V
                                                                                                                                                                                                                        6
                                                                                                                                                                                                                                          Montgomery
  Washington                                                                                                                                  Cumberland
                                                    V
                                                    U
                                                    14                                                                                                                                           V
                                                                                                                                                                                                 U
                                                                                                                                                                                                 11                                            U
                                                                                                                                                                                                                                               V
                                                                                                                                                                                                                                               4
                                                                                                                                                                                                                                                               V
                                                                                                                                                                                                                                                               U
                                                                                                                                                                                                                                                               2
                                                          Somerset                                                                                                                               Lancaster                                      Philadelphia
                                                                                    Bedford                                                                                                                                 Chester
                                                                                                      Fulton           Franklin
                                                                                                                                                                                                                                                      V
                                                                                                                                                                                                                                                      U
                                                                                                                                                                                                                                                      3
                                Fayette                                                                                                                                 V
                                                                                                                                                                        U     York                                                         Delaware
      Greene                                                                                                                                           Adams                                                                          V
                                                                                                                                                                                                                                      U
                                                                                                                                                                        10
                                                                                                                                                                                                                                      5




                                                                                                 County                    District 4         District 9           District 14
                                                                                                 Municipalities            District 5         District 10          District 15




.
                                                                                                 District 1                District 6         District 11          District 16
                                                                                                 District 2                District 7         District 12          District 17
                                                                                                 District 3                District 8         District 13                                              0            25                50                            100 Miles
 NORTH           NORTH CATASAUQUA                                                                                                  PALMER GLENDON
WHITEHALL
                                             CATASAUQUA

                                                  HANOVER
                                                                                      Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 113 of 157
                                                                                                                                EASTON
                              WHITEHALL
                                                                                                                                            Preliminary Congressional Plan Amendment                                                                                                                               DISTRICT                   1
      SOUTH
     WHITEHALL
                                                                                           FREEMANSBURG

                                                                                      BETHLEHEM
                                                                                                                                                        Based on Holt Map
                                                                                                                                                 WILLIAMS


                                                                                                        Northampton
                                                                      FOUNTAIN HILL

                                     ALLENTOWN                                                              LOWER SAUCON                                RIEGELSVILLE
                                                          SALISBURY
  UPPER                                                                                           HELLERTOWN
 MACUNGIE
                                                                                                                                                       DURHAM


                                                                                                                                                                                                BRIDGETON

                                             Lehigh
          LOWER
         MACUNGIE

                           EMMAUS                           UPPER SAUCON

                                                                                                                 SPRINGFIELD                                            NOCKAMIXON


   MACUNGIE                                                             COOPERSBURG



                 UPPER MILFORD
                                                                                                                                                                                                      TINICUM
                                                                                                                                           HAYCOCK
                                                                                                    RICHLANDTOWN
                                  LOWER MILFORD

                                                                                                      RICHLAND

 HEREFORD

 Berks
                                                                                          QUAKERTOWN

                                                               MILFORD

                                                                                                                                                                BEDMINSTER

WASHINGTON                                                            TRUMBAUERSVILLE
                   EAST
   UPPER HANOVER GREENVILLE                                                                                                 EAST ROCKHILL

                         PENNSBURG                                                                                                                                                             PLUMSTEAD



                                                                                                                                                                                Bucks
DOUGLASS                          RED HILL
                                                                                      WEST ROCKHILL                 PERKASIE                                   DUBLIN
                                                                                                                                                                                                                                                SOLEBURY
                                                                                                                                                                                                                                                                   NEW
                                                                                                            SELLERSVILLE                                                                                                                                           HOPE
                                              MARLBOROUGH

                                                                                                                               SILVERDALE
                                                                      SALFORD
                                                                                                                                      HILLTOWN
                                     GREEN LANE
  NEW HANOVER
                                                                                                      TELFORD
                                                                                                                                                              NEW BRITAIN
                                                                                                                                                                                                                          BUCKINGHAM
                                                                                                      SOUDERTON
                        UPPER
                                                                                      FRANCONIA
                      FREDERICK
                                                  UPPER SALFORD                                                                                                                                                                                                               UPPER
                                                                                                                                                                                                                                                                             MAKEFIELD
                                                                                                                                                            CHALFONT
                                                                                                                                                                                         DOYLESTOWN
                                    LOWER
                                  FREDERICK
                                                                                                                               HATFIELD                                                                                                         WRIGHTSTOWN


  LOWER                                                               LOWER SALFORD
                                     SCHWENKSVILLE
POTTSGROVE
                                                                                                                                                                                WARRINGTON                         WARWICK
                                                                                                  TOWAMENCIN            LANSDALE             MONTGOMERY                                                                                                            NEWTOWN
                                                                                                                                                                                                                                                                                                   LOWER      YARDLEY
             LIMERICK                                                                                                                                                                                                                                                                             MAKEFIELD
                                      PERKIOMEN

                                                             SKIPPACK                                       UPPER GWYNEDD
                                                                                                                                                                                                                       IVYLAND

                                                                                        Montgomery
                                                                                                                       NORTH WALES                                                                                                                                                                                         MORRISVILLE
                                                                                                                                                                                                        WARMINSTER                               NORTHAMPTON
                                                                                                                                                                               HORSHAM
                                      TRAPPE
                                                                                      WORCESTER                                                                                                                                                                                      MIDDLETOWN

      ROYERSFORD                                                                                                                          LOWER GWYNEDD
                                       COLLEGEVILLE
  EAST                                                                                                                                                                                                 HATBORO                       UPPER                                   LANGHORNE
VINCENT SPRING CITY              UPPER                                                                                                                                                                                            SOUTHAMPTON
                               PROVIDENCE                                                                                                                                                                                                                                      LANGHORNE                                    FALLS
                                                                                                                                                                                                                                                                                 MANOR
                                                                                                                           WHITPAIN
                                                                                                                                                     AMBLER                                                                                         LOWER
                                                                                                                                                                                                       UPPER                                                                      PENNDEL
                                                         LOWER                                 EAST NORRITON                                                                                                                                     SOUTHAMPTON
                                                                                                                                                                                                      MORELAND
    EAST                                               PROVIDENCE                                                                                                      UPPER DUBLIN                                                                                                HULMEVILLE
                                                                                                                                                                                                                    BRYN ATHYN                                                                                      TULLYTOWN
  PIKELAND
                                                                                                                                                                                                                                  LOWER
              PHOENIXVILLE                                                 WEST NORRITON                                                                                                                                         MORELAND
                                                                                               NORRISTOWN
                                                                                                                                                                                                                                                                                                   BRISTOL
                                                                                                                  PLYMOUTH                                                                                                                                            BENSALEM
                                                                                                                                                                                                    ABINGTON
                                                                                                                                          WHITEMARSH
                           SCHUYLKILL                                                      BRIDGEPORT
                                                                                                                                                                                            JENKINTOWN
   CHARLESTOWN                                                                UPPER MERION

                                                                                                                                                                                      CHELTENHAM                ROCKLEDGE
                                                                                                                  CONSHOHOCKEN
                                                                                                          WEST

                        Chester
                                       TREDYFFRIN                                                     CONSHOHOCKEN

                                                                                                                                                                                                                        Philadelphia




 .
      EAST
    WHITELAND
                                                                                                                                                                                       County
                                                                                                                                                                                                               PHILADELPHIA
                    MALVERN
                                                                                      RADNOR                                                                                           Municipalities
                                                                                Delaware
                                                                                                                      LOWER MERION
                                                    EASTTOWN
                          WILLISTOWN                                                                                                                                                   District 1                                                              0                  3.75                 7.5                               15 Miles
EAST GOSHEN
                                                                                                                                  NARBERTH
                                                                                                       HAVERFORD
                                                                                                Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 114 of 157
                                                                                                                                                        UPPER
                                                                                                                                                       MORELAND                                    BRYN ATHYN
                                                                                                                                                                                                                                                      LOWER

                                                                                                                                                       Preliminary Congressional Plan Amendment                                                    SOUTHAMPTON
                                                                                                                                                                                                                                                                                  DISTRICT           2
WHITEMARSH                      UPPER DUBLIN                                                                                                                       Based on Holt Map
                                                                                                                                                                                                       LOWER
                                                                                                                                                                                                      MORELAND



                                                                                                                                                                                                                                     Ward 58



                                                                                                                                 ABINGTON
                                                                                 Montgomery
                                                                                                                                                                                                                                                                                    BENSALEM

                                                                                                                                                                                                                                                                                          Bucks
              SPRINGFIELD




                                                                                                       JENKINTOWN




                                                                                                                                                                                                                                                                  Ward 66


                                                                                                                                                                ROCKLEDGE                       Ward 63


                                                                                          CHELTENHAM


                                            Ward 50



                                                                                                                                                                                                                Ward 56
         Ward 9
                                                                                                                                                                                                                                     Ward 57
                                                                         Ward 10


                        Ward 22




                                                                                                                                                                            Ward 53
                                                                                                                                                                                                                           Ward 64
                                                                                                                Ward 61
                                     Ward 59                                                                                                                                                    Ward 54
                                                                                                                                                      Ward 35
                                                                                                                                                                                                                                               Ward 65
                                                                         Ward 17



                                                      Ward 12                             Ward 49

                                                                                                                                                                 Philadelphia
                                                                                                                                                                                                                 Ward 55

         Ward 21
                                                                                                                       Ward 42
                                                                                                                                                                                      Ward 62


                                                                                                                                                                 Ward 23                                                   Ward 41
                                                            Ward 13                                                                                                PHILADELPHIA



                      Ward 38
                                                                                     Ward 43
                                                                                                              Ward 7
                                                                                                                                            Ward 33


                                                          Ward 11
 Ward 52



                                Ward 28                                                                                                                                       Ward 45
                                                                                Ward 37
                                                                                             Ward 19
                                                      Ward 16



                               Ward 32
                                                                                                                                      Ward 25

                                                                        Ward 20
                                                                                                                       Ward 31
Ward 52                    Ward 29                    Ward 47

                                                                                                    Ward 18


                                          Ward 15
                                                                      Ward 14

           Ward 24
Ward 6



                                           Ward 8
                                                                                    Ward 5

          Ward 27




 .
                                Ward 30
                                                                                                                                                                                                    County
                                                                         Ward 2
                                                                                                                                                                                                    Municipalities
                     Ward 36

                                                                                                                                                                                                    District 2                                 0                 1.25       2.5                   5 Miles
          Ward 48                                                         Ward 1
                                                  Ward
                                           Ward 26 39
                                                                             Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 115 of 157                                                                                                                                                 JENKINTOWN

                 PLYMOUTH     Preliminary Congressional Plan Amendment                                                                                                    SPRINGFIELD
                                                                                                                                                                                                                                                                                                                            DISTRICT                          3
 UPPER
 MERION                                   Based on Holt Map                                                                                                                                                                                                                                                                       ABINGTON

                                                                                                                                                                                                                                                                                                                                                       ROCKLEDGE


                            CONSHOHOCKEN
                                                                        WHITEMARSH
                                                                                                                                                                                                                                                                                           CHELTENHAM
                                                                                                                                                                                                                            Ward 50
                                                                                                                                                                                                                                                                                                                                                            Ward 63
         WEST
                                                                                                                                                                   Ward 9
     CONSHOHOCKEN




                                                                                                                                                                                                                                                                                                                                                               Ward 56
                                                                                                                                                                                                                                                                Ward 10




                                                                                                                    Ward 21                                                                        Ward 22




                                                                                                                                                                                                                                                                                                                                                                Ward 53
                                                                                                                                                                                                                                                                                                              Ward 61
                                                                                                                                                                                                                         Ward 59
                                                                                                                                                                                                                                                                                                                                             Ward 35
                                                       LOWER MERION                                                                                                                                                                                             Ward 17




                                                                                                                                                                                                                                                                                     Ward 49
                                                                                                                                                                                                                                         Ward 12                                                                                                                     Ward
                                                                  Montgomery                                                                                                                                                                                                                                                                                          54



                                                                                                                                                                                                                                                                                                                                                                     Ward
                                                                                                                                                                                                                                                                                                                  Ward 42
                                                                                                                                                                                                                                                                                                                                                                      62




                                                                                                                                                                                                                                                                                                                                                           Ward 23
                                                                                                                                                                                                                                                   Ward 13
RADNOR




                                                                                                                                                                                                                                                                            Ward 43                                             Ward 33
                                                                                                                                                                                                                                                                                                        Ward 7
                                                                                                                                                                                                    Ward 38
                                                                                  NARBERTH



                                                                                                                                                                                                                                              Ward 11

                                                                                                                                                                                                                                   Philadelphia

                                                                                                                                                                                                                 Ward 28
                                                                                                                                                                                                                                         Ward 16                       Ward 37
                                                                                                                                                       Ward 52                                                                                                                        Ward 19
                                                                                                                                                                                                                                                                                                                                                Ward 45
                                                                                                                                                                                                                                      PHILADELPHIA


                                                                                                                                                                                                               Ward 32
                                                                                                                                                                                                                                                                                                                            Ward 25
                          HAVERFORD
                                                                                                                                                                                                                                                                Ward 20
                                                                                                 Ward 34                                                                                                                                                                                                         Ward 31
                                                                                                                                                                                                              Ward 29                     Ward 47                                      Ward 18




                                                                                                                         Ward 4
                                                                                                                                             Ward 44                                                                     Ward 15                             Ward 14
                                                                                                                                                                 Ward 6

                                                                                             MILLBOURNE                                                                                  Ward 24




                                                                                                                                  Ward 60
                                                                                                                                                                                                                              Ward 8
                                                                                                                                                                                                                                                                            Ward 5
                                             UPPER DARBY
                                                                                                           Ward 3
                                                                                                                                                                              Ward 27
                                                                                                                                            Ward 46




                                              Delaware                                  EAST
                                                                                     LANSDOWNE                                              Ward 51                                                            Ward 30
                                                                 LANSDOWNE


                                                                                                                                                                                                                                                                 Ward 2
                                                                                                                                                                                                    Ward 36




.
                                                                                                 YEADON
                                      CLIFTON
                                      HEIGHTS
                                                                                                                                                                                                                                                                Ward 1

                                                                                                                                                                                        Ward 48

                                                 ALDAN
                                                                                     DARBY

                                                                                                                                   Ward 40
                                                                                                                                                                                                                                                                                                                                                 County
                                                                                                                                                                                                                                                                                                                                                 Municipalities
                                                                                                                                                                                                                                                               Ward 39
                                                              COLLINGDALE
                                                                                                                                                                                             Ward 26
MORTON                                                                                           COLWYN                                                                                                                                                                                                                                          District 3
 0           RIDLEY   1                2                                       4 Miles
                                                                            SHARON HILL



RUTLEDGE                                   GLENOLDEN       FOLCROFT
                                                                                     UPPER MILFORD
ROCKLAND
                                                                                        Case 1:22-cv-00208-JPW
                                                                                                Lehigh         Document 49-6 Filed 02/27/22 Page 116 of 157                                                                             HAYCOCK                                                                    TINICUM

        Preliminary Congressional Plan Amendment             HEREFORD
                                                                                                             LOWER MILFORD
                                                                                                                                                                                         QUAKERTOWN
                                                                                                                                                                                                                                                                                                                          DISTRICT                        4
                      DISTRICT
                    Based on Holt Map                                                                                                                                                            RICHLAND
                                                                                                                                                    MILFORD
                                                                                                                                                                        TRUMBAUERSVILLE
                                                                                                      EAST                                                                                                                EAST ROCKHILL                                 BEDMINSTER
                                                                                                    GREENVILLE
                                                            BALLY
                                             WASHINGTON
            PIKE
                                                                                                           PENNSBURG                                                                                                                                                                                      PLUMSTEAD

                                 Berks                                                       UPPER HANOVER
                                                                                                                    RED
                                                                                                                                                                                                                                                                                                                                               SOLEBURY
                                                                                                                    HILL
                                                                                                                                                                                 WEST ROCKHILL                     PERKASIE                                         DUBLIN
                                  BECHTELSVILLE

                                                                                                                                                                                                          SELLERSVILLE
                                                                                                                                 MARLBOROUGH
     EARL             COLEBROOKDALE
                                                                                                                                                                                                                              SILVERDALE
                                                         DOUGLASS                                                                                             SALFORD
                                                                                                                                                                                                                                           HILLTOWN
                                                                                                                        GREEN LANE                                                                                                                                                     Bucks
                                 BOYERTOWN
                                                                                                                                                                                                   TELFORD

                                                                                                                                                                                                                                                                    NEW BRITAIN                                                        BUCKINGHAM

                                                                     NEW HANOVER
AMITY                                                                                                 UPPER                                                                                        SOUDERTON
                                                                                                    FREDERICK                                                                    FRANCONIA

                                                                                                                                        UPPER SALFORD
                                                                                                                                                                                                                                                                                            DOYLESTOWN
                                                                                                                                                                                                                                                                 CHALFONT
                                UPPER
                             POTTSGROVE                                                                             LOWER
                                                                                                                  FREDERICK
                                                                                                                                                                                                                               HATFIELD
                       WEST
                    POTTSGROVE
                                                                                                                        SCHWENKSVILLE                         LOWER SALFORD
                                                                                                                                                                                                                                                                                                                                                  WRIGHTSTOWN
                                                     LOWER
                          POTTSTOWN                POTTSGROVE
                                                                                                                                                                                                                                                                                       WARRINGTON                            WARWICK

UNION                                                                                                                                                                                          TOWAMENCIN                 LANSDALE
                                                                                                                                                                                                                                                    MONTGOMERY

                                                                                         LIMERICK                           PERKIOMEN                                   Montgomery
              NORTH
             COVENTRY                                                                                                                                                                                      UPPER GWYNEDD                                                                                                                         NORTHAMPTON
                                                                                                                                                   SKIPPACK                                                                 NORTH WALES
                                                                                                                                                                                                                                                                                                                                 IVYLAND
                                                                                                                                                                                                                                                                                                                    WARMINSTER
                                         EAST COVENTRY                                                                                                                                                                                                                                 HORSHAM
                                                                                                                        TRAPPE
                                                                                                                                                                                   WORCESTER
                                                                                   ROYERSFORD                                 COLLEGEVILLE                                                                                                 LOWER GWYNEDD

          SOUTH
         COVENTRY                                                             SPRING CITY                                                                                                                                                                                                                         HATBORO
                                                                                                                                                                                                                                                                                                                                                  UPPER
                                                                                                                                                                                                                                                                                                                                               SOUTHAMPTON
                                                                                                                UPPER
                                                   EAST VINCENT                                               PROVIDENCE
  EAST                                                                                                                                                                                                                      WHITPAIN
NANTMEAL                                                                                                                                                                                                                                                  AMBLER                                                 UPPER
                                                                                                                                                                                                                                                                                                                MORELAND
                                                                                                                                                 LOWER                                    EAST NORRITON                                                                      UPPER DUBLIN
                                                                                                                                               PROVIDENCE                                                                                                                                                                                              LOWER
                                                                                                                                                                                                                                                                                                                                                    SOUTHAMPTON
                                                                                                                                                                                                                                                                                                                                  BRYN ATHYN
                                                                                                                                                                        WEST NORRITON                                                                                                                                                              LOWER
                       WEST VINCENT                                                                                                                                                                                                                                                                                                               MORELAND
                                                                                            PHOENIXVILLE
                                                                     EAST PIKELAND
                                                                                                                                                                                           NORRISTOWN


                                                                                                                                                                                                                PLYMOUTH                                                                                      ABINGTON
                                                                                                                                                                                                                                             WHITEMARSH
                                                                                                           SCHUYLKILL                                                                     BRIDGEPORT
                                                                                                                                                                                                                                                                   SPRINGFIELD
                                                                                                                                                                                                                                                                                                     JENKINTOWN
                                   WEST PIKELAND                                                                                                                          UPPER MERION
                                                                         CHARLESTOWN
                                                                                                                                                                                                                                                                                                 CHELTENHAM              ROCKLEDGE
UPPER UWCHLAN
                                                                                                                                                                                                            CONSHOHOCKEN
                                                                                                                                                                                                     WEST
                                                                          Chester                                          TREDYFFRIN
                                                                                                                                                                                                 CONSHOHOCKEN



                   UWCHLAN                                                    EAST
                                                                            WHITELAND


                                                                                                                                                                                                                   LOWER MERION
                                                                                                MALVERN
                                                                                                                                        EASTTOWN                                RADNOR
                                        WEST                                                                                                                                                                                                                                         PHILADELPHIA
      EAST CALN                       WHITELAND


                                                                                                                                                                                                                                     NARBERTH                                            Philadelphia




.
DOWNINGTOWN
                                                                                                             WILLISTOWN
                                                                                EAST GOSHEN                                                           NEWTOWN
                                                                                                                                                                                                          HAVERFORD

                                                       WEST GOSHEN

                                                                                                                                                                          Delaware
                                                                                                                                                                                 MARPLE
                        EAST BRADFORD              WEST                                                                                                                                                                                   MILLBOURNE                                                                                       County
                                                  CHESTER                                                                                                                                                                UPPER DARBY
 WEST BRADFORD                                                                                                               EDGMONT
                                                                                                                                                                                                                              LANSDOWNE
                                                                                                                                                                                                                                                                                                                                           Municipalities
                                                                              WESTTOWN                                                                                                                                                EAST
 0                           3                     6                                             12 Miles                                                                                                                          LANSDOWNE                                                                                               District 4
                                                                                                                                                                                                                      CLIFTON
                                                                                                    THORNBURY                                                                                                         HEIGHTS              YEADON
                                                                                                                                         MIDDLETOWN
NEWLIN      POCOPSON                                                                                                                                                    MEDIA
                                             BIRMINGHAM                                                                                                                  NETHER PROVIDENCE                                ALDAN      DARBY
                                                                                                                                                                                                                    WORCESTER                                                                   LOWER GWYNEDD
              WARWICK                                         SOUTH
                                                             COVENTRY             Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 117 of 157
                                                                                                 EAST VINCENT
                                                                                                                                                                                                                                                                                                          AMBLER
                                                                                                                                                                                                                                                                                                                                                      UPPER
                                                                                                                                                                                                                                                                                                                                                     MORELAND

       Preliminary Congressional Plan Amendment                                                                                                                UPPER
                                                                                                                                                                                                                                          EAST NORRITON                       WHITPAIN                             DISTRICT                           5
                                                                                                                                                                                             LOWER                                                                                                                           UPPER DUBLIN
                   Based on Holt Map                                                                                 EAST PIKELAND
                                                                                                                                                             PROVIDENCE                    PROVIDENCE
                                                                                                                                                                                                                    WEST NORRITON
                          EAST NANTMEAL                                                                                               PHOENIXVILLE

                                                                      WEST VINCENT
                                                                                                                                                                                                                                         NORRISTOWN
                                                                                                                                                                                                                                                                                                                                                   ABINGTON
 WEST NANTMEAL                                                                                                                                                                                                                                                  PLYMOUTH


                                                                                                                                                                                                                                                            Montgomery
                                                                                                                                                                                                                                                                                             WHITEMARSH
                                                                                                                                                     SCHUYLKILL                                                                         BRIDGEPORT
                                                                                                                                                                                                                                                                                                                   SPRINGFIELD
                                                                                                                                                                                                                                                                                                                                                   JENKINTOWN
                                                                               WEST PIKELAND                                                                                                                         UPPER MERION
                                                                                                                      CHARLESTOWN
         WALLACE
                                          UPPER UWCHLAN                                                                                                                                                                                                                                                                                     CHELTENHAM
                                                                                                                                                                                                                                                               CONSHOHOCKEN

                                                                                                                                                                                                                                                      WEST
                                                                                                                                                                                                                                                  CONSHOHOCKEN
   WEST                                                                                                                                                              TREDYFFRIN
BRANDYWINE
                                                                                                                           EAST
                                                            UWCHLAN                                                      WHITELAND


                 EAST                                                                                                                                                                                                                                              LOWER MERION
              BRANDYWINE                                                                                                                     MALVERN
                                                                                                                                                                                    EASTTOWN                                 RADNOR
                                                                                       WEST
                                                      EAST CALN                      WHITELAND


                                          DOWNINGTOWN                                                                                                                                                                                                                              NARBERTH


                                                                                     Chester
                   CALN                                                                                                                                 WILLISTOWN

                                                                                                                              EAST GOSHEN                                                          NEWTOWN
                                                                                                                                                                                                                                                          HAVERFORD
                                                                                                                                                                                                                                                                                                                                 PHILADELPHIA


                                                                                                                                                                                                                                                                                                                   Philadelphia
         EAST                                                                                       WEST GOSHEN
     FALLOWFIELD

                             WEST BRADFORD                                                                                                                                                                                    MARPLE                                                      MILLBOURNE
                                                                                                WEST
                                                                                               CHESTER
                                                                                                                                                                                                                                                                  UPPER DARBY

                                                                                                                                                                                                                              Delaware
                                                                                                                                                                       EDGMONT                                                                                               LANSDOWNE
                                                                                                                                                                                                                                                                                     EAST
                                                                        EAST BRADFORD                                WESTTOWN                                                                                                                                                     LANSDOWNE

                                                                                                                                                                                                                                                                  CLIFTON                  YEADON
                                                                                                                                                                                                                                                                  HEIGHTS
                           NEWLIN
                                                                                                                                                                                                                                                                      ALDAN
                                                                                                                                                                                                                  MEDIA
                                                                                                                                            THORNBURY
                                                                                                                                                                                                                                                                           COLLINGDALE      COLWYN
                                                                                                                                                                                          MIDDLETOWN                                              MORTON
                                                              POCOPSON                                                                                                                                                              SWARTHMORE
                                                                                                                                                                                                                                                                              SHARON HILL
                                                                                                                                                                                                                                                 RUTLEDGE         GLENOLDEN
                                                                                                 BIRMINGHAM                                                                                                                                                                         DARBY
                                                                                                                                                                     CHESTER                                 ROSE VALLEY
                                                                                                                                                                     HEIGHTS                                                                     RIDLEY
                                                                                                                                                                                                                                                            PROSPECT PARK FOLCROFT
                                                                                                                                                                                                                            NETHER
                                  EAST                                                                                                                                                                                    PROVIDENCE                            NORWOOD
    WEST                                                                                                                                       CONCORD
                              MARLBOROUGH                                                                                                                                                                                                        RIDLEY
MARLBOROUGH                                                                           PENNSBURY                                                                                                                                                   PARK
                                                                                                                                                                                         ASTON       BROOKHAVEN
                                                                                                                CHADDS FORD
                                                                                                                                                                                                                     PARKSIDE                                                   TINICUM

                                                                                                                                                                                                                      UPLAND                EDDYSTONE

                                      KENNETT                                                                                                              BETHEL                   UPPER                                 CHESTER
                                      SQUARE                                                                                                                                      CHICHESTER
                                                          KENNETT



AVONDALE                                                                                                                                                                                LOWER           TRAINER
LONDON GROVE                                                                                                                                                                          CHICHESTER

             NEW GARDEN                                                                                                                                                                        MARCUS HOOK




FRANKLIN




  LONDON
  BRITAIN




.                                                                                                                                                                                                                                                                                                                                     County
                                                                                                                                                                                                                                                                                                                                      Municipalities

 0                    2.75                    5.5                                       11 Miles                                                                                                                                                                                                                                      District 5
                                                                                       NORTH MANHEIM                                                                                                                             LYNN                                       LOWHILL                                                                                           BETHLEHEM
PORTER
             TREMONT                                                                   Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 118 of 157
                                                                                                                         AUBURN
                                                                                                                                            WEST
                                                                                                                                          BRUNSWICK
                                                                                                                                                                                                   ALBANY
                                                                                                                                                                                                                                                                                                              SOUTH                  ALLENTOWN
                                                                                                                                                                                                                                                                                                                                                             FOUNTAIN HILL
                                                                                                                                                                                                                                                                                                                                                                               HELLERTOWN

                                                                                                                                                                                                                                                                                                                                                                  Northampton
                                                                                                                                                                                                                                                                                                             WHITEHALL
                                                                                                       SOUTH MANHEIM                      PORT CLINTON
                                                                                                                                           Preliminary Congressional Plan Amendment
                                                                                                                                                                          WINDSOR
                                                                                                                                                                                         LENHARTSVILLE
                                                                                                                                                                                                                                                        WEISENBERG
                                                                                                                                                                                                                                                                                 UPPER                                                                        DISTRICT   6
                                                    WASHINGTON                    WAYNE                                                                                                                                                                                                                                                                                LOWER SAUCON
                                                                                                                                                                                                                GREENWICH

                                                           Schuylkill
                                                                                                                                                       Based on Holt Map
                                                                                                                                                              HAMBURG
                                                                                                                                                                                                                                                                                MACUNGIE


                   PINE GROVE                                                                                                                   TILDEN
                                                                                                                                                                                                                                                                                                         LOWER
                                                                                                                                                                                                                                          MAXATAWNY
                                                                                                                                                                                                                                                                                                        MACUNGIE              EMMAUS                 UPPER SAUCON

                                                                                                                         UPPER BERN
                                                                                                                                                                                    PERRY
                                                                                                                                                                                                                           KUTZTOWN                                                                      MACUNGIE           Lehigh
                                                                                                                                                                                                                                                                                                                                                              COOPERSBURG       SPRINGFIELD
                                                                                                     UPPER                                                                                                                                                                              ALBURTIS
                                                                                                                                                                                                                                                         TOPTON
                                                                                                  TULPEHOCKEN                                              SHOEMAKERSVILLE
                                                                                                                                                                                                                                                               LONGSWAMP
                                                                                                                                                    CENTERPORT                                              RICHMOND                                                                                              UPPER MILFORD                                                           HAYCOCK
                                                                                                                                                                                                                                        LYONS
                                                     BETHEL                                                                                         CENTRE                                                                                                                                                                                                                         RICHLANDTOWN
                                                                                                                                                                                                                                                                                                                                 LOWER MILFORD
                                                                                                                                                                                         MAIDENCREEK
                                                                                                                                                                                                                                                                                                                                                                         Bucks
                                                                                                                                                                                                                 FLEETWOOD                                                                                                                                                            RICHLAND
                                                                                                                                                                                                                                           ROCKLAND                                         HEREFORD
                                                                                                    JEFFERSON                                                       LEESPORT
                                                                      TULPEHOCKEN                                                                                                                                                                                                                                                                                             QUAKERTOWN
                                                                                                                    BERNVILLE                                               ONTELAUNEE                                                                               DISTRICT
                                                                                                                                                                                                                                                                                                                     UPPER                              MILFORD
     SWATARA                                                                                                                                                                                                RUSCOMBMANOR                                                                                            HANOVER
 JONESTOWN                                                                                                                                                                                                                                                                                                                                                    TRUMBAUERSVILLE
                                                                                                                                                                                                                                                                                                                        EAST
                                                                                                                NORTH                                                                                                                                       PIKE                                                      GREENVILLE                                                   EAST ROCKHILL
                                                                                                                                                             BERN          MUHLENBERG                                                                                                           BALLY

                                                                                                                                                       Berks
                                                                                                              HEIDELBERG

                                      Lebanon
EAST HANOVER                                                                   MARION                                                                                                                                                                                                                                      PENNSBURG
                                                                                                                                                                                   LAURELDALE
                                                                                                                                                                                                       ALSACE                                                                                                                      RED HILL                            WEST ROCKHILL      PERKASIE
  NORTH         NORTH LEBANON                        MYERSTOWN                                                                                                                                                                                                              BECHTELSVILLE
                                                                                                                                                                                                                                  OLEY
 ANNVILLE                                                                                WOMELSDORF
                                                                                                                                        LOWER                                                                                                                                                                                                                                       SELLERSVILLE
                                                   JACKSON                                                                                                                     READING        LOWER                                                                                                                                       MARLBOROUGH
                                                                                                           ROBESONIA                  HEIDELBERG                                              ALSACE
          WEST LEBANON                                                                                                                                                                                                                                               COLEBROOKDALE         DOUGLASS
                    LEBANON                                                                                                                                          WEST READING                                                                                                                                                      GREEN LANE            SALFORD
 ANNVILLE
                                                                                 MILLCREEK                                 WERNERSVILLE                                                      MOUNT PENN ST.                                                                 BOYERTOWN
                                                                                                                                                 SINKING        WYOMISSING                                                                                                                                                                                                               HILLTOWN
                                                                                                                                                 SPRING                                              LAWRENCE                                                                                                                                                                            TELFORD
             NORTH                                                                                                                                                                                           EXETER                                                                                 NEW HANOVER
                                                                                                                           SOUTH                                                                                                                                                                                             UPPER                                     FRANCONIA    SOUDERTON
            CORNWALL                                                                                                                                                      KENHORST
                                 SOUTH LEBANON                                                                           HEIDELBERG                                                                                                                                                                                        FREDERICK               UPPER
                                                           HEIDELBERG                                                                                         SHILLINGTON                                                                                                                                                                         SALFORD
                                                                                                                                              SPRING
              WEST                                                                                                                                                                                                                         AMITY
                                                                                                                                                             MOHNTON                                                                                                            UPPER
            CORNWALL                                                                                                                                                      CUMRU                                                                                                                                                      LOWER
                                                                                                                                                                                                                                                                             POTTSGROVE                                                                                                  HATFIELD
                                                                                                                                                                                                                                                                                                                                   FREDERICK
                                                                                                  WEST COCALICO
 SOUTH                  CORNWALL
                                                                                                                                                                                                                    BIRDSBORO                                                             LOWER                                     SCHWENKSVILLE            LOWER SALFORD
ANNVILLE
                                                                                                                                                                                                                                                                                        POTTSGROVE
                                                                                                                                                                                                                                                              WEST POTTSTOWN                                                                                                             LANSDALE
 MOUNT GRETNA                                                                                                                                                                                                                                              POTTSGROVE
                                                                                                                                                                                                                                                                                                                                                            Montgomery
                                                                                                                                    ADAMSTOWN
    SOUTH
 LONDONDERRY
                                                      ELIZABETH
                                                                                CLAY
                                                                                                             DENVER                                                                              ROBESON            V
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                                                                                                                                                                                                                    6           UNION
                                                                                                                                                                                                                                                               NORTH
                                                                                                                                                                                                                                                                                                                 LIMERICK
                                                                                                                                                                                                                                                                                                                                        PERKIOMEN
                                                                                                                                                                                                                                                                                                                                                                                TOWAMENCIN
                                                                                                                                                                                                                                                                                                                                                                                        UPPER
                                                                                                              EAST COCALICO                                                                                                                                   COVENTRY                                                                                                                 GWYNEDD
MOUNT JOY                                                                                                                                                                                                                                                                                                                                              SKIPPACK

                                                                                                                                               BRECKNOCK                                                                                                                        EAST COVENTRY                                          TRAPPE
                                       PENN                                                                                                                                                                                                                                                                   ROYERSFORD                COLLEGEVILLE                         WORCESTER
                                                                                                                                                                                          NEW MORGAN                                                            SOUTH
                                                                                                                                                                                                                                                               COVENTRY                                      SPRING CITY
                                                                                                                                                                                                                                                                                                                                  UPPER
                                                                                                         EPHRATA
                                                                                                                                                                                                                                                                                            EAST VINCENT                        PROVIDENCE
                                                                     WARWICK              AKRON                                        TERRE HILL                                                                                                                                                                                                        LOWER                           WHITPAIN
             RAPHO                                         LITITZ                                                                                                                                            ELVERSON
                                                                                                                                                                                                                                                                                                                                                       PROVIDENCE
                                                                                                                                                                                                                                                                                                                                                                                   EAST NORRITON
                                                                                                                                                                    CAERNARVON                                                                                                                                  PHOENIXVILLE                                           WEST
                                                                                                                                                                                                                                                                      WEST VINCENT                                                                                   NORRITON
                                                                                                                            EARL                                                                                                        EAST NANTMEAL
                                                                                               WEST EARL                                                                                                                                                                                         EAST PIKELAND
                                                                                                                                                                                                                                                                                                                                                                               NORRISTOWN
                                                                                                                                              EAST EARL                                                      WEST NANTMEAL
                                                                                                                                                                                                                                                                                                                             SCHUYLKILL
                                                                                                                                                                                                                                                                                                                                                                              BRIDGEPORT
                                        EAST                                                                             NEW HOLLAND                                                                                                                                                                                                                         UPPER MERION
 EAST DONEGAL                        PETERSBURG                                                                                                                                                                                 WALLACE                                                                                                                                                  PLYMOUTH
                                                           MANHEIM                                                                                                                                                                                                            WEST PIKELAND         CHARLESTOWN
                                                                                                                                                                                                                                                   UPPER UWCHLAN                                                                                                                CONSHOHOCKEN
                                  EAST                                                   UPPER LEACOCK                                                                                       HONEY BROOK
              WEST              HEMPFIELD                                                                                                                                                                                                                                                                                                                                             WHITEMARSH
            HEMPFIELD                                                                                                                                                                                                                                                                                                                  TREDYFFRIN
                                                                                    Lancaster                                                                                                                        WEST                                          UWCHLAN                                EAST
                                                                                                                                                                                                                  BRANDYWINE                                                                            WHITELAND                                                                         LOWER
               MOUNTVILLE                              LANCASTER                                                    LEACOCK                                                                                                                EAST
 COLUMBIA                                                                      EAST LAMPETER                                                                SALISBURY                                                                                                                                                                                                                     MERION
                                                                                                                                                                                                                                        BRANDYWINE                                                                       MALVERN
                                                                                                                                                                                                                                                                                                                                                 EASTTOWN               RADNOR
                                                                                                                                                                                                                                                             EAST CALN           WEST
                                                                                                                                                                                          WEST CALN                                                                            WHITELAND
                                                                                                                                                                                                                                                     DOWNINGTOWN
                                    MILLERSVILLE                                                                                                                                                                                        CALN                                                                                  WILLISTOWN
                                                                     WEST LAMPETER                                                                                                                                                                                                                      EAST GOSHEN                                     NEWTOWN                      HAVERFORD
                       MANOR                                                                                        PARADISE                                                                                      COATESVILLE
                                                                                                                                                                                                       VALLEY
                                                                                                                                                                                                                                 Chester
                                                                                                                                                                          WEST                                                                                                         WEST GOSHEN
                                                                                                                                                                        SADSBURY                                    SOUTH
 LOWER
WINDSOR                                                    PEQUEA                                                                                                                                                 COATESVILLE
                                                                                           STRASBURG                                                       CHRISTIANA                                                                           WEST BRADFORD                                                                                                           MARPLE
                                                                                                                                                                                PARKESBURG                             MODENA                                                       WEST CHESTER
                                                                                                                                                                                                           EAST                                                                                                                           EDGMONT
                                                                                                                                                                 ATGLEN                                                                                                                                                                                                           UPPER DARBY
                                                                                                                                                                                                       FALLOWFIELD

                                                                                                                                                                                                                                                                                                                                                    Delaware
                                                                                                                                                  SADSBURY                                                                                                             EAST BRADFORD                    WESTTOWN                                                                           CLIFTON
                                       CONESTOGA                                                                                                                                                                                                                                                                                                                                           HEIGHTS
                                                                                                                                   BART                                                  HIGHLAND                                              NEWLIN                                                                                                               MEDIA
                                                                                                                                                                                                                                                                                                                     THORNBURY                                                           ALDAN
                                                                                                                  EDEN                                                                                                                                                                                                                                                         MORTON
                                                                            PROVIDENCE                                                                                                                                                                             POCOPSON                                                                       MIDDLETOWN               SWARTHMORE DARBY
                                                                                                                                                                       WEST                                                                                                                                                                                                    RUTLEDGE
                                                                                                    QUARRYVILLE                                                                                                        WEST                                                             BIRMINGHAM                                     CHESTER
                                                                                                                                                                    FALLOWFIELD                                                                                                                                                                                ROSE VALLEY        NORWOOD
                                                                                                                                                                                                                   MARLBOROUGH                                                                                                         HEIGHTS
      CHANCEFORD                                                                                                                                                                                                                                                                                                                                                                  RIDLEY
                                                                                                                                                                                                                                                    EAST                                                                                                       NETHER PROVIDENCE
                                                                                                                                                                                             LONDONDERRY                                        MARLBOROUGH                                      CHADDS FORD             CONCORD                    ASTON     BROOKHAVEN         RIDLEY PARK
                                                     MARTIC
                                                                                                                                                                                                                                                                                    PENNSBURY                                                                       PARKSIDE            TINICUM
                                                                                             EAST DRUMORE                                                                                                                                                                                                                                                           UPLAND
                                                                                                                                   COLERAIN                                                                                                                                                                                                                                      EDDYSTONE
                                                                                                                                                                                                                LONDON GROVE                         KENNETT                                                                                      UPPER
                                                                                                                                                                        UPPER OXFORD                                                                              KENNETT                                                                                              CHESTER
                            LOWER                                                                                                                                                                                                                    SQUARE                                                                                     CHICHESTER
                          CHANCEFORD
                                                                                                                                                                                                                             AVONDALE                                                                                                               LOWER TRAINER

                        York
                                                                                                                                                                                                            WEST GROVE                                                                                                                            CHICHESTER
                                                                        DRUMORE                                                                          LOWER OXFORD                                                                 NEW GARDEN
   EAST                                                                                                                                                                                                                                                                                                                                              MARCUS HOOK
 HOPEWELL                                                                                                                LITTLE
                                                                                                                         BRITAIN
                                                                                                                                                               OXFORD
                                                                                                                                                                                          NEW LONDON                                                                                                                                                                     County
                                                                                                                                                                   EAST
                                                                                                                                                                                                                FRANKLIN
                                                                                              FULTON                                                                                                                                                                                                                                                                     Municipalities




 .
            FAWN                                                                                                                                                NOTTINGHAM                                                  LONDON
                                              PEACH BOTTOM                                                                                WEST                                                                              BRITAIN
                                                                                                                                       NOTTINGHAM                                      ELK
                                                                                                                                                                                                                                                                                                                                                                         District 6
           FAWN GROVE
                                                   DELTA



                                                                                                                                                                                                                                                                                0                        5                      10                                              20 Miles
             SLOCUM                                                                                                                                                                                                                                    COOLBAUGH
                                                                                                                                                                                                                                                                                                                                                                                Pike
 CONYNGHAM
SALEM
                                                                    WRIGHT
                                                                                          Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 119 of 157
                                                                                                                          BEAR CREEK

                                                                                                                                                                                                                   TOBYHANNA
                                                                                                                                                                                                                                                                                          PARADISE
                                                                                                                                                                                                                                                                                                                    PRICE                                                      LEHMAN
                                   DORRANCE                                                DENNISON
                                                                                                                                              Preliminary Congressional Plan Amendment                                                                                                                                                              DISTRICT 7
                                                                                                                                                                                                                                                                                                                                                     MIDDLE
                                                                                                                                                                                                                                                                                                                                                    SMITHFIELD
          HOLLENBACK                                                                                                     EAST
                                                                                                                          SIDE
                                                                                                                                                          Based on Holt Map
                                                                                                                                                      KIDDER                                                                                                                   POCONO

                                                                                                                WHITE HAVEN

                                                       BUTLER                                                                                                                                                          TUNKHANNOCK
NESCOPECK


                                        Luzerne
                                                                             FREELAND        FOSTER                                                                                                                                                                                                            STROUD                SMITHFIELD

                                                                                                                                                                                                                                                               JACKSON                                                        EAST
          SUGARLOAF                                                                                                                                                                                                                                                                                                       STROUDSBURG
                                                                              JEDDO                                                                                                                                                                           Monroe                                                                  DELAWARE
                                                                                                                                                                                                                                                                                                                   STROUDSBURG
                                                                                                                                                                                                                                                                                                                                      WATER GAP
                          WEST HAZLETON
                                                                                                    LAUSANNE

                              HAZLE             HAZLETON                                                                                                              PENN FOREST
                                                                                                                                                                                                                                        CHESTNUTHILL
                                                                                                    WEATHERLY

                                                                                                                                             Carbon
 BLACK                                                                                                                                                                                                                                                                                  HAMILTON
 CREEK                                                                    BEAVER                                                                                                                                   POLK
                                                                         MEADOWS
NORTH UNION                                                     BANKS                                                                                                                                                                                                                                                                               PORTLAND


                                             MCADOO                              PACKER                                                                                                                                                                                                                                               UPPER MOUNT
    EAST UNION                                                                                                                                                                                                                                                                                                                           BETHEL

                                     KLINE                                                                                       JIM THORPE
                                                                                                                                                                                     TOWAMENSING                                                                                                               ROSETO EAST BANGOR
                                                                                                                                                                                                                                                                ROSS
                                                                                                NESQUEHONING                                                                                                                                                                                       PEN ARGYL       BANGOR


                 DELANO                                                                                                                                    FRANKLIN                                                                 ELDRED
                                                                                                                                                                                                                                                                                      WIND GAP
                                                RUSH
                                                                               LANSFORD                                                LEHIGHTON
MAHANOY
                                                                                           SUMMIT HILL                                                PARRYVILLE                           LOWER
                                                                    COALDALE                                                                                                            TOWAMENSING
MAHANOY CITY                                                                                                                                                                                                                                                                                 PLAINFIELD
                                                                                                                     MAHONING
                                                                                                                                                                            PALMERTON                                                                                                                                             LOWER MOUNT
                                                           TAMAQUA                                                                                    BOWMANSTOWN
                                                                                                                                                                                                                                                                                                                                     BETHEL
               RYAN
                                                                                                                                                                                                                                                                          BUSHKILL
                                                                                                                                                                                                                                             MOORE
                                                                                                                                  EAST PENN

                      SCHUYLKILL                                                                                                                                                              LEHIGH

                                         Schuylkill
                                                                                                                                                                           WALNUTPORT                                                           CHAPMAN
                                                                                                                                                                                                                                                                                            STOCKERTOWN
    BLYTHE                                                                                                                                                                SLATINGTON
                                                                                 WEST PENN                                                                  WASHINGTON                                                                                                        NAZARETH             TATAMY
                                      WALKER                                                                                                                                                                                                                     UPPER                                         FORKS
       MIDDLEPORT
                                                                                                                                                                                                                                                       BATH     NAZARETH

                                                                                                                                                                                                                                                               Northampton
    NEW
PHILADELPHIA
                                                                                                                                              HEIDELBERG
                                                                                                                                                                                                                        ALLEN
  EAST                                                                                                                                                                                                                                   EAST ALLEN
                                                                                                                                                                                                          NORTHAMPTON                                                   LOWER
NORWEGIAN                                                                                                                                                                                                                                                                                         PALMER        EASTON
                                                                                                                                                                                                                                                                       NAZARETH
                                       NEW RINGGOLD
                                      EAST
                                                                                                                                                                                     NORTH
                                                                                                                                                                                    WHITEHALL
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                                                                                                                                                                                                                       U
                                                                                                                                                                                                                       7                                                                                 WILSON

                                                                                                                                                                                                                                                                                                       WEST EASTON
                                   BRUNSWICK                                                                    LYNN                                                                                           COPLAY        NORTH
                                                                                                                                                                                                                                                 HANOVER
                                                                                                                                                                                                                          CATASAUQUA                                                                     GLENDON
  ORWIGSBURG                                                                                                                                                                                                                CATASAUQUA
                                                                                                                                                                                                             WHITEHALL
   NORTH            WEST
                  BRUNSWICK                                                                                                                                 LOWHILL
  MANHEIM

LANDINGVILLE
                                                                             ALBANY
                                                                                                                                                                             Lehigh                                                                              FREEMANSBURG
                                                                                                                                                                                                                                                                                                            WILLIAMS
                  DEER LAKE                                                                                                                                                                  SOUTH
                                                                                                                                                                                            WHITEHALL                                                         BETHLEHEM
                                                                                                                                           WEISENBERG

     AUBURN                                                                                                                                                                                                             ALLENTOWN               FOUNTAIN HILL                                                      RIEGELSVILLE

                         PORT CLINTON                                                                                                                                                                                                    SALISBURY                                   LOWER SAUCON
  SOUTH MANHEIM                                                                                                                                                                                                                                                   HELLERTOWN
                                                                          LENHARTSVILLE                                                                                UPPER                                                                                                                                   DURHAM
                                                          WINDSOR                                                                                                     MACUNGIE
    UPPER                                                                                        GREENWICH
 TULPEHOCKEN                                                                                                                                                                                                                                                                                                                                BRIDGETON
                                              HAMBURG
                             TILDEN
                                                                                                                              MAXATAWNY                                                      LOWER                 EMMAUS
                                                                                                                                                                                            MACUNGIE                                         UPPER SAUCON
                                                                                                                                                                                                                                                                                   SPRINGFIELD
        UPPER BERN                                                                                                KUTZTOWN
                                                                                                                                                                                                                                                                                                                             NOCKAMIXON
                                                                                                                                                                             ALBURTIS        MACUNGIE                                            COOPERSBURG
                                                                 PERRY                                                                    TOPTON
                                         SHOEMAKERSVILLE
                                                                                                                                                    LONGSWAMP
                                     CENTERPORT                                                   RICHMOND                                                                                             UPPER MILFORD
                                                                                                                         LYONS                                                                                                                                                                       HAYCOCK                                      TINICUM
                                   CENTRE                                                                                                                                                                            LOWER MILFORD                                      RICHLANDTOWN
                                                                          MAIDENCREEK                                                                                                                                                                            RICHLAND
                                                                                                    FLEETWOOD

                                                                                             Berks
                                                     LEESPORT                                                                  ROCKLAND
 JEFFERSON                                                                                                                                                                        HEREFORD
                                                             ONTELAUNEE                                                                                                                                                                                          QUAKERTOWN
                PENN                                                                                                                                       DISTRICT
BERNVILLE
                                                                                                RUSCOMBMANOR                                                                                            UPPER                                MILFORD                                                                   BEDMINSTER
                                                                                                                                                                                                       HANOVER
                                                                                                                                                                                                                                                  TRUMBAUERSVILLE
                                                                                                                                                                                                                                                                                                                   Bucks
                                                                                                                                                                                                             EAST
                                                                                                                                                                                                          GREENVILLE                                                                  EAST ROCKHILL
    NORTH                                     BERN           MUHLENBERG                                                                             PIKE                            BALLY
                                                                                                                                                                                                               PENNSBURG
  HEIDELBERG                                                        LAURELDALE                                                                                                                                                                                                                                                              PLUMSTEAD
                                                                                          ALSACE
                                                                                                                                                                                                                     RED HILL                                                                                                                                             SOLEBURY
                                                                                                                                                                                                                                                               WEST ROCKHILL                                       DUBLIN
                                                                                                                       OLEY                                      BECHTELSVILLE                                                                                                       PERKASIE
                    LOWER
                                                                   READING
                                                                                LOWER
                                                                                ALSACE
                                                                                                                                                                                                Montgomery                      MARLBOROUGH                                  SELLERSVILLE
ROBESONIA         HEIDELBERG
                                                                                                                                             EARL          COLEBROOKDALE                                                                                                                    SILVERDALE
                                                                                                                                                                                 DOUGLASS
                                                   WEST READING                                                                                                                                                         GREEN LANE               SALFORD
                                                                                                                                                                                                                                                                                                 HILLTOWN
                                                                                                                                                                                                                                                                                                                                                                 County
                                                WYOMISSING                    MOUNT PENN                                                                        BOYERTOWN
     WERNERSVILLE              SINKING                                                                                                                                                                                                                                     TELFORD
                                                                                     ST. LAWRENCE
                                                                                                                                                                                                                                                                                                                       NEW BRITAIN
                                                                                                                                                                                                                                                                                                                                                                 Municipalities




 .
                               SPRING                                                                                                                                                       NEW HANOVER                                                                                                                                                        BUCKINGHAM
                                                                                                     EXETER                                                                                                   UPPER                                                        SOUDERTON
          SOUTH                                           KENHORST
        HEIDELBERG                             SHILLINGTON
                                                                                                                                                                                                            FREDERICK
                                                                                                                                                                                                                                     UPPER
                                                                                                                                                                                                                                                              FRANCONIA                                                                                          District 7
                            SPRING
                                                                                                                               AMITY                                                                                                SALFORD                                                                       CHALFONT            DOYLESTOWN
                                             MOHNTON                                                                                                             UPPER
                                                                                                                                                                                                                      LOWER
                                                                                                                                                              POTTSGROVE
   WEST COCALICO                                           CUMRU                                                                                                                                                    FREDERICK

  Lancaster
                                                                                                                                                     WEST POTTSGROVE                                                                                                                        HATFIELD
                                                                                      ROBESON
                                                                                                                                                                              LOWER
                                                                                                                                                                                                                                                LOWER SALFORD                  0                       5                       10                                             20 Miles
                                   BRECKNOCK                                                             BIRDSBORO                                                                                                      SCHWENKSVILLE                                                                                         WARRINGTON                    WARWICK     WRIGHTSTOWN
    EAST COCALICO                                                                                                                                                           POTTSGROVE                  LIMERICK
                                                                                                                       UNION                                POTTSTOWN                                                   PERKIOMEN                                      TOWAMENCIN                    MONTGOMERY
                ADAMSTOWN                                                                                                                                                                                                                                                              LANSDALE
                                                                                                                                                                                                                                     SKIPPACK
                                                                                              Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 120 of 157
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                   Based on Holt Map




                                                                        SAYRE                                                        LITTLE MEADOWS
                                                                                                                                                                                                                                       LANESBORO
                        SOUTH                                 ATHENS                                     WINDHAM                                            CHOCONUT                            LIBERTY     HALLSTEAD
                                                                                     LITCHFIELD
        WELLS           CREEK
                                       RIDGEBURY                                                                               WARREN         APOLACON                      SILVER LAKE                                           SUSQUEHANNA HARMONY                     SCOTT
                                                                                                                                                                                                                 GREAT BEND          DEPOT
                                                                                                                                                     FRIENDSVILLE                                                                     OAKLAND
                                                                                                                                                                                                                                                               STARRUCCA
                                                                                                                                                                                                                                                    THOMPSON
                                                                                                                  ORWELL                                           FOREST LAKE
                                                                                 SHESHEQUIN        ROME                                         MIDDLETOWN
                                                       SMITHFIELD
                                                                                      Bradford
             COLUMBIA                                                                                                                                                                                           NEW MILFORD                                                                 BUCKINGHAM
RUTLAND                     SPRINGFIELD                                ULSTER

                                                                                                                                                                                                             Susquehanna
                                                                                                                              LERAYSVILLE                                                                                                                                 PRESTON
                                                                                                                                                                                       MONTROSE
                                                                                                                                      PIKE
                                                                                                                                                                         JESSUP       BRIDGEWATER                                                    ARARAT                                                 MANCHESTER
     SYLVANIA                                                                                    WYSOX
                                                                    NORTH
 SULLIVAN                                                          TOWANDA                                                                               RUSH
                                                WEST                                                     STANDING                   STEVENS                                                                         HARFORD            GIBSON
                         TROY                BURLINGTON BURLINGTON                                        STONE                                                                                    BROOKLYN
        ARMENIA                                                     TOWANDA                                                                                                         DIMOCK                                                           HERRICK                MOUNT
                                                                                                                                                                                                                                                                           PLEASANT
                                                                                                                                                                                                                                                           UNIONDALE                             LEBANON
                                  GRANVILLE                                                      ASYLUM
WARD             ALBA                                                                                               WYALUSING                                                                            HOP BOTTOM
                                                                                                                                    TUSCARORA            AUBURN

                                                                                                                                                                                                                                                                                            Wayne
                                                                                                                                                                                                  LATHROP              LENOX                                                                                          DAMASCUS
                                                         FRANKLIN                MONROE                                                                                       SPRINGVILLE                                                       CLIFFORD


  Tioga                                                                                                   TERRY                                                                                                                                             FOREST CITY
                                                                                                                                    LACEYVILLE                                                                                                                                              DYBERRY      OREGON
                CANTON            LEROY                                                                                                BRAINTRIM                                                                                                                            CLINTON
                                                                                                                                                    MESHOPPEN                                                                                                VANDLING
                                                                                                                                                                                    LEMON                                              GREENFIELD          FELL                              BETHANY
                                                              OVERTON                                                                                                                            NICHOLSON            BENTON
                                                                                   NEW ALBANY
                                                                                                                                                                                                                                 Lackawanna
                                                                                                                    WILMOT
                                                                                                                                                                                                                                                                        WAYMART      PROMPTON
                                                                                                                                                                                                                                                                                                                    BERLIN
                                                                                                                                                                                                                                                                                         TEXAS HONESDALE
                                                                                                                                                   MEHOOPANY                                       FACTORYVILLE     NORTH                                                   CANAAN
            MCNETT                                                                                                                                                                                                                        CARBONDALE

                                                                                                                                                           Wyoming
                                                                                                                                                                                                                   ABINGTON              MAYFIELD
                                                                                                                                                                                                        LA PLUME
                                 FOX             ELKLAND                                    DUSHORE                              NORTH                                                                      DALTON WAVERLY             JERMYN                                           CHERRY RIDGE
 MCINTYRE                                                             FORKS                                                                                                                   OVERFIELD                                                                SOUTH CANAAN
                                                                                                                                BRANCH                                                                       GLENBURN
                                                                                                                                                                                                                                      ARCHBALD
                                                                                                                                                                      EATON                                     CLARKS GREEN
                                                   FORKSVILLE                              CHERRY                                                                                                                CLARKS       BLAKELY                                                                                            LACKAWAXEN
                                                                                                                                                                                               FALLS             SUMMIT DICKSON CITY                                                                            HAWLEY
                                                                                                              COLLEY
                                                                               Sullivan
    CASCADE                                                                                                                      FORKSTON                                                                  NEWTON                         OLYPHANT                            LAKE
                                                                                                                                                                          NORTHMORELAND                                                                                                           PAUPACK
                                   HILLSGROVE                                                                                                                                                                                                          JEFFERSON
                                                                                                                                                                                                                                             THROOP                                                                                                       SHOHOLA
                                                          EAGLES MERE                                                                           NOXEN                                                                    SCRANTON
                                                                                    LAPORTE                                                                                                                RANSOM
                                                                                                                                                                                                                        TAYLOR         DUNMORE                                SALEM
  GAMBLE             PLUNKETTS                                                                                                                                                                                                                                                                           PALMYRA                                                              WESTFALL
                                                SHREWSBURY                                                                                                                                                    OLD FORGE                ROARING ELMHURST
                       CREEK                                                                                                                                                                    EXETER
                                                                                                                                                                                                                                        BROOK                                                                                BLOOMING                                             MATAMORAS
            Lycoming
                                                                                                                                                        HARVEYS LAKE       DALLAS
                                                                                                                                                                                                    DURYEA             MOOSIC                                                                                                 GROVE                                 MILFORD

                                                                                                                                                                                                                                                                                                                                          Pike
                                                                                                                                                                                          WEST PITTSTON AVOCA                      MOSCOW
                                                                               DAVIDSON                                                                                                                                                                                 STERLING                                                                       DINGMAN
                                                                                                                                                                                                      DUPONT
      UPPER                                                                                                                                                                  KINGSTON WYOMING               PITTSTON
     FAIRFIELD        MILL                                                                                                          ROSS                                        SWOYERSVILLE YATESVILLE
                     CREEK                                                                                        FAIRMOUNT                                                                  LAFLIN                 SPRING BROOK      COVINGTON                                   DREHER          GREENE
                                  PICTURE ROCKS        PENN
LOYALSOCK                                                                                                                                                                    COURTDALE              JENKINS
                                                                                                 SUGARLOAF                                                                  EDWARDSVILLE
                    MUNCY         WOLF                                                                                                                                                       PLAINS
     FAIRFIELD
                                                                        JORDAN                                                                                           LARKSVILLE                                              CLIFTON
  MONTOURSVILLE                 HUGHESVILLE                                                                                                                     PLYMOUTH      WILKES-BARRE                 BEAR CREEK                                                                                                                                  DELAWARE
                                                                                      Columbia
                                                                                                                                               HUNLOCK
ARMSTRONG                                                                                                                                                                                                                                                                                                                        PORTER
                                                                                                                                                            NANTICOKE HANOVER ASHLEY LAUREL RUN                                   THORNHURST
                                MUNCY                                                                               HUNTINGTON                                         SUGAR NOTCH                                                                                                                    BARRETT
                                             MORELAND                     PINE                                                                                                                 BEAR CREEK
                                CREEK                                                                                                                                WARRIOR RUN                 VILLAGE
                                                                                                           NEW COLUMBUS                                 NEWPORT                                                                                                   COOLBAUGH
  MONTGOMERY
                                                                                                                                                                 NUANGOLA         FAIRVIEW
BRADY                                                                                            STILLWATER                          SHICKSHINNY                           RICE                                                 BUCK                                                                                                          LEHMAN
                                                                               GREENWOOD                                                                                                                                                                                                                    PRICE
                                                                                                                                                          SLOCUM
                          LEWIS
                                         ANTHONY                      MILLVILLE                   FISHING CREEK                                                               WRIGHT             PENN                                                                       MOUNT POCONO
                                                                                                                                                                                               LAKE PARK                                            TOBYHANNA
                      TURBOTVILLE                             MADISON                     ORANGE                                                              DORRANCE                                                                                                                        PARADISE                    MIDDLE
                                                                                                               BRIAR CREEK                                                            DENNISON
   WATSONTOWN
                                                                                                                                                                                                                                                               Monroe
                                                                                                     NORTH                                                                                                                                                                                                               SMITHFIELD

                                                                                                                                                                           Luzerne
                                                                                      ORANGEVILLE
            MCEWENSVILLE            LIMESTONE DERRY                                                  CENTRE                                     HOLLENBACK                                               WHITE EAST
                                                                                                                                                                                                                            KIDDER
WHITE DEER                            WASHINGTONVILLE                                                                BERWICK                                                                             HAVEN SIDE                                                                         POCONO

                                           Montour
                                                                                                                                                                                                                                                       TUNKHANNOCK
                   TURBOT                                                                                                       NESCOPECK
Union
                                                                                                                                                                     BUTLER                                                                                                                              STROUD
                                                                                                                                                                                                  FOSTER                                                                                                        EAST
            MILTON                                                     HEMLOCK              SOUTH CENTRE                                                                             FREELAND
                                                                                                               MIFFLIN                                                                                                                                                                                      STROUDSBURG
                       EAST                                                      BLOOMSBURG                                                                                                                                                                                       JACKSON
  KELLY                                          VALLEY WEST HEMLOCK
                  CHILLISQUAQUE                                                                                                                                                                                                                                                                           STROUDSBURG




                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                      JEDDO
                                                                         MONTOUR                  MAIN                               BLACK
     WEST CHILLISQUAQUE                                                                                                                                  WEST HAZLETON                                                                                                                                          DELAWARE
                                                                                                                                     CREEK                                                      LAUSANNE                    PENN FOREST
  LEWISBURG                                        DANVILLE         COOPER                                                                                                                                                                                                                                      WATER GAP
                                                                                     CATAWISSA                    BEAVER                                                                                                                                           CHESTNUTHILL
                                                                                                                                                                     HAZLETON
                                                                                                                                                                                                                      Carbon
 EAST                                           RIVERSIDE                                                                                                  HAZLE                                WEATHERLY
                                                                                                                                                                                    BEAVER                                                                                                    HAMILTON
BUFFALO                    POINT                                                                                                                                                                                                                           POLK                                                       PORTLAND
                                                                                                                                                                                   MEADOWS
                                                                    MAYBERRY                         ROARING                NORTH UNION                                BANKS
                NORTHUMBERLAND                                                                        CREEK                                                        MCADOO                                                                                                                                           UPPER MOUNT
                                                                                                                                                                                       PACKER                     JIM
                                                                                                                                           EAST UNION                                                                                                                                                                  BETHEL
                          UPPER                                                               LOCUST                                                             KLINE                                          THORPE                                                                                   ROSETO
                                                                                                                    UNION                                                                                                               TOWAMENSING
                 SUNBURY AUGUSTA SNYDERTOWN                                       CLEVELAND                                                                                                  NESQUEHONING
                                                                                                                         RINGTOWN                                                                                                                                 ELDRED                                   BANGOR
          SHAMOKIN DAM                                               RALPHO                                                                         DELANO
                                     SHAMOKIN                                                                                                                                                                                                                                                 WIND GAP
                                                                                                                                         MAHANOY                                      LANSFORD

                                               Northumberland
                      ROCKEFELLER                                                                CONYNGHAM                                                                                                            WEISSPORT              LOWER
                                                                                                                                                                                  COALDALE SUMMIT HILL                   PARRYVILLE                                                                                    LOWER
MIDDLECREEK                                                                                  MOUNT CENTRALIA
                                                                                                                  WEST MAHANOY
                                                                                                                                MAHANOY CITY                                      MAHONING                                                     BUSHKILL PLAINFIELD
                                                                                                                                                                                                                                          TOWAMENSING                                                                  MOUNT
                                                                                                                                                             TAMAQUA                         BOWMANSTOWN
                                                                                                                                                                                                                                                                                             Northampton
              LOWER
 SELINSGROVE AUGUSTA
                                                                                KULPMONT    CARMEL
                                                                                                           GIRARDVILLE
                                                                                                                       GILBERTON
                                                                                                                                         RYAN                                                    PALMERTON
                                                                                                                                                                                                                                                                                                                       BETHEL                                          County
                                                                        COAL                                       FRACKVILLE                                                          EAST PENN WASHINGTON         LEHIGH        MOORE
                                               ZERBE                                               ASHLAND                                    SCHUYLKILL
FREEBURG                    LITTLE                                                                                                                                                                                                                                                                                                                                     Municipalities
 Snyder
                                                                                                                                   BLYTHE                                                              WALNUTPORT
                           MAHANOY                                                                   GORDON            NEW                           WALKER                                                                                            STOCKERTOWN
                                          WEST CAMERON              EAST CAMERON
                                                                                                                                                                   WEST PENN             HEIDELBERG SLATINGTON                                  UPPER      TATAMY
                                                                                                               CASS CASTLE ST.                                                                                                          BATH NAZARETH
                                                UPPER MAHANOY
                                                                                                                                       MIDDLEPORT
                                                                                                                           CLAIR NEW PHILADELPHIA                                                                        ALLEN                             PALMER
                                                                                                                                                                                                                                                                                                                                                                       District 8
          HERNDON                                                                          BARRY                                                                                                                                                  LOWER
                                                                                                          Schuylkill
                                                                                                                 NORWEGIAN                                                                                                        EAST ALLEN

  CHAPMAN                                             UPPER
                                                                                                                         MECHANICSVILLE
                                                                                                                       POTTSVILLE
                                                                                                                                                    NEW RINGGOLD
                                                                                                                                                                                                             NORTH        Lehigh
                                                                                                                                                                                                                     NORTHAMPTON                 NAZARETH
                                                                                                                                                                                                                                                               WEST
                                                                                                                        MOUNT CARBON      WEST         EAST                      LYNN                      WHITEHALL   COPLAY                                 EASTON
                                                   MAHANTONGO                                                  BRANCH                   BRUNSWICK                                                                     NORTH CATASAUQUA
     LOWER                                                                                                                                          BRUNSWICK                                                                                                GLENDON
                                                                         HEGINS                                                                                                                                          CATASAUQUA
    MAHANOY                                                                                FRAILEY     REILLY                         ORWIGSBURG                   ALBANY                        LOWHILL                                                 EASTON
                   PILLOW           LYKENS             HUBLEY                                                           CRESSONA
                     Dauphin
                                                                                                                                                                                                                SOUTH
                                                                                                                                                                                                                                                                                                                                 0          5          10                 20 Miles
                                                                                                                                                                                      Berks
                                                                                                                                LANDINGVILLE   DEER                                                                                        BETHLEHEM    LOWER WILLIAMS
                                       GRATZ                                                                                                                                                                   WHITEHALL WHITEHALL                     SAUCON
                                                                                                                                               LAKE                                     WEISENBERG                                SALISBURY
                                                                                          TREMONT                   WAYNE
                                                                                                                                                                                                                                                                                                       Bucks
  UPPER         BERRYSBURG                                                                                                       SOUTH                                                                   UPPER                                             RIEGELSVILLE
                                                             TOWER                                                                                                                                                   LOWER       UPPER
 PAXTON                            WICONISCO     WILLIAMSTOWN CITY                         PINE GROVE                           MANHEIM TILDENPORT CLINTON               GREENWICH   MAXATAWNY         MACUNGIE    MACUNGIE     SAUCON       HELLERTOWN
                                                                                     Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 121 of 157
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                  Based on Holt Map




     SHARON                                                                                                    OSCEOLA                          LAWRENCEVILLE                                                       SOUTH WAVERLY SAYRE                                              LITTLE MEADOWS       CHOCONUT
                                                                                                                               NELSON
                                                                                    BROOKFIELD                                                  LAWRENCE                                                                                                                                                                                                         LANESBORO
   SHINGLEHOUSE                                                                                      KNOXVILLE
                       OSWAYO        GENESEE          BINGHAM       HARRISON                                                                                                                      SOUTH                                          LITCHFIELD     WINDHAM                      APOLACON                                       HALLSTEAD          SUSQUEHANNA
                                                                                                                                                                                     WELLS                   RIDGEBURY         ATHENS                                                                              SILVER LAKE

                                                                                                                                                                                                                                           Bradford
CERES                                                                                                     DEERFIELD                                                                               CREEK                                                                            WARREN                                                                         DEPOT HARMONY
                                                                                                                          FARMINGTON                                                                                                                                                                                                              GREAT BEND
                                                                                                                                                                                                                                                                                                    FRIENDSVILLE                                               OAKLAND   STARRUCCA
   PLEASANT                                                                                                                                                           RUTLAND
                                                                                     WESTFIELD                                                       TIOGA                                                                                                                                                                                                               THOMPSON
     VALLEY

                                                                                                                                                                                                                                                                                                                                                                              Wayne
ANNIN                                                                                                                                                                                                                                                       ROME        ORWELL               MIDDLETOWN FOREST LAKE
         CLARA         HEBRON        ALLEGANY                          HECTOR                              CHATHAM         MIDDLEBURY                                    ROSEVILLE                                      SMITHFIELD         SHESHEQUIN
McKean
                                                                                                                                                                                      COLUMBIA        SPRINGFIELD                                                                                                                            NEW MILFORD
                                                                                                                                                                                                                                                                                                                                            Susquehanna
                                                                                         CLYMER                                                                                                                                                                                    LERAYSVILLE
                                                                                                                                                  RICHMOND                                                                            ULSTER                                                                               MONTROSE
                                                      ULYSSES                                                                                                                                                                                                                                                                                                             ARARAT
                                                                                                                                                                                                                                                                                                                            BRIDGEWATER
                                                                                                                                                         MANSFIELD                                                                                                                                              JESSUP

                                                                                                                          Tioga
                                      SWEDEN                                                                                                                                                                        WEST                                WYSOX
                                                                                                                                                                         SULLIVAN                                                                                                                                                                                             PRESTON

                                    Potter
     ROULETTE                                                                                                                                                                                                    BURLINGTON          NORTH TOWANDA
                  COUDERSPORT                                            PIKE                                                                                                                                                                                                        STEVENS                                                       HARFORD
                                                                                                      SHIPPEN                                                                                       TROY                                                                                                                                                                     HERRICK
                   EULALIA                                                               GAINES                       WELLSBORO                                                                                                                               STANDING                                                                 BROOKLYN
                                                                                                                                                         PUTNAM                                                             BURLINGTON     TOWANDA             STONE                                                     DIMOCK
                                                                         GALETON                                                                                                     ARMENIA
                                                                                                                                  CHARLESTON                                                                                                                                                                                                                                 UNIONDALE
                                                                                                                 DELMAR                                                                                                                                     ASYLUM                                                                       HOP BOTTOM
                                                                                                                                                                            WARD             ALBA                                                                        WYALUSING
      KEATING           HOMER                                WEST BRANCH                                                                             BLOSSBURG                                                                                                                                        AUBURN                                                        CLIFFORD
                                      SUMMIT                                                                                                                                                                                               MONROE                                                                       SPRINGVILLE   LATHROP         LENOX
                                                                                                                                                                                                                          FRANKLIN
                                                                                                                                                 BLOSS
                                                                                                                                DUNCAN                        HAMILTON                                                                                                                                                                                                   FOREST CITY
NORWICH                                                                                                                                                                                                                                                         TERRY                LACEYVILLE
              AUSTIN                                                                                                                                                                         CANTON         LEROY                                                                                   MESHOPPEN                                                                 VANDLING
                                                                                            ELK                                                                                                                                                                                                                          LEMON        NICHOLSON     BENTON      GREENFIELD
                       SYLVANIA                                 ABBOTT                                                                                                                                                                                                                                                                                                          FELL
      PORTAGE                                                                                                                                       LIBERTY                                                                   OVERTON          NEW ALBANY                WILMOT
                                                                                                                      MORRIS                                                                                                                                                                                                                            NORTH
                                                                                                                                                                                                                                                                                                                                                       ABINGTON      CARBONDALE
                                                                                                                                                                                       MCNETT                                                                                                       MEHOOPANY                          FACTORYVILLE
                                                                                                                                                                                                                                                                                                                     TUNKHANNOCK

                                                                                                                                                                                                                                                                                                         Wyoming
                                  WHARTON                                                                                                                                                                                                                                                                                        WEST ABINGTON            SCOTT MAYFIELD
                                                                                                                                                                                                           FOX      ELKLAND                                                          NORTH                                                     WAVERLY
                                                              STEWARDSON                                                                                                                                                                             DUSHORE                                                                 OVERFIELD GLENBURN                 JERMYN
                                                                                                                                                                         MCINTYRE                                                FORKS                                              BRANCH                                                 CLARKS GREEN
                                                                                                  BROWN                                                                                                                                               CHERRY                                                    EATON                                          ARCHBALD
                                                                                                                                                                                                                         FORKSVILLE                                                                                                           CLARKS   BLAKELY
                                                                                                                               PINE                                                                                                                                                                                            FALLS          SUMMIT DICKSON
     LUMBER                                                                                                                                                                                                                                                                                                                           NEWTON
                                                                                                                 Lycoming                                                                                                                                                                                                                          Lackawanna
                                                                                                                                                                                 CASCADE                                                                             COLLEY          FORKSTON
                                                                                                                                                                                                                                                                                                                                                       CITY OLYPHANT
                                                                                                                                                                                                           HILLSGROVE                                                                                            NORTHMORELAND
                                                                                                                                                                                                                                                 LAPORTE                                         NOXEN                                             DUNMORE THROOP
      Cameron
                                             LEIDY                                                                                       COGAN HOUSE                                                                      EAGLES MERE
                                                                                                    MCHENRY

                                                                                                                                                                                                                                                   Sullivan
                                                                   CHAPMAN                                                                                                                                                                                                                                                                RANSOM       SCRANTON
                                                                                                                                                                           GAMBLE                PLUNKETTS
                                                                                                                                                                                                                    SHREWSBURY                                                                                  DALLAS                      OLD FORGE              ELMHURST
                                                                                                                                                                                                   CREEK
                       GROVE                                                                                                                                                                                                                                                                 LAKE     HARVEYS LAKE                    DURYEA     MOOSIC ROARING BROOK
     DRIFTWOOD                                                                                                                                                                                                                                                                                                           KINGSTON WEST PITTSTON
                                                            RENOVO                                                CUMMINGS                                                                                                                                                                                                                                          MOSCOW
                                                                                                                                                                                                   MILL                                   DAVIDSON
                                                        SOUTH RENOVO                     GALLAGHER                                                                                    UPPER                                                                                                                                                DUPONT        SPRING BROOK
     GIBSON                                                                                                                                                    HEPBURN                                                                                                                                                    SWOYERSVILLE
                                                                                                                                      MIFFLIN                                        FAIRFIELD    CREEK                                                                              ROSS
                                                     NOYES                                                                                                                                                                                                                                            LEHMAN     WYOMING LAFLIN
                         EAST KEATING                                                                                                               LYCOMING         LOYALSOCK                            PICTURE ROCKS                                    SUGARLOAF                                                                  PITTSTON
                                                                                                                                SALLADASBURG                                                                                                                                                               PRINGLE
                                                                                                                                                                                                 MUNCY    WOLF                                                          FAIRMOUNT                     LARKSVILLE
                                                                                                                                                  OLD LYCOMING WILLIAMSPORT FAIRFIELD                                                                                                                                     PLAINS          JENKINS
                                                                                GRUGAN                                WATSON                                                                                                          JORDAN                                                                                                                 CLIFTON
                                                             Clinton
                                                                                    WOODWARD                                                                                                                                                                                                              WILKES-BARRE
                                                                                                                                                                SOUTH MONTOURSVILLE
                                                                                                                                                                                                                                                  Columbia
                                                                                                                           PIATT                                                         HUGHESVILLE                                                                           HUNLOCK PLYMOUTH                    LAUREL     BEAR CREEK
                                                                                                                                                    WILLIAMSPORT                                                                                                                          NANTICOKE
                 WEST KEATING                                                   COLEBROOK             PINE CREEK JERSEY                                                                                                                                                                                     ASHLEY RUN                           THORNHURST
                                                                                                                                                  ARMSTRONG             CLINTON    MUNCY CREEK                                                           HUNTINGTON                                  SUGAR NOTCH            BEAR CREEK
                                                                                                                     SHORE                                                                                                                                                                      WARRIOR RUN
                                                                                               DUNNSTABLE      AVIS                  BASTRESS                                                       MORELAND                                                                                                                   VILLAGE                         COOLBAUGH
                                                                         BALD                                     NIPPENOSE                                          MONTGOMERY                                                                    NEW COLUMBUS                      NEWPORT
                                                        BEECH CREEK                    ALLISON                                                                                                                                                                                                  NUANGOLA                                       BUCK
         KARTHAUS                                                       EAGLE                                                                                                                                                                STILLWATER                SHICKSHINNY                              FAIRVIEW
                                                                                         LOCK HAVEN                             LIMESTONE                                                       ANTHONY                    GREENWOOD                                                   SLOCUM          RICE
                            BURNSIDE                                                                                                                                                                                                                                                                                           PENN
                                                                                       FLEMINGTON                                                                          DELAWARE                                   MILLVILLE           FISHING CREEK                                                                                                  TOBYHANNA

                                                                                                                                                                                                                                                                                                                                                                         Monroe
                                                                                                                                              WASHINGTON                                                                                                                                                  WRIGHT                LAKE
                                                                                                 CASTANEA                                                                                                                             ORANGE               BRIAR     SALEM
                                                                                     MILL HALL                      CRAWFORD                                                         TURBOTVILLE                                                                                            DORRANCE               DENNISON PARK
                                                                                                                                                                                                             Montour
COVINGTON                                            CURTIN                                                                                                                                                    MADISON                                     CREEK
                                                                                                                                                                      WATSONTOWN
                                                                                                                                                                                                                                                                                                                   Luzerne
                                                                                                                 GREENE                                                     MCEWENSVILLE                                           ORANGEVILLE
                                                                                                LAMAR
  Clearfield
                                                                                                                                                                                                                                                                                 HOLLENBACK                                  EAST SIDE
                                                                                                                                                            WHITE DEER                                                           MOUNT                    BERWICK                                                                           KIDDER
                              SNOW SHOE                                                                                                                                                      WASHINGTONVILLE                                                                                                             WHITE HAVEN
                                                                                                                                                                                                                                PLEASANT                            NESCOPECK
                                                                                                              LOGANTON                                                           TURBOT                    WEST HEMLOCK                                                                          BUTLER
GRAHAM                                                                                                                                                                                                                HEMLOCK          SOUTH CENTRE                                                        FREELAND FOSTER

                                                                                                                                                Union
                                                            HOWARD
                                   Centre
                                                                                                                                               WEST                KELLY    MILTON                      VALLEY               BLOOMSBURG
        COOPER                                                                                  LOGAN
                                                 BOGGS             MARION                                                                     BUFFALO                                EAST                                                                                                                    JEDDO                                            CHESTNUTHILL
                                                                                                                                                                                CHILLISQUAQUE                            MONTOUR            MAIN                         BLACK
                                                                                                                                                                                                           DANVILLE                                                                   WEST HAZLETON                  LAUSANNE
                                                                                                                                                                   LEWISBURG                                                                                            CREEK
                                                                                                     MILES                                               BUFFALO               WEST                                              CATAWISSA              BEAVER                                      HAZLETON                                  PENN FOREST
                                                MILESBURG             WALKER                                                           LEWIS                                                         RIVERSIDE                                                                          HAZLE                         WEATHERLY
                                                                                                                                                                     EAST CHILLISQUAQUE POINT
                                                                                                                                                                                                                                                                                                     BEAVER MEADOWS                                                 POLK

                                                                                                                                                                                                                                                                                                                                                       Carbon
                                                                                                                                              MIFFLINBURG          BUFFALO                                                                                        NORTH
                                                    BELLEFONTE                                                                                                                                                    MAYBERRY             ROARING CREEK                                               BANKS
              RUSH                  UNIONVILLE                                                         HAINES                     HARTLETON                                                                                                                       UNION                       MCADOO
                                                                                       MILLHEIM                                                                               NORTHUMBERLAND                                                                                                                 PACKER
PHILIPSBURG                                                                                                             HARTLEY                                                                                                                                             EAST UNION
                                                                                                                                                       NEW BERLIN                                                                                                                            KLINE                                 JIM
                          HUSTON              BENNER                                                                                                                              SUNBURY       SNYDERTOWN                               LOCUST                                                                                                      TOWAMENSING
                                                                            GREGG                                                                                                                                                                                                                               NESQUEHONING THORPE
                                                                                                                                                                                                    SHAMOKIN        RALPHO                                  RINGTOWN                   DELANO                                                                  LOWER
                                                            CENTRE HALL                                                                                                     SHAMOKIN DAM                                      CLEVELAND
                                                                                                                                                                                                         Northumberland
                WORTH                                                                                                                        CENTER                                                                                                                         MAHANOY                         LANSFORD              LEHIGHTON                TOWAMENSING
                                PATTON                                                                                                                                                                                                      CONYNGHAM
                                             COLLEGE                                                                            ADAMS                  MIDDLECREEK                                                                                             SHENANDOAH                               COALDALE SUMMIT MAHONING PARRYVILLE
               PORT MATILDA                                                                                                                                                                                                    MARION         CENTRALIA
                                                                 POTTER                                             SPRING                                             SELINSGROVE         ROCKEFELLER                  COAL HEIGHTS                                                                    TAMAQUA      HILL                        PALMERTON
                                     STATE COLLEGE                                                                                             MIDDLEBURG                                                                                            GIRARDVILLE                    RYAN                                                                           MOORE

                                                                                                                                                           Snyder
      TAYLOR         HALFMOON                                                                                                                                                                                                                ASHLAND        FRACKVILLE                                                            EAST PENN
                                                                                                                                                                                                  ZERBE                                                                                                                                          SLATINGTON LEHIGH
                                                                                                                                                                                                                                                                             BLYTHE SCHUYLKILL
                                                                                                                                                                                                                                                                                                                                                                  Northampton
                                                     HARRIS                                                  WEST                                             FREEBURG                  LITTLE                           EAST     MOUNT
                                                                                      ARMAGH                                  BEAVERTOWN                                                                                                                     NEW CASTLE
                             FERGUSON                                                                       BEAVER                                                                     MAHANOY WEST CAMERON           CAMERON CARMEL           GORDON
                                                                                                                                                                                                                                                                                                             WEST PENN              HEIDELBERG
SNYDER                                                                                                                                                                                                                                                             ST. CLAIR    MIDDLEPORT
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                                                                                                                                                                           HERNDON                  UPPER MAHANOY         ELDRED       BARRY              NORWEGIAN NEW PHILADELPHIA
                                                                                                                                                                                                                                                                                                                                                           Lehigh
                                                                                                             MCCLURE                WEST PERRY          PERRY                                                                                                                                                                                                   WHITEHALL
 WARRIORS MARK                                                                                 DECATUR                                                                                                                                                 MINERSVILLE PALO ALTO              NEW RINGGOLD
                                                                                                                                                                                                            UPPER                                                                                                                                                 NORTH
                                                                                                                                                                                                                                                                MOUNT CARBON                     EAST BRUNSWICK              LYNN                              CATASAUQUA
                                               JACKSON                            DERRY                                                                                                                MAHANTONGO
   BIRMINGHAM                                                                                                     FAYETTE                                                LOWER                                                                                               ORWIGSBURG                                                     LOWHILL

                                                                         Mifflin
                                 BARREE                                                                                                                                MAHANOY PILLOW LYKENS              HUBLEY         HEGINS        FRAILEY REILLY                                                                                                          CATASAUQUA

                                                                                                                                                                                                                                                                 Schuylkill
                         WEST                                                BURNHAM                                                             SUSQUEHANNA                                                                                                               LANDINGVILLE                      ALBANY                                   SOUTH        HANOVER
   SPRUCE CREEK                                                                                                                                                                                        WILLIAMS                                                                            WEST
                                                                                                 FERMANAGH                                                                                                                                                                                                                                          WHITEHALL
                                                                                                                                                                              BERRYSBURG      GRATZ                                                                                     BRUNSWICK                                  WEISENBERG
                                                                          LEWISTOWN                                                                                                                                                TREMONT
                                                                      JUNIATA  TERRACE                                                            LIVERPOOL       UPPER                                         TOWER CITY                                             SOUTH MANHEIM PORT CLINTON                                                              ALLENTOWN
                                       MILLER                                                                                                                                             WICONISCO                                                                                                               GREENWICH                       UPPER
               PETERSBURG                                                                       MIFFLINTOWN         THOMPSONTOWN                                 PAXTON                                                                                                                                                                                          SALISBURY
         ALEXANDRIA                               MENNO              GRANVILLE       MILFORD                                                                                                                                                                                                                                  MAXATAWNY         MACUNGIE
                                                                                                                               MILLERSTOWN                                                                                                                                                             WINDSOR

                                                                                              Juniata
                                                                                                                                                           MILLERSBURG      ELIZABETHVILLE                                                                                                 TILDEN
 CATHARINE PORTER                 HENDERSON                                                       PORT ROYAL                                                                                                                                                                                                                                   LOWER MACUNGIE EMMAUS
                        ONEIDA                          OLIVER                                                                                                                                                                     PINE GROVE                        UPPER        UPPER                                   KUTZTOWN                           UPPER SAUCON
                                                                                                    TURBETT                                                     HALIFAX                      JEFFERSON                                                           TULPEHOCKEN BERN                                                                   ALBURTIS
                    HUNTINGDON                                                                                                                                                                                                                                                               SHOEMAKERSVILLE                           TOPTON
                                                      MCVEYTOWN                    BEALE




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                                                                                                                                           HOWE
 Blair
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                                     BRADY                   BRATTON                                                        JUNIATA                       WATTS                                                   UNION                                                                                                                                   UPPER MILFORD
  WILLIAMSBURG         Huntingdon                                                    SPRUCE                                                              NEW BUFFALO                         Dauphin                      Lebanon                                                                LEESPORT
                                                                                                                                                                                                                                                                                                                   FLEETWOOD       ROCKLAND
                                                                                                                                                                                                                                                                                                                                                            LOWER MILFORD

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                                                                                       HILL                                                                                                                                 SWATARA
                                                                        TUSCARORA                       SAVILLE               CENTRE       WHEATFIELD                                                                                                                         BERNVILLE           ONTELAUNEE                               DISTRICT
WOODBURY                                                                                                                                                                                         EAST                                                   TULPEHOCKEN                                              RUSCOMBMANOR

                                                                                                                               Perry
                                                                                                                           BLOOMFIELD
                                                                                                                                                                                                                                                                                                                                          Berks
                                              WAYNE                                       NORTH                                                            REED                                HANOVER                    JONESTOWN
                                                                                                                                                                      MIDDLE  PAXTON                                                                                       NORTH                       MUHLENBERG
          PENN              MAPLETON NEWTON HAMILTON                                 EAST MADISON                                                DUNCANNON                                                                                                                                     BERN                                                     BALLY
                                                                                                                                                                                                                                                                        HEIDELBERG                                                                          PENNSBURG
                                        KISTLER                                                                                                                                                                                                                                       LOWER             LAURELDALE
      MARKLESBURG                                                                                                                                                                                                   NORTH                         MYERSTOWN                                                                    OLEY         BECHTELSVILLE
                                                                LACK                                                                                            DAUPHIN               WEST HANOVER                              NORTH LEBANON                  WOMELSDORF          HEIDELBERG
                                                                                                                                                                                                                  ANNVILLE                                 RICHLAND       ROBESONIA                READING LOWER ALSACE                  COLEBROOKDALE MARLBOROUGH
                                                                                           SOUTH WEST                                                                                                                         WEST LEBANON
 LINCOLN                                                                            BLAIN
                                                                                                            LANDISBURG
                                                                                                                               CARROLL                       MARYSVILLE                                     NORTH
                                                                                                                                                                                                                                                                                                  WEST READING ST.                    EARL BOYERTOWN NEW        County
                                                                                                                                                                                                                                                                                                                                                                    UPPER
                   CASS                  SHIRLEY                                             MADISON
                                                                                                          TYRONE                                 RYE                               LOWER               LONDONDERRY ANNVILLE         LEBANON                   MILLCREEK        WERNERSVILLE
                                                                                                                                                                                                                                                                                                WYOMISSING LAWRENCE
                                                                                                                                                                                                                                                                                                                                                                  Montgomery
                                                                                                                                                                                                                                    NORTH                                                                                                               HANOVER SALFORD
  HOPEWELL                                                                                                                                              EAST PENNSBORO             PAXTON                     PALMYRA SOUTH                                                                     SHILLINGTON
                  CASSVILLE        SHIRLEYSBURG
                                                                                                                                      MIDDLESEX                     HARRISBURG                               SOUTH     ANNVILLE
                                                                                                                                                                                                                                  CORNWALL                                WEST      SOUTH
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                                                                                                                                                                                                                                                                                                                     EXETER      AMITY    DOUGLASS              Municipalities
                                                                                                                                                       HAMPDEN                          SOUTH  HANOVER
                                                                                                                                                                                                                                                                       COCALICO HEIDELBERG
                                                                                                                                       Cumberland
                                                                                                                                                                          PENBROOK                                                CORNWALL                                                                                             UPPER POTTSGROVE
                                                                                                                                                                                                                                                                                  Lancaster
                                                                         TOBOYNE                                                                                                                         LONDONDERRY
            TODD                                                                                                                                                                         HUMMELSTOWN                        WEST CORNWALL SOUTH                                                     CUMRU             BIRDSBORO
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                                   ORBISONIA
                                                     TELL
                                                                                 40 Miles
                                                                                    LOWER MIFFLIN          LOWER
                                                                                                                                                   SILVER
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                                                                                                                                                                    LEMOYNE                                               MOUNT GRETNA        LEBANON                                ADAMSTOWN
                                                                                                                                                                                                                                                                                                                                         POTTSTOWN              District 9
                                                                                                                                                                                                                                                                                                                                                            SCHWENKSVILLE
                                                                                                                                                                                                                                                                                                              ROBESON
                                                                                                                                                                                                                                                                                                                                                         Chester
  CARBON                                                                                                              NORTH MIDDLETON                          CAMP HILL                               CONEWAGO                                                                                                                  NORTH COVENTRY                 PERKIOMEN
                                                              FANNETT                                    FRANKFORD                                                                                                                                             CLAY        DENVER

                                                                 Franklin                                                                                                             York
                               CROMWELL                                                                                                                                        LOWER SWATARA LONDONDERRY                                                                                       BRECKNOCK
  Bedford
 COALMONT            SALTILLO                                                                                                         SOUTH             SHIREMANSTOWN                                                                              ELIZABETH
                                                                                             UPPER FRANKFORD              CARLISLE                                                                                                                                                                                                                                   TRAPPE
                      THREE SPRINGS        DUBLIN                            UPPER MIFFLIN           WEST PENNSBORO                 MIDDLETON MECHANICSBURG                          HIGHSPIRE                   MOUNT JOY      RAPHO                               EPHRATA                                                          SOUTH COVENTRY
                                                                                                                                                                                                                                                      WARWICK                                        CAERNARVON                                               COLLEGEVILLE
BEALE      MILFORD                                                                                                                                                                                                                                                                                              PINE GROVE
                                                                                                                                                                                                                                                                                                                               Schuylkill
         Juniata
                     TURBETT
                                                       TUSCARORA                       Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 122 of 157
                                                                                                     NEWPORT
                                                                                                              HOWE                      BUFFALO
                                                                                                                                                                                                                      JEFFERSON

        Preliminary             Congressional Plan Amendment                 JUNIATA                 OLIVER                                  WATTS
                                                                                                                                                                                                                                     RUSH
                                                                                                                                                                                                                                                                                                                                   DISTRICT                               10
                                                                                                                                                                                               WAYNE                                                                           UNION
  SPRUCE HILL
                                Based on Holt Map                                                                    MILLER
                                                                                                                                                   NEW BUFFALO      HALIFAX
                                                                                                                                                                                                                                                                                                                          BETHEL                                Berks
                                   SAVILLE                                                                                                                                                                                                                                                                                                                        TULPEHOCKEN
                                                                                                                                                                                                                                                                                                          SWATARA
                                                                                  BLOOMFIELD
                                                                                                                                                  REED                                                                                                                                                JONESTOWN
   NORTH EAST                                                                     CENTRE                       WHEATFIELD
    MADISON
                                                                                                                                 DUNCANNON                                                                                              EAST HANOVER                                                                                                                       MARION


                                                              Perry
                                                                                                                                                                               MIDDLE PAXTON

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                                                                                                                                                                  DAUPHIN
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                                                                SPRING                                                                                                                                                                                                                                                                               JACKSON
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                                                                                                                                                                                                            Dauphin
                                                                                                                                                                                                                                                                                                                    LEBANON
                                               LANDISBURG                                                                                                                                                                                                                                             CLEONA WEST LEBANON
        SOUTH WEST                                                                     CARROLL                                                                                                                                                                         NORTH                                                                                             MILLCREEK
         MADISON                                                                                                                                                  MARYSVILLE SUSQUEHANNA                                                                                                       ANNVILLE
                                                                                                                                                                                                                                                                    LONDONDERRY
                                        TYRONE
                                                                                                                                 RYE                                                                 LOWER PAXTON                                                                                              NORTH
                                                                                                                                                              EAST                                                                                                     PALMYRA                                CORNWALL
                                                                                                                                                                                                                                                                                                                                   SOUTH LEBANON
                                                                                                                                                           PENNSBORO
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                                                                                                                                                                                                                                                                                             ANNVILLE          WEST
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                                                                                                                                                                                                                                                         DERRY
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                                                                                                                                                  HAMPDEN            WORMLEYSBURG              PAXTANG

                                                                             NORTH               MIDDLESEX              SILVER SPRING
                                                      LOWER                                                                                                                 LEMOYNE                                                                                                 SOUTH               MOUNT GRETNA
                          UPPER                                            MIDDLETON                                                                            CAMP HILL
                                                    FRANKFORD                                                                                                                                                                                                                    LONDONDERRY
                        FRANKFORD                                                                                                                                                  NEW                                                                                                                                                                                       CLAY
                                                                                                                                                         SHIREMANSTOWN          CUMBERLAND       STEELTON      LOWER SWATARA                                                                                                                            ELIZABETH
  LOWER MIFFLIN
                                                                                                                                       MECHANICSBURG             LOWER
                                                                                                                                                                 ALLEN                                      HIGHSPIRE
                                                                                   CARLISLE                                                                                                                                MIDDLETOWN
UPPER                                                                                                                                                                                                                                                                                                                                    PENN
MIFFLIN                                                                                                                                                                                                                      ROYALTON
                                        WEST                                                                                                   UPPER ALLEN                            FAIRVIEW
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                                                                   Cumberland
                                     PENNSBORO                                                                                                                                                                                                                                                                                                                            EPHRATA
                NEWVILLE
                                                                                                                       MONROE                                                                                                                                                    MOUNT JOY                        RAPHO
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  NORTH NEWTON                                                                                SOUTH
                                                                                            MIDDLETON                                                    MONAGHAN                   LEWISBERRY             NEWBERRY
                                                                                                                                                                                                                                                           WEST DONEGAL                                                                                                   WEST EARL
                                                                                  MOUNT HOLLY
                                                                                    SPRINGS                                                                                                                                       YORK HAVEN
                                                                                                                                 DILLSBURG                                                                                                       CONOY                                                                         EAST         EAST
                                                                  DICKINSON
                                                                                                                                                                                                                                                                                                                             HEMPFIELD   PETERSBURG                          UPPER
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                                                                                                                                                                                                                                                                            EAST DONEGAL                                                                                    LEACOCK
                   SOUTH
                  NEWTON
                                                                                                                                FRANKLINTOWN                    WARRINGTON                                                                                                                                                          Lancaster
                                                                                                                                                                                                          CONEWAGO
SHIPPENSBURG                                                                                                                                                                                                                      MOUNT WOLF                                     MARIETTA                    WEST
                                                                                                                                                           WELLSVILLE                                                                                                                                      HEMPFIELD
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                                                                                                                                                                                                                                        EAST                                                                      MOUNTVILLE                             LANCASTER        LAMPETER
                                               COOKE                                                                                                                                                                                 MANCHESTER                                                   COLUMBIA
     SOUTHAMPTON                                                                                                                                                                                                                                                                       WRIGHTSVILLE
                                                                                                                  LATIMORE
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                                                                                                       YORK SPRINGS                                                                                                 MANCHESTER
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                                                                                                                                                                                                                                                                   HALLAM                                                             MILLERSVILLE
                                                                                                HUNTINGTON                                                                        DOVER                                                                                                                                                                               WEST LAMPETER
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                                                    MENALLEN                                                                                                                                                                NORTH YORK
                                                                BENDERSVILLE                                                                                                                                                                                           YORKANA
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                                                                                                                                  READING
                                                                                                                                                                                                                WEST YORK                                                          LOWER WINDSOR
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                                                                                                                                                  EAST BERLIN                                            MANCHESTER                                               WINDSOR
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                                                                                                                                                                                                                                    York
                                                                 BIGLERVILLE
                                               ARENDTSVILLE
                                                                         BUTLER                                                                                                                                                                   YORK
                                                                                                                                                                PARADISE                                                                                                                                                                                                PROVIDENCE
                                                                                                                                                                                                                                                          YOE
                        FRANKLIN                                                                                                    HAMILTON                                                              NEW SALEM                               DALLASTOWN
GREENE
                                                                                                                                                                                                                                                                 RED LION
                                                                                           STRABAN                                           ABBOTTSTOWN                                                                          JACOBUS                                                               CHANCEFORD

                                                                            Adams
                                                                                                                                                                                  SPRING GROVE
                                                                                                                                                                                                 NORTH CODORUS                                                                                                                                         MARTIC
                                                                                                                        NEW OXFORD            BERWICK                                                                               LOGANVILLE
GUILFORD                                                                                                                                                                                                      SEVEN VALLEYS                                                     FELTON
                                                                                                                              OXFORD
                                                                                                                                                                                                                              SPRINGFIELD                   WINTERSTOWN                                                        LOWER
                                                                    GETTYSBURG                             MOUNT                                                                                                                                                                                                             CHANCEFORD
                                         HIGHLAND                                                         PLEASANT                                 HANOVER                                                                                                              CROSS ROADS
                                                                                                                                                                                                                                                            NORTH
                                                                                               BONNEAUVILLE                                                                                                                                                HOPEWELL                                                                                                     DRUMORE
          HAMILTONBAN
                                                                                                                              MCSHERRYSTOWN                                                                                                                                        EAST HOPEWELL
                                                                CUMBERLAND                                                                                                                                                 GLEN ROCK
QUINCY                      FAIRFIELD                                                                                                                                                                     CODORUS



 Franklin
                                                                                                                                                                                                                                                                 HOPEWELL
                                                                                                                                                                                                                                       RAILROAD                                                              FAWN
                        CARROLL                     FREEDOM                                                                                                                                                                                                                                                                                                                  FULTON
                                     LIBERTY                                                                                                                                                                                                                      STEWARTSTOWN                                                                  PEACH BOTTOM
                         VALLEY
                                                                                                                LITTLESTOWN                               WEST MANHEIM
                                                                                                        GERMANY                                                                                                                     NEW FREEDOM     SHREWSBURY                                               FAWN GROVE
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     .                  5                      10                                          20 Miles
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                                                WICONISCO     LYKENS                                                        TREMONT                                                                                                            SOUTH MANHEIM
 UPPER
PAXTON           ELIZABETHVILLE                                                        Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 123 of 157
                                                                                                                    Schuylkill                                                                   WASHINGTON
                                                                                                                                                                                                                                                                                                           HAMBURG
                                                                                                                                                                                                                                                                                                                                                           GREENWICH

                                                                                                                                                       Preliminary Congressional Plan Amendment
                                                                                                                                                            PINE GROVE
                                                                                                                                                                                                                                                                                            TILDEN
                                                                                                                                                                                                                                                                                                                                  DISTRICT                              11
                             JACKSON
                                                                                                                                                                   Based on Holt Map                                                                              UPPER BERN
                                                                                                                                                                                                                                                                                                                                   PERRY
                                                                                                                                                                                                                                                                                                                                                                     KUTZTOWN
                                                                                                                                                                                                                                                                                                                                                                  MAXATAWNY
                                                       JEFFERSON                                                                                                                                                                             UPPER
                                                                          RUSH                                                                                                                                                            TULPEHOCKEN                                                      SHOEMAKERSVILLE
                                                                                                                                                                                                                                                                                                                                                           RICHMOND
                                                                                                                                                                                                                                                                                                CENTERPORT

                                                                                                         UNION                                                                              BETHEL                                                                                             CENTRE

                WAYNE                                                                                                                                                                                                                                                                                                                   MAIDENCREEK
                                                                                                                                                                                                                                                                                                                                                                 FLEETWOOD


                                   Dauphin
                                                                                                                                                                                                                                                                                                                  LEESPORT
                                                                                                                                                                                                             TULPEHOCKEN
HALIFAX                                                                                                                                                                                                                                                    BERNVILLE                                                      ONTELAUNEE
                                                                                                                                                                                                                                                                                                                                                          RUSCOMBMANOR
                                                                                                                                          SWATARA
                                                                                                                                                                                                                                                                                                                                                                        ROCKLAND
                                                                                                                                      JONESTOWN

             MIDDLE PAXTON                                                                                                                                                                                                                                                                              BERN              MUHLENBERG
                                                                EAST HANOVER                                                                                                                                                                              NORTH
                                                                                                                                                                                                                      MARION                            HEIDELBERG
                                                                                                                                                                                                                                                                                                                                  LAURELDALE
                                                                                                                                                                                                                                                                                                                  Berks
                                                                                                                                                                                                                                                                                                                                                      ALSACE
                                                                                                                                                          NORTH LEBANON

                                                                                                                                           Lebanon
                                                                                                                                                                                            MYERSTOWN                                                                                                                                                                      OLEY
                                                                                                                                                                                                                                    WOMELSDORF
                                          WEST HANOVER                                                            NORTH                                                                                                                                                          LOWER
                                                                                                                 ANNVILLE                                                                                     RICHLAND
                                                                                                                                                                                                                                                   ROBESONIA                   HEIDELBERG                                     READING          LOWER
                                                                                                                                              WEST LEBANON                                                                                                                                                                                     ALSACE
                                                                                                                                                                                                                                                                                                                  WEST READING
                                                                                                NORTH                                                     LEBANON
                                                                                                                             ANNVILLE   CLEONA                                                                                                                                                                 WYOMISSING
                                                                                             LONDONDERRY                                                                                                                 MILLCREEK                                  WERNERSVILLE                                                        MOUNT PENN       ST.
                                                                                                                                                                                                                                                                                             SINKING
                     LOWER PAXTON                                                                                                                                                                                                                                                                                                                     LAWRENCE
                                                                                                                                                                                                                                                                                             SPRING
                                                                                                                                               NORTH                                                                                                               SOUTH
                                                                                                                                                                      SOUTH LEBANON                                                                                                                                                                            EXETER
                                                                                              PALMYRA                                         CORNWALL                                                                                                           HEIDELBERG                                               KENHORST

                                                     SOUTH HANOVER                                                                                                                              HEIDELBERG                                                                                                 SHILLINGTON
   SUSQUEHANNA                                                                                                            SOUTH                                                                                                                                                       SPRING
                                                                                                                         ANNVILLE               WEST                                                                                                                                                    MOHNTON
                                                                                                                                              CORNWALL                                                                                                                                                                CUMRU
          PENBROOK                                                             DERRY                                                                                                                                                      WEST COCALICO                                                                                                                    AMITY
                                                     HUMMELSTOWN                                                                                             CORNWALL
HARRISBURG PAXTANG                                                                                                                                                                                                                                                                                                                                                   BIRDSBORO


                                                                                                                SOUTH                 MOUNT GRETNA
LEMOYNE                                                                                                                                                                                                                                                                       ADAMSTOWN
                                                                                                             LONDONDERRY                                                                                             CLAY
NEW CUMBERLAND
                                                                                                                                                                                                                                                     DENVER                                                                                     ROBESON

LOWER     Cumberland               LOWER SWATARA
                                                                                                                                                                                             ELIZABETH                                                       EAST COCALICO
ALLEN                   STEELTON
                              HIGHSPIRE      MIDDLETOWN                                                                                                                                                                                EPHRATA                                         BRECKNOCK

                                                 ROYALTON
          FAIRVIEW                                              LONDONDERRY                                                                                                      PENN                                                                                                                                                      NEW MORGAN


                                                                                                             MOUNT JOY                            RAPHO
                                                                                                                                                                                                                                  AKRON                                        TERRE HILL                                                                                 EAST
                                        GOLDSBORO                                                                                                                                               LITITZ     WARWICK                                                                                                                                       ELVERSON
                                                                                         ELIZABETHTOWN                                                                                                                                                                                                                                                                  NANTMEAL
                                                                                                                                                                                                                                                                                                                   CAERNARVON
  LEWISBERRY                NEWBERRY
                                                                                   WEST DONEGAL                                                                                                                                                                     EARL
                                                                                                                                                                                                                                       WEST EARL
                                                                                                                                                                                                                                                                                      EAST EARL                                                             WEST NANTMEAL
                                                     YORK HAVEN     CONOY
                                                                                                                                                                                EAST
                                                                                                                                                                                                                                                                  NEW HOLLAND
                                                                                                                                                                             PETERSBURG
WARRINGTON                                                                                                                                                                                      MANHEIM
                                                                                                        EAST DONEGAL                                                   EAST                                                                                                                                                                                             WALLACE
                                                                                                                                                                     HEMPFIELD                                                    UPPER LEACOCK                                                                                         HONEY BROOK

                          CONEWAGO
                                                         MOUNT WOLF                                                                          WEST
                                                                                                             MARIETTA
                                                                                                                                           HEMPFIELD                                                                                                                                                                                                                 WEST
                                                                                                                                                                                                              Lancaster
                                                               EAST                                                                                                                                                                                                                                                                                               BRANDYWINE
                                                            MANCHESTER                                                                              MOUNTVILLE                              LANCASTER                                                        LEACOCK
                                                                                                                                COLUMBIA                                                                                                                                                               SALISBURY
                                                                                                                                                                                                                               EAST LAMPETER
                                                                                                                 WRIGHTSVILLE
                                                                                                                                                                                                                                                                                                                                         WEST CALN
        DOVER                                                                             HELLAM
                                        MANCHESTER
                                                                                            HALLAM
                                                                                                                                                                             MILLERSVILLE                                                                                                                                                                                    CALN
                                                                                                                                                                                                           WEST LAMPETER
                                                                  SPRINGETTSBURY
                                                                                                                                                           MANOR                                                                                               PARADISE                                                                                           COATESVILLE
                                                                                                                                                                                                                                                                                                                                                        VALLEY
                                                   NORTH YORK
                                                                                                   YORKANA                                                                                                                                                                                                                                                           SOUTH
                                                                                                                   EAST PROSPECT
                                                                                                                                                                                                PEQUEA                                                                                                            WEST SADSBURY                                    COATESVILLE
                                                                                                                                                                                                                                                                                                                              PARKESBURG                               MODENA
                                    WEST YORK                                                                    LOWER WINDSOR                                                                                                                                                                       CHRISTIANA
                                                                                                                                                                                                                                     STRASBURG
                                                                                                                                                                                                                                                                                                                                                                EAST
                              WEST                                                                                                                                                                                                                                                                             ATGLEN
                                                                                          WINDSOR                                                                                                                                                                                                                                                           FALLOWFIELD
                           MANCHESTER           SPRING                                                                                                                                                                                                                                       SADSBURY
                                                GARDEN                                                                                                                       CONESTOGA
                                                                                                                                                                                                                                                                           BART                                                          HIGHLAND
                                                                        YORK                                                                                                                                                                          EDEN
                                                                                                                                                                                                                     PROVIDENCE
                                                                                   YOE
                                                                     York                                                                                                                                                                                                                                                                  Chester
                            NEW SALEM                                                        RED LION                                                                                                                                                                                                                  WEST
                                                                               DALLASTOWN                                                                                                                                                                                                                                                                            WEST
                                                                                                                                                                                                                                          QUARRYVILLE                                                              FALLOWFIELD
                                                                                                                                                                                                                                                                                                                                                                 MARLBOROUGH
SPRING GROVE                                             JACOBUS                                                                      CHANCEFORD
                        NORTH CODORUS
                                                                                                                                                                                                MARTIC
                                                          LOGANVILLE
                                   SEVEN VALLEYS                                                          FELTON                                                                                                                                                           COLERAIN
                                                                                                                                                                                                                                      EAST DRUMORE

                                                                                    WINTERSTOWN                                                                                                                                                                                                                   UPPER OXFORD
                                                    SPRINGFIELD




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                                                                                                                                                                                                                                                                                                                                                                 LONDON GROVE
                                                                                                   CROSS ROADS                                                        LOWER                                                                                                                                                                                 WEST GROVE
                                                                                        NORTH                                                                       CHANCEFORD                                  DRUMORE                                                                              LOWER OXFORD
                                                                                       HOPEWELL
                                                                                                             EAST HOPEWELL
                                                GLEN ROCK                                                                                                                                                                                                       LITTLE
                             CODORUS
                                                                                                                                                                                                                                                                BRITAIN                                     OXFORD
                                                 SHREWSBURY
                                                                                            HOPEWELL
                                                                                                                                                                                                                                                                                                                                            NEW LONDON  County
                                                                                                                                                                                                                                                                                                                  EAST
                                                             RAILROAD                                                                      FAWN                                                                                       FULTON                                                                   NOTTINGHAM                               Municipalities
                                                                                                                                                                                                                                                                                                                                                            FRANKLIN
                                                                                            STEWARTSTOWN                                                                                    PEACH BOTTOM                                                                          WEST
 0                   4.25                 8.5                                       17 Miles                                                                                                                                                                                   NOTTINGHAM                                            ELK                District 11
                                                           NEW FREEDOM                                                                                                                                                                                                                                                                                                    LONDON
WEST MANHEIM                                                                                                                                 FAWN GROVE
                                                                                                                                                                                        DELTA                                                                                                                                                                             BRITAIN
  NORTH EAST
                                                                                              Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 124 of 157
                                                                                                                                                 Preliminary Congressional Plan Amendment                                                                                                                                                     DISTRICT                                12
                                                                                                                                                             Based on Holt Map
   VENANGO

      WATTSBURG                                         BEAR
                                                        LAKE                                                                                                                                                                                                                                                                                            OSCEOLA               LAWRENCEVILLE
       AMITY                                                                                                                                                                                                                                                                                                                                                       ELKLAND NELSON
                                                                                                                                                                                                                                         SHINGLEHOUSE                                                                         BROOKFIELD

                     Erie
                                                                              SUGAR                                                                                                                                             CERES                                                                                                           KNOXVILLE
                                                             FREEHOLD                                     PINE GROVE                                                                                                                                             OSWAYO        GENESEE          BINGHAM        HARRISON
                                                                                                                                                                                    FOSTER          OTTO                                       SHARON
WATERFORD                                     COLUMBUS                        GROVE
                                    CORRY                                                                                                     CORYDON                                                                                                                                                                                                                                    TIOGA
                                                                                                                                                                      BRADFORD
UNION CITY         ELGIN                                                                                                                                                                                                                   PLEASANT                                                                             WESTFIELD
                           CONCORD                                                                                                                                                                                          ANNIN           VALLEY
LEBOEUF                                                                  BROKENSTRAW         CONEWANGO              GLADE                                               LEWIS RUN                                                                                                                                                                      CHATHAM
                                                                                                                                                                                                                                                                 HEBRON        ALLEGANY                          HECTOR                                                 MIDDLEBURY
                                                                             YOUNGSVILLE                                                                                                                                                             CLARA
                                                                                                         WARREN                                                                              KEATING                                                                                                                             CLYMER
                                                               PITTSFIELD                                                                                                                                                                                                                                                                                                            RICHMOND
                      SPARTANSBURG
 BLOOMFIELD                                                                                                                                                           LAFAYETTE
                                                                                                                                                                                                                                                                                                                                                          Tioga
                                                                                                                          MEAD                                                                                          PORT ALLEGANY                                                           ULYSSES
                         SPARTA                                                                                                                                                                     SMETHPORT

                                                                Warren
                                                                                                PLEASANT                                                                                                                                                                        SWEDEN
       Crawford                                                                                             CLARENDON                        HAMILTON
                                                                                                                                                                                                              McKean           LIBERTY        ROULETTE        COUDERSPORT
                                                                                                                                                                                                                                                                              Potter                                                                                         CHARLESTON
                                                                                                                                                                                                                                                              EULALIA                                                            GAINES
  ATHENS                                                              DEERFIELD                                                                                                                                                                                                                                                                                    WELLSBORO
       CENTERVILLE             ROME                                                                                                                                                        HAMLIN                                                                                                                   GALETON
                                                                                                                                                                          MOUNT JEWETT                                                                                                                                                                         DELMAR
                                                                                        WATSON                                                    WETMORE
        STEUBEN
                                                                      TIDIOUTE                                          SHEFFIELD                                                                                                                                 HOMER                                WEST BRANCH
TOWNVILLE                  OIL CREEK                                                               CHERRY GROVE                                                                                                      NORWICH                                                    SUMMIT
                                            SOUTHWEST        TRIUMPH                                                                                   KANE                                                                                                                                                                                                                              BLOSS
                   HYDETOWN                                                                                                                                                              SERGEANT                                                                                                                                                                           DUNCAN
       TROY                                                                                                                                                                                                                                             AUSTIN
                            TITUSVILLE
                                                                                                                                                                                                                                                                 SYLVANIA                                  ABBOTT                     ELK
RANDOLPH                               PLEASANTVILLE                                                                                                                                                                                            PORTAGE
                                                            HARMONY         HICKORY                                                                                                                                                                                                                                                                              MORRIS
                    CHERRYTREE                                                                                    HOWE
                                                                                        KINGSLEY                                                                                 JONES

                                                                                             Forest                                       HIGHLAND                                                                                                                          WHARTON
                                                                                                                                                                                                                                                                                                        STEWARDSON
 COOPERSTOWN                  CORNPLANTER                                                                                                                                                                                SHIPPEN EMPORIUM
                                                                                                                                                                      JOHNSONBURG                                                                                                                                                         BROWN
               OAKLAND
                                                                                                                JENKS                                                                                                                         LUMBER                                                                                                                       PINE
                         ROUSEVILLE         PRESIDENT                                                                                                          RIDGWAY
                                                                                                                                                                                                                                         Cameron
                                                             TIONESTA                                                                                                                       ST. MARYS
  SUGARCREEK
                         OIL CITY

                                                                                                                                                                         Elk
                                                                                                                        MILLSTONE                                                                                                                                                     LEIDY                                                   MCHENRY                              COGAN HOUSE
                                                                                                                                                                                                                                                                                                              CHAPMAN
FRENCHCREEK                                                                                                                              SPRING CREEK                                                                                                         GROVE
                                                                                                                                                                                                                                                                                                                                                                Lycoming
                                              PINEGROVE                            FARMINGTON         BARNETT
                         CRANBERRY
SANDYCREEK
                     Venango                                                                                              HEATH
                                                                                                                                                                                                                                              DRIFTWOOD
                                                                                                                                                                                                                                                                                                      RENOVO                                                   CUMMINGS               LYCOMING

                                                                      Clarion
                                                                                                                                                                                    FOX                 JAY          BENEZETTE                                                                    SOUTH RENOVO                   GALLAGHER                                        MIFFLIN
VICTORY                                                                                                                              POLK                       HORTON                                                                                                                         NOYES                                                                                    ANTHONY
                 ROCKLAND                   ASHLAND                                                                                                                                                                                           GIBSON               EAST KEATING
                                                                                                                                                                                                                                                                                                                                                                            SALLADASBURG
                                                                                       MILLCREEK
                              RICHLAND                  SHIPPENVILLE                                      ELDRED                                      BROCKWAY                                                                                                                                                          GRUGAN

CLINTON                                                                                                                      WARSAW                                                                                                                                                                    Clinton                                                                PIATT

                                                                                                                             Jefferson
                                                                                                                                                                                                                                                             WEST KEATING                                                        COLEBROOK                  PINE CREEK JERSEY
CLINTONVILLE                                       BEAVER                   STRATTANVILLE                                                                                                HUSTON
                                                                                                                                                                                                                                                                                                                                                      DUNNSTABLE   AVIS SHORE     BASTRESS
                     EMLENTON                                                CLARION           CORSICA                                      WASHINGTON
                                                                                                             BROOKVILLE                                                                                                                                                                                 BEECH CREEK      BALD                                         NIPPENOSE
      CHERRY VALLEY      ST. PETERSBURG                                                                                                                               SANDY                                                                       KARTHAUS                                                                                  ALLISON
                                        LICKING   PINEY                                            CLOVER                   PINECREEK             FALLS CREEK                                                               GIRARD                                                                                      EAGLE
         EAU CLAIRE      FOXBURG                                                 LIMESTONE                   ROSE
                                                                  MONROE                                                                                                                                                                                                  BURNSIDE                                                         LOCK HAVEN
                          HOVEY      CALLENSBURG                                                                                                              DUBOIS                                                                                                                                                                     FLEMINGTON
                 ALLEGHENY                                                                     SUMMERVILLE                                                                                                      GOSHEN
                                                SLIGO                                                                                                                                                                                                                                                                                  MILL HALL  CASTANEA
                       PARKER CITY                                                                                                                                                                                                       COVINGTON                                                                                                                        CRAWFORD
                                                                                                                         KNOX           REYNOLDSVILLE                                                                                                                                              CURTIN
                   PARKER        PERRY
CHERRY                                       TOBY                                                                                           WINSLOW                                                                                                                                                                                                    LAMAR            GREENE
                     BRUIN                                                                                                                                            BRADY
                                                                                                                                                 SYKESVILLE                                             LAWRENCE                                                            SNOW SHOE
                                            RIMERSBURG                  PORTER

                                                                                                                                                                                                        Clearfield
                                                                                                 WORTHVILLE                     MCCALMONT              TROUTVILLE                                                                                                                                                                                                   LOGANTON
                     PETROLIA                                                      HAWTHORN                                                                                    BLOOM                                                 GRAHAM
                                                                             SOUTH                                                                                                           PIKE                                                COOPER                                                     HOWARD
                  KARNS CITY                                                                   RINGGOLD
                                                                                                                                                                                                                                                                                               BOGGS
                                                                                                                                                                                                                                                                              Centre
                                                                           BETHLEHEM REDBANK                                                                                                                                                                                                                         MARION
                  FAIRVIEW          EAST BRADY                                                                                                                                               CURWENSVILLE
                                                                                            TIMBLIN                                         BIG RUN                                                                                                                                                                                                                                       LEWIS
                                                            MADISON       MAHONING                                                                                                GRAMPIAN                               WALLACETON
                                                                                                                                                                                                                                                                                                                                                           MILES
                                                                                                                                                                                                                                                                                                                                                                                    Union
                  CHICORA                                                                                                                                                                                                                                                                                               WALKER
                                                                                                                            PUNXSUTAWNEY      GASKILL                                                                                                                           UNION          MILESBURG

           Butler
                                                                                                                                                               BELL

                                                                        Armstrong
                                                                                                                                                                         GREENWOOD                                                                                                                BELLEFONTE
                                                                                                      WEST                                                                                                                        PHILIPSBURG                                     UNIONVILLE                                                                   HAINES              HARTLETON
  EAST                                                                                                                                                                                                                           CHESTER HILL        RUSH                                                                                   MILLHEIM
                                  WEST                                                       DAYTON MAHONING         NORTH                                     MAHAFFEY                                                                                                                                                                                                       HARTLEY
 BUTLER                                      EAST FRANKLIN                                                                          CANOE                                                                                                                                                     BENNER
                                FRANKLIN                                                          SMICKSBURG        MAHONING                   BANKS                                                           WOODWARD                                                                                                       GREGG
                                                                                                                                                                                                        OSCEOLA
BUTLER                         WORTHINGTON     RAYBURN                                                                                              NEWBURG                                               MILLS                                                                  CENTRE HALL
                                                                                                                                                                   JORDAN                      BRISBIN                              WORTH
                                                                                         SOUTH                                                                                       BIGLER

                                                                                                                                                                                                                                                                                                                                                                                    Snyder
                                     WEST KITTANNING      VALLEY                                        EAST                                                                                 HOUTZDALE                                               PATTON
                                                                                        MAHONING                               GLEN CAMPBELL         NEW                                                                                                          COLLEGE
                                          APPLEWOLD              RURAL VALLEY                        MAHONING
                                                                                                                                                 WASHINGTON              GLEN   HOPE      RAMEY                                    PORT MATILDA                                       POTTER                                           SPRING
                           NORTH BUFFALO MANORVILLE                                  PLUMVILLE                       GRANT                                                                                                                                STATE COLLEGE
  JEFFERSON WINFIELD                                  KITTANNING COWANSHANNOCK                          MARION                                                        IRVONA                                                             HALFMOON
                                                                                                                             MONTGOMERY                    CHEST                                                        TAYLOR
                                          FORD CITY                                                     CENTER                                                             BECCARIA      GULICH                                                                         HARRIS                                                   WEST
                                  CADOGAN                                                                                                                                                                                                                                                                  ARMAGH                           BEAVERTOWN
    SAXONBURG                                                              ATWOOD                                                                  WESTOVER            COALPORT                                                                                                                                                 BEAVER
                                             MANOR                                                                                                                                                                                                FERGUSON
                            SOUTH                              PLUMCREEK                                                           CHERRY TREE
                           BUFFALO                                                                 RAYNE
               BUFFALO                   BETHEL                                                                                                                                                            SNYDER                                                                                                                MCCLURE             WEST
                                                                 ELDERTON                                                 GREEN      SUSQUEHANNA                                                                           WARRIORS MARK
                                                                                                                                                      ELDER                          READE                                                                                                                          DECATUR                          PERRY
                      FREEPORT                                                     CREEKSIDE

                                                                                                             Indiana
                                  GILPIN                                                                                                         HASTINGS                                                                          FRANKLIN                         JACKSON
  WEST                                     PARKS                     SHELOCTA
              FAWN                                                                                                                       NORTHERN                                                               BIRMINGHAM                                                                                                            FAYETTE
                                                                                                                                                                                                                                                                                                                    Mifflin
  DEER                                                                                                                                                                                                                                                BARREE
                                                            SOUTH                                                                         CAMBRIA WEST
Allegheny
                                  HYDE PARK                            ARMSTRONG                                                                                                                  ANTIS                                      WEST                                                 BURNHAM
                                                             BEND                                          CHERRYHILL                             CARROLL                                                              SPRUCE CREEK
                   LOWER                                                                                                                                                                                                                                                                                              FERMANAGH
                                                                                                                                      BARR    CARROLLTOWN       CLEARFIELD                     BELLWOOD                                                                                        LEWISTOWN
                  BURRELL        EAST VANDERGRIFT                                            WHITE                                                                              DEAN                                                                                                                                                         DELAWARE
INDIANA EAST DEER                                                                                                                                   EAST     CHEST                                                                                                                          JUNIATA TERRACE
                                  OKLAHOMA KISKIMINETAS                                                                                                                                                   TYRONE                                            MILLER
       NEW KENSINGTON                                             YOUNG                                                                           CARROLL SPRINGS                                                                  PETERSBURG                                                                        MIFFLINTOWN        THOMPSONTOWN
                                                                                                                                                               Cambria
        SPRINGDALE                                                                                                                                                   ASHVILLE                                                ALEXANDRIA                               MENNO               GRANVILLE       MILFORD
                         UPPER BURRELL                                                                                                                                                 LOGAN
      CHESWICK                                                                         HOMER  CITY                                                                                                                                                                                                                                            MILLERSTOWN
                                                                                                      BRUSH                                                                                                                                          HENDERSON
                                    Westmoreland
                                                                                                                                                                     GALLITZIN                                                              ONEIDA                                                                   PORT ROYAL

                                                                                                                                                                                                                          Blair
 FOX CHAPEL                                         AVONMORE                                          VALLEY      BUFFINGTON BLACKLICK                                                                         CATHARINE                                                    OLIVER
                                                                                       CENTER                                                  CAMBRIA
   VERONA       PLUM                                                                                                                                      LORETTO                        ALTOONA                                                                                                        BEALE            TURBETT
                                                                                                                                                                                                                                        HUNTINGDON                       MCVEYTOWN
    BLAWNOX                                                                                                                                  EBENSBURG
                                                                                                                                                                                                                                                                                                                          Juniata
                                                    SALTSBURG                                                         VINTONDALE                                    TUNNELHILL              FRANKSTOWN
  PENN HILLS                                                                                            EAST                                                                                                                          SMITHFIELD                                  BRATTON                                                           NEWPORT
                                                                                                                                  NANTY GLO                  SANKERTOWN                                       WILLIAMSBURG
                                                                                                                                                                                                                                                                                                                                                                          Perry
 PITTSBURGH                                        LOYALHANNA                                       WHEATFIELD                                                                                                                                                                                            SPRUCE
                        MURRYSVILLE                                               BURRELL                                                            MUNSTER CRESSON                                           WOODBURY
WILKINSBURG                               SALEM                                                                                                                                        HOLLIDAYSBURG                                               MILL CREEK                                               HILL
                                                                          BLAIRSVILLE            WEST                                                        LILLY                                                                                                 WAYNE                     TUSCARORA                      SAVILLE              CENTRE
SWISSVALE MONROEVILLE                                                                                                                                                             DUNCANSVILLE
                              EXPORT DELMONT                                                  WHEATFIELD SEWARD                                                                                                            PENN                                                                               NORTH
     EAST PITCAIRN                                                                                                                                      CASSANDRA                          BLAIR
 PITTSBURGH TRAFFORD                                 NEW ALEXANDRIA                      BOLIVAR                            MIDDLE                                       JUNIATA     NEWRY                                                        MAPLETON      NEWTON                                    EAST MADISON                           WHEATFIELD
                                                                                                                      WEST TAYLOR               WILMORE

                                                                                                                                                                                                                                                                  Huntingdon
                                                                                                                                                                                                                                                               HAMILTON




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EAST MCKEESPORT                                                      DERRY                      NEW FLORENCE                                                                                                      MARKLESBURG
 WEST MIFFLIN                                                                                                        TAYLOR            EHRENFELD
                                                                                                       ST. CLAIR                     SOUTH FORK                                                                                                                                      LACK                          SOUTH
DRAVOSBURG                                                                                                              EAST CONEMAUGH                                        FREEDOM
                 NORTH IRWIN                                                                                                                                                            ROARING                                                                                                          BLAIN     WEST         LANDISBURG
 GLASSPORT                     JEANNETTE                                                                           BROWNSTOWN                   CROYLE                                                              LINCOLN                                   SHIRLEY                                                                              CARROLL
                     IRWIN                                                                FAIRFIELD                                                       SUMMERHILL                     SPRING                                        CASS                                                                      MADISON
  VERSAILLES                                                 LATROBE                                             WESTMONT DALE                                           GREENFIELD              MARTINSBURG
   SOUTH VERSAILLES     ADAMSBURG GREENSBURG
CLAIRTON                        SOUTHWEST GREENSBURG                                                                                                                                                NORTH                             CASSVILLE         SHIRLEYSBURG
                                                                                                                       FERNDALE             ADAMS
JEFFERSON HILLS                          SOUTH               YOUNGSTOWN                                                                                         PAVIA                             WOODBURY
                           ARONA                                                                                                                                                                                                                                                              TOBOYNE                                           NORTH
ELIZABETH                             GREENSBURG                              LIGONIER                                                                                                                                          TODD                                      TELL
           SEWICKLEY                                       UNITY                                                                                                            KIMMEL                                                                                                                                                            MIDDLETON
     SUTERSVILLE                 YOUNGWOOD                                                                       CONEMAUGH SCALP LEVEL                                                                                                                  ORBISONIA                                           LOWER       UPPER       LOWER
                                                                                                                                                                                                                      CARBON
                                                                                                                                                                                                               Bedford
FORWARD WEST                 NEW STANTON                                              LAUREL
                                                                                                                                   WINDBER
                                                                                                                                                                                                                          BROAD                      CROMWELL                                               MIFFLIN  FRANKFORD    FRANKFORD
                                                                                                                                                                                                                                                                                                                                                  MIDDLESEX             County
                                                                                                       JENNER                                                                                                   COALMONT TOP              SALTILLO
           NEWTON              HUNKER                                                MOUNTAIN                          BENSON PAINT            OGLE      WEST ST.          KING                                                           THREE SPRINGS                                                   UPPER                 WEST            CARLISLE
    DONORA             SOUTH                      MOUNT
                                                                                                                                                          CLAIR                          SOUTH
                                                                                                                                                                                                                           CITY
                                                                                                                                                                                                                                  WOOD    CLAY             SHADE GAP
                                                                                                                                                                                                                                                                                FANNETT                  MIFFLIN             PENNSBORO                                  Municipalities
                                                                                                                                                                                                                                                                                                           Franklin
 MONESSEN           HUNTINGDON                   PLEASANT                COOK                      JENNERSTOWN                                                                         WOODBURY                COALDALE                                                                                              NEWVILLE                       SOUTH

                                                                                                                                                                                                                                                                                                                                                               Cumberland
                                                                                                                                                                              ST.
    NORTH     SMITHTON                                                                                   BOSWELL HOOVERSVILLE                                                                                                                                                                                                                     MIDDLETON
  0
BELLE VERNON             10
                                    EAST
                                HUNTINGDON    20                                       40 Miles                                              SHADE                       CLAIRSVILLE                          BROAD TOP
                                                                                                                                                                                                                                                SPRINGFIELD
                                                                                                                                                                                                                                                              DUBLIN                                              NORTH                                            District 12
                                                                                                                  QUEMAHONING                                                                    HOPEWELL                                                                                                        NEWTON
                                                                                                                                                                                                                                                             Fulton
   BELLE VERNON                                 BULLSKIN                                                                                                                                                                    WELLS                                                         LURGAN
 Washington                                             Fayette
                                                                  DONEGAL                                                                                           EAST  ST.                                                                                                                                                                       MOUNT

                                                                                                         Somerset
                      LOWER        SCOTTDALE                                                                                       CENTRAL CITY         NEW PARIS
                                                                                                                  STOYSTOWN                                           CLAIR    BEDFORD SNAKE SPRING              EAST                                                METAL                                                               DICKINSON HOLLY
                     TYRONE                                SALTLICK                                                                                  NAPIER                                                                                                                    LETTERKENNY       SOUTHAMPTON     SOUTH NEWTON
                                  EVERSON                                                                 SOMERSET     STONYCREEK                                                                             PROVIDENCE                                                                                                                           SPRINGS
                                                                            Elk      GIBSON
                                                                                                  Cameron
                                                                                                          GROVE                      EAST KEATING                                                                                                             WATSON                                      WILLIAMSPORT            LOYALSOCK       FAIRFIELD MUNCY           HUGHESVILLE

                                                                                                  Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 125 of 157
                                                                                                                  WEST KEATING
                                                                                                                                                                               NOYES
                                                                                                                                                                                                   GRUGAN
                                                                                                                                                                                                                    COLEBROOK
                                                                                                                                                                                                                                         GALLAGHER
                                                                                                                                                                                                                                                             PINE
                                                                                                                                                                                                                                                                             PIATT                            DUBOISTOWN
                                                                                                                                                                                                                                                                                                                   ARMSTRONG
                                                                                                                                                                                                                                                                                                                                                                               WOLF

          HUSTON                                                                                                                                             Preliminary Congressional Plan Amendment                                                       CREEK JERSEY SHORE
                                                                                                                                                                                                                                                                AVIS      NIPPENOSE           BASTRESS
                                                                                                                                                                                                                                                                                                                                                CLINTON
                                                                                                                                                                                                                                                                                                                                                                   DISTRICT
                                                                                                                                                                                                                                                                                                                                                                          MUNCY
                                                                                                                                                                                                                                                                                                                                                                          CREEK
                                                                                                                                                                                                                                                                                                                                                                                        MORELAND            13
                                                                                                                                                                                                                                        DUNNSTABLE
                                                                                                                                                                         Based on Holt Map                BALD EAGLE
                                                                                                                                                                                                                                                                                                         Lycoming
                                                                                                                                                                                                                                                                                                                                                                                                     Columbia
                                                                                                   KARTHAUS                                                                    BEECH CREEK                                    ALLISON
                                                                   GIRARD
                                                                                                                                                                                                                 Clinton
                                                                                   COVINGTON                                      BURNSIDE                                                                                    LOCK HAVEN
                                                                                                                                                                                                                                                                                       LIMESTONE
                                                                                                                                                                                                                                                                                                                WASHINGTON                         DELAWARE
                                                 GOSHEN                                                                                                                                                                       FLEMINGTON                                                                                                                                              ANTHONY                MILLVILLE
                                                                                                                                                                                                                                                CASTANEA
                                                                                                                                                                                                                            MILL HALL                                  CRAWFORD                                                                                   TURBOTVILLE
                  PINE                                                                                                                                                  CURTIN
                                                                                                                                                                                                                                                                                                                                              WATSONTOWN                                                   MADISON

                                                                                                                                                                                                                                           LAMAR                                                                                                        MCEWENSVILLE
                                                                                                                                                   SNOW SHOE                                                                                                                                                                  WHITE DEER                                        WASHINGTONVILLE           WEST

                                                                                                                                                                                                                                                                                                                                                                                        Montour
                                 LAWRENCE
                                                                                                                                                                                                                                                               LOGANTON                                                                                        TURBOT                                    HEMLOCK
                                                          BRADFORD            GRAHAM                                                                                                                                                                                                                                                                 MILTON
                PIKE                                                                              COOPER                                                                               HOWARD
                                                                                                                                                                                                                                                                                                                                        KELLY                                 LIBERTY           VALLEY      HEMLOCK
BLOOM                                                                                                                                                                                                                                                                                                      WEST

                                             Clearfield
                                                                                                                                                                 BOGGS                                                                                                                                                                                      EAST                                            MONTOUR
                                                                                                                                          Centre
            CURWENSVILLE                                                                                                                                                                         MARION                                                                                                   BUFFALO

                                                                                                                                                                                                                                                                                                            Union
                                                                                                                                                                                                                                                                                                                                                       CHILLISQUAQUE
                                                                                                                                                                                                                                                                                                                                          LEWISBURG                                             DANVILLE
  GRAMPIAN                                                       WALLACETON                                                                                                                                                                                                                                                BUFFALO
                                                                                                                                                                                                                                                  MILES                                          LEWIS                                  WEST CHILLISQUAQUE
                                                                                MORRIS                                                                                                               WALKER                                                                                                                                                                                RIVERSIDE       MAHONING
                                                                                                                                             UNION              MILESBURG
                                                                                                                                                                                                                                                                                                                                         EAST
                                                                                                                                                                                                                                                                                                            MIFFLINBURG                 BUFFALO                     POINT
                                                                                                                                                                   BELLEFONTE                                                                                                                                                                                                                              MAYBERRY
                                                                                                                                                UNIONVILLE                                                                                                                   HARTLEY                                                                      NORTHUMBERLAND
                                                                            PHILIPSBURG                                                                                                                                                                                                 HARTLETON
                                                                                                                                                                                                                              MILLHEIM               HAINES
                            KNOX        WOODWARD                          CHESTER HILL
                                                                                                                                                                                                                                                                                                                         NEW BERLIN                                    UPPER SNYDERTOWN
                                                                                                                                                               BENNER                                                                                                                                                                                         SUNBURY AUGUSTA
                                                                                           RUSH                                                                                                              GREGG
                                                                  OSCEOLA MILLS                                                                                                                                                                                                                                                                       SHAMOKIN DAM                SHAMOKIN                   RALPHO
                                                       BRISBIN                                                                                                                     CENTRE HALL
                                                                                                                                                                                                                                                                                                            CENTER

                                                                                                                                                                                                                                                                                                                                                                             Northumberland
         JORDAN                                                                                                                                                                                                                                                                                                                                                      ROCKEFELLER
                                    BIGLER          HOUTZDALE                                                                             PATTON
                                                                                                              WORTH
                                                                                                                                                              COLLEGE                                                                                                                 ADAMS                                MIDDLECREEK
                    GLEN HOPE                  RAMEY                                                        PORT MATILDA                                                                    POTTER                                                                                                                                          SELINSGROVE
                                                                                                                                                   STATE COLLEGE                                                                                                                                            MIDDLEBURG
           IRVONA                                                                                                                                                                                                                                                                                                                                         LOWER AUGUSTA                  ZERBE
                                                                                                                                                                                                                                                                                                          Snyder
                         BECCARIA                                                                                   HALFMOON                                                                                                                                                                                                                                                                              COAL
                                          GULICH                                                                                                                        HARRIS                                                                                             SPRING                                                  FREEBURG                              LITTLE
                                                                                                                                                                                                                            ARMAGH                                                    BEAVERTOWN                                                                                                             EAST
                                                                                                                                                                                                                                                               WEST                                                                                                     MAHANOY
                COALPORT                                                                                                                                                                                                                                                                                                                                                              WEST CAMERON         CAMERON
                                                                                                                                                                                                                                                              BEAVER                      BEAVER
                                                                                                                                     FERGUSON
                                                                                                                                                                                                                                                                                                                                                                                               UPPER MAHANOY
                                                                       SNYDER                                                                                                                                                                                 MCCLURE                             WEST PERRY                                        HERNDON                                                  ELDRED
                                                                                           WARRIORS                                                                                                                                       DECATUR                                                                        PERRY
 CHEST          WHITE               READE
                                                                                             MARK                                                                                                                                                                                                                                    CHAPMAN                                                       UPPER
                                                                                                                                                              JACKSON                            BROWN                                                                                                                                              LOWER
                                                                                                                                                                                                                                                                                                                                                                                                MAHANTONGO
                                                                                                                                                                                                                                                                                                                                                                                                 Schuylkill
                                                                                                                                                                                                                                                                                                                                                   MAHANOY
                                                                                                                                           BARREE                                                                                                                FAYETTE
            Cambria
                                                                                BIRMINGHAM

                                                                                                                                                                                             Mifflin
                                                                                                                                                                                                                           DERRY                                                                                                                               PILLOW
                                                                                                                              WEST                                                                            BURNHAM                                                                                                                                                                            HUBLEY
                                                                                                                                                                                                                                                                                                                 SUSQUEHANNA                                                 LYKENS

                                                                                                                                                                                                                                                                 Juniata
                                                       ANTIS                               SPRUCE CREEK                                                                                                                                                                                                                                                                                                      HEGINS
                                                                                                                                                                                                                                               FERMANAGH
                                                                                                                                                                                                                                                                                                                                                          BERRYSBURG           GRATZ
     CLEARFIELD                                         BELLWOOD                                                                                                                                        LEWISTOWN
                            DEAN                                                                                                                                                                                                                                                                                                                        MIFFLIN                           WILLIAMS    TOWER
 CHEST SPRINGS                                                         TYRONE                                                                                                                        JUNIATA TERRACE                                                                                             LIVERPOOL                                                     WICONISCO WILLIAMSTOWN  CITY
                                                                                                           PETERSBURG                               MILLER
                                                                                                                                                                                                                                           MIFFLINTOWN                                                                              UPPER PAXTON
                                                                                                                                                                                                   GRANVILLE                                                           THOMPSONTOWN                                                                                                                          TREMONT
            ASHVILLE                                                                               ALEXANDRIA                                                      MENNO                                                            MILFORD                                             MILLERSTOWN
                                    LOGAN                                                                                        ONEIDA                                                                                                                                                                                                                 ELIZABETHVILLE
                                                                                                         PORTER                                                                  OLIVER                                                                                                        GREENWOOD                     MILLERSBURG
                                                                                                                                                                                                                                               PORT ROYAL
          GALLITZIN                                                            CATHARINE                                               HENDERSON
                                          ALTOONA                                                                     HUNTINGDON
LORETTO                                                                                                                                                                                                                 BEALE                     TURBETT                                                HOWE                                                            JEFFERSON
                                                                                                                                                                         MCVEYTOWN
       TUNNELHILL
                                                       Blair                                                                                                                           BRATTON                                                                                                NEWPORT
                                                                                                                                                                                                                                                                                                                         WATTS
                                                                                                                                                                                                                                                                                                                                        HALIFAX

                                                                                                                                                                                                                                                                                                                                                        Dauphin
SANKERTOWN                                                                                                          SMITHFIELD                  BRADY
MUNSTER                                FRANKSTOWN                             WILLIAMSBURG                                                                                                                                   SPRUCE HILL
                  ALLEGHENY
                                                                                                                                                                                                                                                                                                                           NEW BUFFALO
  CRESSON                   HOLLIDAYSBURG                                      WOODBURY
                                                                                                                                      MILL CREEK                                                                                                      SAVILLE
LILLY                                                                                                                                                                                                     TUSCARORA
                                 DUNCANSVILLE
                                                                                                                                                               WAYNE                                                                                                                                                         REED
                                                                                                                                                                                                                                                                       Perry
                                       BLAIR                                                                                                                                                                                      NORTH EAST                                    CENTRE
                                                                                                                                                                                                                                                                                                                                                                      WEST
                                                                                                                                                                                                                                                                                                                                                                                                     Lebanon
                  JUNIATA                                                                          PENN                                                                                                                            MADISON                                                                                                                                           EAST
                                      NEWRY                                                                                          MAPLETON       NEWTON HAMILTON
                                                                                    MARKLESBURG                                                                                                                                                                                                  WHEATFIELD DUNCANNON                      MIDDLE PAXTON             HANOVER       HANOVER
                                                                                                                                                    KISTLER
PORTAGE                                                                                                                                                                                                                                                                                                                              DAUPHIN
                                                                                                                    Huntingdon
                             FREEDOM                                                                                                                                                      LACK                                                                                                                                                                                                                NORTH
                                                                                                                                                                                                                                                                                                                                                                                                             ANNVILLE
                                            ROARING                                                                                                                                                                                  SOUTH WEST              LANDISBURG                CARROLL
                                                                                     LINCOLN                                                                                                                              BLAIN                                                                                                                                                                             NORTH
                                             SPRING                                                                                                                                                                                   MADISON                                                                                        MARYSVILLE
SUMMERHILL                                                                                                                                          SHIRLEY                                                                                                                                                        RYE                                         LOWER                                     LONDONDERRY
                  GREENFIELD                            MARTINSBURG                                                                                                                                                                                                                                                                                            PAXTON
                                                                                                                                             SHIRLEYSBURG                                                                                                                                                                                               SOUTH HANOVER                              PALMYRA SOUTH
                                                                NORTH                                              CASSVILLE                                                                                                                                                                                              EAST
        PAVIA                                                  WOODBURY                                                                                                                                                                                                                                                PENNSBORO     PENBROOK                                                             ANNVILLE
                                        BLOOMFIELD                                                                                                                                                        TOBOYNE                                                                                                       WORMLEYSBURG                                                                    SOUTH
                                                                                                       TODD               CASS                                                                                                                                                                                                          PAXTANG         HUMMELSTOWN
                                                                                                                                                                        TELL                                                                                                                                             CAMP HILL                                                                   LONDONDERRY
                       KIMMEL                                                                                                                                                                                                        LOWER                   LOWER             NORTH     MIDDLESEX SILVER SPRING                           SWATARA
                                                                                                                                             ORBISONIA                                                                               MIFFLIN       UPPER                                                           HAMPDEN    LEMOYNE
                                                                                       CARBON                                                                                                                                                                                MIDDLETON                                                               LOWER
                                                                                                                                          CROMWELL                                                                                               FRANKFORD FRANKFORD                                                                    STEELTON
                                                                                                                                                                                                                                                                                                                  SHIREMANSTOWN                     SWATARA
                                                                          SAXTON             BROAD                       SALTILLO
                                                                                       DUDLEY TOP                                                                                                                                                                                                           MECHANICSBURG                     HIGHSPIRE
  WEST ST.     KING                                                                                                      THREE SPRINGS                                                                                                                        WEST              CARLISLE                                                             MIDDLETOWN
                                                                                              CITY                                                                                 FANNETT                             UPPER MIFFLIN                                                                                  LOWER ALLEN
   CLAIR                                                                                                                                                                                                                                                   PENNSBORO                                                                                   ROYALTON
                                                                                                         WOOD          CLAY                        SHADE GAP                                                                               NEWVILLE                                                              UPPER ALLEN
  PLEASANTVILLE                                                                                                                                                                                                                                                                                                                    FAIRVIEW
                                                                                                                                                                                                                                                    Cumberland
                                        SOUTH                                 COALDALE                                                                                                                                                                                                                                                                   LONDONDERRY
                 ST.                                                                                                                                                                                                                     NORTH                                        SOUTH
             CLAIRSVILLE               WOODBURY                                                                                                                                                                                                                                                                                                    GOLDSBORO
                                                                                                                                                                                                                                        NEWTON                                      MIDDLETON                                                                                                    ELIZABETHTOWN
       EAST ST.                                                             BROAD TOP                                                                 DUBLIN                                                   NEWBURG                                                                                                        MONAGHAN            LEWISBERRY      NEWBERRY
                                                                                                                                                                                                                                                                                                                                                                                      CONOY       WEST
         CLAIR                                                                                                                                                                                     LURGAN
                                                         HOPEWELL                                                                                                                                                                                                                  MOUNT                                                                                                         DONEGAL
                                                                                                                                                                                                                                                                                                                                                                                             Lancaster
                                                                                                                                                                                                                                                                                                                 DILLSBURG                                                  YORK HAVEN
                                                                                                                                                                                                                                                                        DICKINSON  HOLLY
                                                                                                                                                                                                                                                                                  SPRINGS                                                                                                                      EAST
                                                                                               WELLS            TAYLOR                                                                                                                                                                                                                                                                                       DONEGAL
                                                                                                                                                                                                                                         SOUTH NEWTON                                                           FRANKLINTOWN        WARRINGTON                CONEWAGO
                                                                          EAST                                                                                                                                      SHIPPENSBURG                                                                                                                                             MOUNT WOLF
                                                                                                                                                                                                   ORRSTOWN                                                                                                                                                                                                  MARIETTA

                                        Bedford
 NAPIER                 BEDFORD                                        PROVIDENCE                                                                                                                                                                                                                                                 WELLSVILLE
                                                                                                                                                                                 LETTERKENNY                                                                                                                                                                                   EAST
                                                                                                                                                        METAL                                                                                                  COOKE                             LATIMORE                                                                                         HELLAM
                                                                                   VALLEY-HI                                                                                                                                                                                                                                                                                MANCHESTER
                                                EVERETT                                                                                                                                                                                                                                                                                                                                              WRIGHTSVILLE
MANNS CHOICE                          SNAKE                                                                                                                                                                                                                                                   YORK SPRINGS                                                          MANCHESTER
                                                                                                                                                                                                                                                                                                                                                                                                     HALLAM
                                      SPRING        WEST                                                                                                                                                                                                                                                                                                                         SPRINGETTSBURY
                                                                                                                                                                                                                                                                                                                                                                   York
                                                                                    BRUSH                                                                                                                                                                                                                                                       DOVER
HARRISON                                         PROVIDENCE                                                                                                                                                                                                MENALLEN BENDERSVILLE               HUNTINGTON                                                                    NORTH
                                                                                    CREEK           LICKING CREEK                                                                                                                                                                                                                                                                                        YORKANA
                                                                                                                                                                           HAMILTON                                                                                                                                                                                          YORK
                                                                                                                                                                                                           GREENE                                                                                               READING                                                                             EAST PROSPECT

                                                                                                         Fulton
                                                                                                                                                                                                                                                                                                                                                                 WEST YORK

                                                                                                                                                                           Franklin
                                                                                                                                                                                            CHAMBERSBURG                                                                                                                  EAST BERLIN                       WEST     SPRING
                                                                                                                     MCCONNELLSBURG                                                                                                                                                                                                                                                                WINDSOR
                      COLERAIN                                                                                                                                ST. THOMAS                                                                                    ARENDTSVILLE                                                                                 MANCHESTER GARDEN
                                                                                                                                                                                                                                                                             BUTLER                                                 PARADISE
                                                                                                                                                                                                                                                                                                                                                                                        YORK    YOE

                                                                                                                                                                                                                                                                        Adams
                                                                                                                                                                                                                                                 FRANKLIN                                                                                                      NEW SALEM
                 RAINSBURG                MONROE                                                                                                                                                     GUILFORD                                                                                                                                                                                     RED LION
                                                                                               BELFAST                                                                                                                                                                                                         ABBOTTSTOWN                              JACOBUS
CUMBERLAND                                                                                                            AYR                       PETERS                                                                                                                                 STRABAN                                 SPRING GROVE                               CHANCEFORD
  VALLEY                                                                                                                                                                                                                                                                                              NEW OXFORD BERWICK                         SEVEN LOGANVILLE




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                                                                                                                                                                                                                                                                                                                                                                               FELTON
                                                                                                                                                                                                                                                                                                          OXFORD                      NORTH     VALLEYS
                                                                                                                                                                                                               MONT ALTO                                                                       MOUNT                                CODORUS
                                                                                                                                          MERCERSBURG                                                                                                                                                                                                                WINTERSTOWN
                                                                                                                                                                                                                                                                          GETTYSBURG          PLEASANT                   HEIDELBERG                   SPRINGFIELD
                                                                                                                                                                                                                                                            HIGHLAND                                            HANOVER                                                   CROSS ROADS
                                                                                                                                                                                                                 QUINCY
                                                                                                                                                                                                                                                                                         BONNEAUVILLE                                                            NORTH EAST HOPEWELL
                                                                                                                                                                                                                                        HAMILTONBAN                    CUMBERLAND                       MCSHERRYSTOWN
          SOUTHAMPTON                                                                                                                                                      GREENCASTLE                                                                                                                                                      CODORUS GLEN ROCK HOPEWELL
                                                                                  BETHEL                               WARREN              MONTGOMERY                                                                                                                                                                                                    SHREWSBURY
                                                                                                  THOMPSON
                                             MANN                                                                                                                                  ANTRIM
                                                                                                                                                                                                                                                 CARROLL                                                                                           MANHEIM                        RAILROAD
                                                                                                                                                                                                      WAYNESBORO                                                                    MOUNT JOY        LITTLESTOWN                                                                                 STEWARTSTOWN
                                                                                                                                                                                                                                                                                                                                 WEST MANHEIM
                                                                                                                                                                                                                                                  VALLEY
                                                                                                                                                                                                                                                                                                                                                                              NEW FREEDOM    County
                                                                                                                                                                                                                                                                                                 GERMANY
                                                                                                                                                                                                                                                                                                                                                                                             Municipalities

 0                5              10                            20 Miles                                                                                                                                                                                                                                                                                                                      District 13
                                    VOLANT
                                                        Mercer                                   VENANGO                  HOVEY              LICKING   SLIGO                     LIMESTONE       SUMMERVILLE                          PINECREEK                    DUBOIS SANDY
                     WILMINGTON
                                                                      MERCER
                                                                                 Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 126 of 157       PINEY                                     CLOVER                                 REYNOLDSVILLE                                                                                   GIRARD      COVINGTON

                                                                                                                                    PreliminaryClarion
      PULASKI                                                                                                                                                                                                    ROSE                                                                                                         GOSHEN
                                                                                                              PARKER PARKER CITY                                                                                            KNOX
                                                                                                                                                                                                                                                WINSLOW

                  NESHANNOCK
                                                     PLAIN
                                                     GROVE                          CHERRY
                                                                                                                    BRUIN
                                                                                                                                                 Congressional Plan Amendment
                                                                                                                                                  TOBY                                                BEAVER                                                           BRADY                                            DISTRICT                              14
                                                                                                                                                                                                                                                                                                                                                              KARTHAUS


       Lawrence
                                                                                                                                                                                                                                                         SYKESVILLE                                              LAWRENCE                                     COOPER
                              HICKORY        SCOTT           WEST LIBERTY                                          PETROLIA
                                                                                                                                                  Based on Holt Map
                                                                                                                                                  RIMERSBURG         PORTER
                                                                                                                                                                                HAWTHORN                WORTHVILLE      OLIVER
                                                                                                                                                                                                                                    MCCALMONT                 TROUTVILLE
                                                                                                                                                                                                                                                                                        BLOOM                                       BRADFORD

                                                                                                                                                                                                                             Jefferson
                                                                                                                                                                                                                                                                                                                                                     GRAHAM
                    NEW CASTLE                                                       WEST SUNBURY                                                                        NEW BETHLEHEM                                                              HENDERSON                                         PIKE
                                                        WORTH                                                    KARNS CITY                                           SOUTH BETHLEHEM                RINGGOLD
                                                                                     CLAY      CONCORD
                      SOUTH                                                                                     FAIRVIEW          EAST BRADY
BESSEMER                                                                                                                                                                                                                                          BIG RUN                                             CURWENSVILLE
                    NEW CASTLE          SLIPPERY                                                                                                                                                  TIMBLIN                                                                                GRAMPIAN                                       WALLACETON
                                                                                                                                                          MADISON          MAHONING
                                                                                                                                                                                                                                                                                                        Clearfield
     NORTH BEAVER                         ROCK                                                                                                                                         REDBANK
                          SHENANGO                                                                              CHICORA                                                                                                            PUNXSUTAWNEY                                                                                 BOGGS
                                                                                                                                                                                                                                                      GASKILL
                                                                                  Butler
S.N.P.J.                                         PORTERSVILLE                                                                 SUGARCREEK
                                                                                                  OAKLAND
                                                                                                                                                                                                                                                                       BELL     GREENWOOD
                                                     MUDDYCREEK PROSPECT                                                                                                                           WEST                                                                                                                              DECATUR       PHILIPSBURG
                     WAMPUM
                                                                                                                                                                                    WAYNE DAYTON MAHONING                NORTH                                                           FERGUSON                      WOODWARD                 CHESTER HILL
LITTLE BEAVER      NEW                                                                       EAST BUTLER                        WEST
                                                                                                                                          EAST FRANKLIN                                                                 MAHONING        CANOE                          MAHAFFEY
                                 ELLPORT                                                                                      FRANKLIN                                                          SMICKSBURG
                  BEAVER                                                                                                                                                                                                                              BANKS
    ENON VALLEY             ELLWOOD CITY                       CONNOQUENESSING                                                                                                                                                                                                 NEWBURG                                                     OSCEOLA MILLS        RUSH
                                                                                       BUTLER                               WORTHINGTON            RAYBURN                                                                                                                                                                       BRISBIN
                      BIG KOPPEL                      LANCASTER                                                                                                                                                                                                                                 JORDAN
                                                                                                                                                                                                                                                                                                                                                     Centre
 DARLINGTON                                                                                                                                                   VALLEY                                    SOUTH          EAST                                                   NEW                                   BIGLER
                    BEAVER                                                                                                               WEST KITTANNING                                                                                             GLEN CAMPBELL                                                             HOUTZDALE
                      HOMEWOOD                                                                                                                                                                         MAHONING      MAHONING                                              WASHINGTON
                                                                                                                                             APPLEWOLD                      RURAL VALLEY
                                                                       FORWARD                                                                                                                                                                                                                             GLEN HOPE         RAMEY
                    WEST MAYFIELD                   ZELIENOPLE                                                                 NORTH BUFFALO MANORVILLE                                             PLUMVILLE                                                        BURNSIDE
                                           MARION                                                                                                                                                                        MARION         GRANT                                           CHEST
SOUTH BEAVER
                                                                 EVANS CITY
                                                                                                                    WINFIELD                 FORD CITY   KITTANNING
                                                                                                                                                                              COWANSHANNOCK                                                         MONTGOMERY                                       IRVONA BECCARIA
                         EASTVALE DAUGHERTY                                                                                                FORD CLIFF                                                                    CENTER                                                                                             GULICH
            CHIPPEWA                                                                                   SAXONBURG                                                                         ATWOOD
                       PATTERSON              NEW                                                                                    CADOGAN                                                                                                                                    WESTOVER               COALPORT
                                           SEWICKLEY                 CALLERY
                        HEIGHTS                                                                                                                                           PLUMCREEK                                                                        CHERRY TREE
                                 ROCHESTER                                                                                      SOUTH BUFFALO                                                 WASHINGTON
                                                        CRANBERRY                      MIDDLESEX       CLINTON      BUFFALO                                                                                        RAYNE
                                                                                                                                                       Armstrong
                 BRIGHTON         EAST                                                                                                                                                                                                                                                                                                           SNYDER
                               ROCHESTER                                    MARS                                                                                            ELDERTON                                                           GREEN             SUSQUEHANNA
OHIOVILLE                                                                                                                                                                                                                                                                                                             READE                                 WARRIORS
                      VANPORT MONACA                          SEVEN FIELDS VALENCIA                                                                                                                    ERNEST                                                                                                                                                   MARK
                                                                                                                                                                                                                 Indiana
                                                                                                                                        GILPIN                                                                                 CLYMER                          NORTHERN HASTINGS
           INDUSTRY    POTTER          CONWAY           MARSHALL                                                                                                                  SHELOCTA
 GLASGOW                                  BADEN                                                                  FAWN                                                                                                                                           CAMBRIA         ELDER
                                                                                             WEST DEER                                             PARKS                                                                                                                                                                                               BIRMINGHAM
  GEORGETOWN                                                BRADFORD                                                                                                 SOUTH                                                                                                     WEST PATTON
                                                                                    Allegheny
                                     ALIQUIPPA                                                                FRAZER                    HYDE PARK                                   ARMSTRONG                                 CHERRYHILL                                                                                                                        SPRUCE
     MIDLAND                                                  WOODS                                                                                                   BEND                                                                                                   CARROLL                                               ANTIS
       SHIPPINGPORT                    HARMONY                                                                                                                                                                                                                                                                                                                   CREEK
                                                                                                               BRACKENRIDGE                     EAST                                                         WHITE                                            BARR       CARROLLTOWN          CLEARFIELD
HOOKSTOWN                             AMBRIDGE             FRANKLIN                                                                                                                                                                                                                                                                 BELLWOOD
               RACCOON                                                                                         TARENTUM                     VANDERGRIFT                                                                                        PINE                                                              DEAN
    GREENE                             SOUTH  BELL  ACRES    PARK                                                           LOWER                                                                                                                                              EAST
                                                                    MCCANDLESS                                  ARNOLD                                                                                                                                                                                                                          TYRONE
               Beaver
                                      HEIGHTS LEET SEWICKLEY                                    INDIANA                    BURRELL         OKLAHOMA KISKIMINETAS                                                                                                                       CHEST SPRINGS
                                                                                   HAMPTON                                                                                                                                                                                   CARROLL
                                                                                                                                                                             YOUNG
                                                                                                                                                                                                                                                                       Cambria
                                        LEETSDALE       HILLS                                               SPRINGDALE         UPPER                                                                                                                                                                ASHVILLE
                                          EDGEWORTH           OHIO                      FOX CHAPEL         CHESWICK           BURRELL                                                                 HOMER CITY                                                                                       GALLITZIN      LOGAN
                                            GLEN OSBORNE                    ROSS                                                                          AVONMORE
                                                                                                      OAKMONT                                                                                                                                                                                                                                         CATHARINE
                                                                                                                                                                                                                                                                                                                                            Blair
                                                               BEN AVON                                                                                                                                                                                BLACKLICK
                                          MOON CORAOPOLIS                           SHALER                                                                                                                                          BUFFINGTON
                                                                HEIGHTS                           O'HARA             PLUM                                                                                                                                                             LORETTO                              ALTOONA
     FRANKFORT                                                   BELLEVUE RESERVE         ASPINWALL                                                                                                                BRUSH VALLEY
                                                                                                                                                            SALTSBURG                                                                                                  EBENSBURG                   TUNNELHILL                                                    WALKER
      SPRINGS                  FINDLAY                    KENNEDY                                     PENN HILLS                                                                                                                          VINTONDALE
                                                                                MILLVALE                                                                                                                                                                 NANTY GLO                         SANKERTOWN                                FRANKSTOWN
                                                             MCKEES ROCKS                                                                                                                                                                                              CAMBRIA                                                                       WILLIAMSBURG
                                                                                               WILKINSBURG                                                  LOYALHANNA                         BURRELL                      ARMAGH
                   ROBINSON                                                                                                    MURRYSVILLE                                                                                                                                                    CRESSON                                                 WOODBURY
                                                               CRAFTON       PITTSBURGH EDGEWOOD WILKINS                                                                                                         WEST                             JACKSON                                                                HOLLIDAYSBURG
    HANOVER                                          PENNSBURY VILLAGE                                         MONROEVILLE                                                             BLAIRSVILLE                                                                                         LILLY                    DUNCANSVILLE
                                    NORTH FAYETTE                                                                                                                                                            WHEATFIELD
                                                     COLLIER     GREEN TREE MOUNT            BRADDOCK HILLS PITCAIRN                EXPORT                                                                                   SEWARD                                                 CASSANDRA
                                                               CARNEGIE        OLIVER                                                        DELMONT               NEW                                                                                                                                                     BLAIR
                                             OAKDALE                                       WEST EAST PITTSBURGH                                                                                         BOLIVAR                           WEST                                                                         NEWRY
           BURGETTSTOWN                                   HEIDELBERG                                    NORTH     TRAFFORD                                      ALEXANDRIA                                                               TAYLOR  MIDDLE                    WILMORE
                                                                        BALDWIN        HOMESTEAD                                                       SALEM                                                     NEW FLORENCE                                                          PORTAGE                                                           MARKLESBURG
                                     MCDONALD                                                         VERSAILLES                  PENN                                                                                                           TAYLOR         EHRENFELD
                    SMITH    MIDWAY                 SOUTH                           WEST MIFFLIN                                                                                 DERRY                                                                                                                                                        HUSTON
                             Washington
                                                              MOUNT LEBANON
                                                                                                                                                    Westmoreland
                                                                                                                                                                                                                                      JOHNSTOWN EAST          SOUTH  FORK                                         FREEDOM
                                                   FAYETTE                   WHITEHALL                                        MANOR                                                                                   ST. CLAIR                                              SUMMERHILL
                                                                                            GLASSPORT                 NORTH IRWIN                                                                                                LOWER YODER CONEMAUGH                                                                       ROARING
                                                             UPPER ST.        PLEASANT                                                 JEANNETTE
                                                                                                    MCKEESPORT                                                                                           FAIRFIELD                                                                                                            SPRING
                                                               CLAIR            HILLS                                NORTH IRWIN                                                                                                    WESTMONT
                                             CECIL                                                  VERSAILLES HUNTINGDON ADAMSBURG            GREENSBURG             LATROBE                                                                    DALE                                                    GREENFIELD         TAYLOR MARTINSBURG

                                                                                                                                                                                                                                                                                                                                                     Huntingdon
                                                                 BETHEL PARK                  CLAIRTON
         CROSS CREEK
                                                                       SOUTH PARK JEFFERSON HILLS                                      SOUTHWEST GREENSBURG                                                                               FERNDALE GEISTOWN            ADAMS                                                             NORTH
                                            CANONSBURG                                       WEST                                         SOUTH GREENSBURG             YOUNGSTOWN                                                                                                              PAVIA
                                                               PETERS                                                            ARONA                                                                                                                RICHLAND                                                          BLOOMFIELD WOODBURY
                                                                                          ELIZABETH ELIZABETH SEWICKLEY                                                                    LIGONIER                                                                                                                                                             TODD
                                                                         FINLEYVILLE                                                                                UNITY
                                        HOUSTON                                                                                                                                                                                                      SCALP  LEVEL                                           KIMMEL
           WEST                                                                                          SUTERSVILLE                     YOUNGWOOD                                                                                 CONEMAUGH                                                                                                                 CARBON
       MIDDLETOWN                  CHARTIERS        NORTH                                                                                                                                                                                                  WINDBER
                                                                                                                                   NEW STANTON
                                                 STRABANE        NOTTINGHAM                                  WEST NEWTON                                                                            LAUREL                                             PAINT                                                                                            COALMONT
                                                                                 NEW EAGLE                                            HUNKER                                                       MOUNTAIN                                BENSON                         OGLE
INDEPENDENCE                CANTON                                                                      ROSTRAVER                                                                                                       JENNER                                                                             KING                              LIBERTY            BROAD
                                                                                                                            SOUTH                          MOUNT
                                  EAST WASHINGTON                                                                                                                                                                                                                                     PLEASANTVILLE                                                            TOP CITY
               BLAINE                                                                 CARROLL DONORA                     HUNTINGDON                       PLEASANT                                                   JENNERSTOWN
                                                                            FALLOWFIELD     MONESSEN                                                                                  COOK                                                                                             WEST  ST.                         SOUTH                       COALDALE WOOD
                                    NORTH                                                                                                                                                                                   BOSWELL                                                                           ST.
                                                                                     NORTH CHARLEROI               SMITHTON                EAST                                                                                           HOOVERSVILLE                                   CLAIR           CLAIRSVILLE    WOODBURY
                                  FRANKLIN                                                                                             HUNTINGDON
                                                                                           NORTH BELLE VERNON                                                                                                                                                                                     EAST ST.                                         BROAD TOP
                         GREEN HILLS                                     BENTLEYVILLE        BELLE VERNON                                                                                                                          QUEMAHONING
          CLAYSVILLE                                                                                                                                                                                                                                                                               CLAIR                             HOPEWELL
                                                                      ELLSWORTH                    DUNLEVY                               SCOTTDALE     BULLSKIN               DONEGAL                                                                      CENTRAL  CITY             NEW PARIS
                              SOUTH                                                                FAYETTE CITY                                                                                               LINCOLN                STOYSTOWN
                                                               COKEBURG         WEST
                                                                                                   STOCKDALE PERRYOPOLIS                  EVERSON                                                                                                           SHADE
                            FRANKLIN       AMWELL                             PIKE RUN                                                                                                                                                                                                                                                                          WELLS
                                                                                         COAL CENTER                                    UPPER TYRONE                                                                                                                                  NAPIER
                                                                     BEALLSVILLE                                       LOWER TYRONE
                EAST                                      WEST                          CALIFORNIA                                                                                            JEFFERSON
                                                                                                                                DAWSON                               SALTLICK                                                                       INDIAN LAKE                    SCHELLSBURG               BEDFORD
               FINLEY                                  BETHLEHEM                                                                                                                                                                                                                                                          SNAKE
                                                                        CENTERVILLE WEST BROWNSVILLE                          VANDERBILT                                                                                   SOMERSET
                                                                                                                                                                                SEVEN SPRINGS                                                                                                                                                     EAST VALLEY-HI
                                                                                                                                                                                                                                                                                                             Bedford
WEST FINLEY                                                                                                                                  CONNELLSVILLE                                                                                  SHANKSVILLE                                                                  SPRING
                                                         MARIANNA      DEEMSTON             BROWNSVILLE                                                                                                                                                                                                                         EVERETT
                                                                                                                                                                                                                                                                            JUNIATA                                                            PROVIDENCE
                                                                           EAST                      REDSTONE                               SOUTH                                                                                           STONYCREEK                                    MANNS CHOICE                                                        BRUSH
                                                                                                                                                                                                                                                                                                                                 WEST
                                                                                                                                                                                                                         Somerset
                                                                       BETHLEHEM                                                        CONNELLSVILLE                                                                                                                                                                                                         CREEK
                                                                                                                                                             SPRINGFIELD            MIDDLECREEK MILFORD                                                        NEW BALTIMORE                                                  PROVIDENCE
                           MORRIS                                 CLARKSVILLE         LUZERNE
                                                                                                                                        DUNBAR                                                                                                                                         HARRISON
                                                            MORGAN                                                                                                                                                                                                                                                                                       LICKING  CREEK
                                                                        RICES LANDING                                                                                                                NEW                                                    ALLEGHENY
                 GRAY                                                                                       MENALLEN NORTH                                                                      CENTERVILLE
                                                                                                                        UNION                                                                          ROCKWOOD                         BERLIN                                                            COLERAIN
     RICHHILL                                                                                                                                                                           UPPER
                                                                                                                                                                                                                             BROTHERSVALLEY                               LONDONDERRY

                                                                                                                                    Fayette
                                           WAYNESBURG                        CARMICHAELS                             UNIONTOWN                           STEWART                     TURKEYFOOT          BLACK                                                                                          RAINSBURG          MONROE
                                                                                                 GERMAN                                                                                                                                                                                                                                                       BELFAST

                                      Greene
                            CENTER           FRANKLIN                     CUMBERLAND                                                                                      LOWER
                                                                                                                     SOUTH UNION                      OHIOPYLE
                                                                                                                                                                      TURKEYFOOT                                      GARRETT
                                                                                                                                                                                                                                                               FAIRHOPE
                                                                                       MASONTOWN
                                                                                                                                                                                                                                                NORTHAMPTON                          CUMBERLAND
                                                                                                                                                                                                                                                                                                                                                     Fulton
                                                                                                                                                                                                                    SUMMIT
    ALEPPO                                            WHITELEY                                 NICHOLSON        FAIRCHANCE                                                                                                                                                              VALLEY
                                                                               MONONGAHELA                                                                                      URSINA                                                                                   HYNDMAN
                                                                                                                                                                                                                           MEYERSDALE
                                                                                                       SMITHFIELD                      WHARTON                             CONFLUENCE                                                      CALLIMONT
                                                                                       GREENSBORO                                                                                                                                                                                                   SOUTHAMPTON
                                                                                                                 GEORGES                                                                                   ELK LICK
                                                                                                                                                             HENRY CLAY              ADDISON                                                                                                                                                           BETHEL
                                                                                                                                                                                                                                              LARIMER                                                                       MANN           UNION
                                                          PERRY             DUNKARD                  SPRINGHILL                                                                                                   SALISBURY
          FREEPORT    GILMORE                                                                                                                                                                                                     GREENVILLE
                                                                                       POINT MARION                                                       MARKLEYSBURG                                                                                WELLERSBURG                                                                                           THOMPSON




0
     .     5         10                      20 Miles
                                                                                                                                                                                                                                                                                                                                               County
                                                                                                                                                                                                                                                                                                                                               Municipalities
                                                                                                                                                                                                                                                                                                                                               District 14
                                                         MCCANDLESS                                                                                                                                                                                                                                 NEW KENSINGTON     LOWER
SEWICKLEY
 HEIGHTS                                          FRANKLIN PARK                         Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 127 of 157          INDIANA
                                                                                                                                                                                                                                                                            SPRINGDALE                                BURRELL


SEWICKLEY
                                                                                                                                           Preliminary Congressional Plan Amendment                                         HARMAR
                                                                                                                                                                                                                                                               CHESWICK                                                     DISTRICT                                 15
                                       OHIO
  HILLS
                                                                                            ROSS
                                                                                                                                                       Based on Holt Map                                                                                                                                                                             UPPER BURRELL
ALEPPO

                                                                                                                                       SHALER
                       KILBUCK                                                                                                                                                        FOX CHAPEL
                                                                                                                                                                                                                                   OAKMONT
GLENFIELD
                                                                            WEST VIEW
                                                  BEN AVON
                           EMSWORTH               HEIGHTS
                                           BEN                                                                                                                                                                                                                                                                                                                  WASHINGTON
                       NEVILLE                                                                                                                                                                                                   VERONA
                                          AVON                                                                                                                                                               O'HARA
                                                    AVALON                                                                                                                                                                                                                                              PLUM


                                                                                                                                                  ETNA       SHARPSBURG                                           BLAWNOX
                                                             BELLEVUE                                                                                                          ASPINWALL

                                                                                                                 RESERVE
                                                STOWE
                        KENNEDY                                                                                            MILLVALE
                                                                                                                                                                                                                                            PENN HILLS


                                                    MCKEES ROCKS




                                                                                                                                                                                                                                                                                                                                                       MURRYSVILLE

        ROBINSON
                                                    INGRAM
                                                                                                                                                                                                    WILKINSBURG

                                                                                                                                                                                                                                CHURCHILL
                                                   CRAFTON                                                        PITTSBURGH
                                     THORNBURG
                                                                                                                                                                                            EDGEWOOD
                         PENNSBURY                                                                                                                                                                                                                                                        MONROEVILLE
                           VILLAGE                                                                                                                                                                                FOREST HILLS                  WILKINS
                                 ROSSLYN FARMS
                                                                                                                                                                                           SWISSVALE
                                                             GREEN TREE                                                                                                                                        BRADDOCK
                                                                                                                                                                                                                 HILLS
                                                                                                                                                                                                 RANKIN                            CHALFANT     TURTLE
                                                                                                                   MOUNT OLIVER                                           HOMESTEAD
                                     CARNEGIE                                                                                                                                                                                                   CREEK                                PITCAIRN
                                                                                                                                                                                                                         NORTH
                                                                                                                                                                WEST                                       BRADDOCK    BRADDOCK
                                                                                                                                                                                           WHITAKER
                                                                                                                                                              HOMESTEAD
             COLLIER                                                                                                                                                                                                                                     WILMERDING
                                                                          DORMONT                                                                                                                                                    EAST
                            HEIDELBERG                                                                                                                                                                                           PITTSBURGH                                   WALL
                                          SCOTT
                                                                                                                                                                               MUNHALL
                                                                                                                                                                                                                                                            EAST                                 TRAFFORD
                                                                                                                                                                                                                                                         MCKEESPORT
                                                                                                                                                                                                                                                                                                                                              PENN
                                                             MOUNT LEBANON                                                                                                                                                                             NORTH
                                                                                                                           BRENTWOOD                                                                                    DUQUESNE                     VERSAILLES
                                                                                                                                            BALDWIN

                                                                                         CASTLE
                                                                                        SHANNON
                                                                                                           WHITEHALL
                 BRIDGEVILLE
                                                                                                                                                          Allegheny
                                                                                                                                                                                      DRAVOSBURG

                                                                                                                                                               WEST MIFFLIN                                                                                                                                                                                          MANOR
                                                                                                                                                                                                                          MCKEESPORT
SOUTH FAYETTE
                                                                                                                                                                                                                                                                WHITE OAK
                                                                                                                                                                                                       PORT VUE                                                                                                                 NORTH IRWIN
                                      UPPER ST.
                                        CLAIR                                                                                          PLEASANT
                                                                                                                                         HILLS                                                                                                                                                             NORTH
                                                                                                                                                                                           GLASSPORT                                                                                                     HUNTINGDON                            IRWIN
                                                                          BETHEL PARK                                                                                                                             LIBERTY

                                                                                                                                                                                                                                      VERSAILLES



     CECIL
                                                                                                                                                                                                                                                                                                                       Westmoreland
                                                                                                                                                                                                                      LINCOLN                                      SOUTH
                                                                                                           SOUTH PARK
                                                                                                                                                         JEFFERSON                                                                                               VERSAILLES
                                                                                                                                                            HILLS
                                                                                                                                                                                                CLAIRTON




                                                                                                                                                                                                                                                                                                                                                             HEMPFIELD

                                              PETERS
                                                                                                                                                                                      WEST                                                                                                                                                                             ARONA
                                                                                                                                                                                    ELIZABETH


                                                                                                                                                                                                                                                ELIZABETH


                                                                                                   FINLEYVILLE                                                                                                                                                                                                  SEWICKLEY

                                                                                                                     UNION
                                                                                                                                                                                                                                                                                                                                                                MADISON
                                                                  Washington




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                                                                                                                                                                                                                                                             SUTERSVILLE

                                                                                                                                                                                    FORWARD
          NORTH
         STRABANE

                                                          NOTTINGHAM
                                                                                                                                                                                                                                                                                                                                                       County
                                                                                                                                                                                                                                                                                                                                                       Municipalities
                                                                                                                                                                                                                                                                                                                                           SOUTH
                                                                                                                                          NEW EAGLE                                                                                                         ROSTRAVER                 WEST NEWTON
                                                                                                                                                                                                                                                                                                                                         HUNTINGDON
 0                      1.75               3.5                                      7 Miles                                     CARROLL                                                                                                                                                                                                                District 15
                                                                                                                                                         MONONGAHELA

                                                                                                  FALLOWFIELD                                                                                                DONORA
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    Preliminary Congressional Plan Amendment                                                                                                                                                                                                                                                   DISTRICT                                16
                Based on Holt Map




                                                                                         LAKE ERIE

                                                                                                                                                          NORTH EAST


                                                                                                                        LAWRENCE PARK
                                                                                                                            WESLEYVILLE
                                                                                                                       ERIE                                   GREENFIELD
                                                                                            Erie
                                                                                                      MILLCREEK
                                                                                                                                            GREENE
                                                                                                                                                              VENANGO
                                                                                         FAIRVIEW
                                                                     LAKE CITY
                                                                                                                                                                 WATTSBURG                                                  BEAR
                                                                                                          MCKEAN                                                                                                            LAKE
                                                                          GIRARD
                                                                                                                                       WATERFORD                  AMITY
                                                  SPRINGFIELD                                                                                                                                                                      FREEHOLD
                                                                        PLATEA                                                                                                                                                                                                         PINE GROVE
                                                                                                                                                                                                               COLUMBUS                            SUGAR GROVE                                                 ELK
                                                                                           FRANKLIN
                                                                                                                                                                                                   CORRY                                                                                                                             CORYDON
                                                                     CRANESVILLE                           WASHINGTON                  LEBOEUF                                  ELGIN
                                                                                                                                                           UNION CITY
                                                     CONNEAUT        ALBION                                                                                                          CONCORD
                                                                              ELK CREEK                   EDINBORO                  MILL VILLAGE                                                                                                BROKENSTRAW           CONEWANGO
                                                                                                                                                                   UNION                                                                                                                         GLADE
                                                                                                                                                                                                                                                     YOUNGSVILLE
                                                                                                                                                                                                                                                                                    WARREN
                                                                                                                                                                                                                                     PITTSFIELD
                                                                                                                                                                                                                                                              Warren
                                                                       SPRING                                                                                                           SPARTANSBURG

                                                                                                                                                                                                                                                                                                                                 McKean
                                                                                                                      CAMBRIDGE                            BLOOMFIELD
                                                  BEAVER                                                                             ROCKDALE                                      SPARTA                                                                                   PLEASANT                       MEAD
                                                               SPRINGBORO                  CUSSEWAGO                   SPRINGS
                                                                                                                                                                                                                                                                                         CLARENDON                              HAMILTON
                                                             CONNEAUTVILLE                                                 CAMBRIDGE
                                                                                                                                                              ATHENS                                                                      DEERFIELD
                                                                                                                  WOODCOCK                                                CENTERVILLE      ROME
                                                                      SUMMERHILL                        SAEGERTOWN
                                                                                           HAYFIELD                                    RICHMOND
                                                                                                                                                                                                                                                                  WATSON

                                                                                                        Crawford
                                                                                                                                                                       STEUBEN
                                                                                                                           BLOOMING                                                        OIL CREEK                                        TIDIOUTE                                                    SHEFFIELD
                                                                                                                                                      TOWNVILLE                                                                                                               CHERRY GROVE
                                                                                                                            VALLEY                                                                                                                                                                                              WETMORE
                                                                       SUMMIT                                                                                                                                SOUTHWEST          TRIUMPH                                                                                                        KANE
                                                      LINESVILLE                                                                                                                 HYDETOWN
                                                                                                       MEADVILLE
                                                                                                                                                                TROY
                                                                                                                           EAST         RANDOLPH                                            TITUSVILLE
                                                                     SADSBURY              VERNON
                                                  NORTH                                                        WEST        MEAD
                                                SHENANGO               CONNEAUT LAKE                           MEAD                                                                                    PLEASANTVILLE                                                                                                                         JONES
                                                                                                                                                                                                                                    HARMONY        HICKORY                                       HOWE
                                                                                                                                                                   PLUM          CHERRYTREE
                                                                                                                      EAST                                                                                        ALLEGHENY

                                                                                                                                                                                                                                                                     Forest
                                                     SOUTH           EAST                                           FAIRFIELD
                                                   SHENANGO      FALLOWFIELD                                                                                                                                                                                                                                                   HIGHLAND
                                                                                         GREENWOOD                     COCHRANTON                                                                                                                        KINGSLEY
                                                               WEST                                                                                    JACKSON
                                                            FALLOWFIELD                                                                                                   OAKLAND
                                                                                                               FAIRFIELD                             COOPERSTOWN
                                               WEST SHENANGO                                                                                                                                CORNPLANTER
                                                    JAMESTOWN
                                                                                                                                                                                                                                                                                                                               Elk
                                                                                                                                             CANAL                                                                                                                                       JENKS
                                                                                         SANDY             DEER            FRENCH                                                       ROUSEVILLE
                                                                                         CREEK             CREEK            CREEK                                                                           PRESIDENT                                                                                                                      RIDGWAY
                                                                                                                                                                                                                                    TIONESTA
                                                                                         SHEAKLEYVILLE                                                          SUGARCREEK
                                                                                                                  NEW LEBANON               UTICA
                                                                                                                                                                                     OIL CITY


                                                                                                                                                                  Venango
                                                           GREENVILLE                                    NEW
                                                                                 OTTER                                  MILL CREEK      FRENCHCREEK                                                                                                                                                   MILLSTONE
                                                                                                        VERNON                                                                                                                                                                                                             SPRING CREEK
                                                WEST SALEM      HEMPFIELD        CREEK
                                                                                                                                                                                                                  PINEGROVE                                  FARMINGTON             BARNETT
                                                                                                                                                                                     CRANBERRY
                                                                                                         LAKE
                                                                      DELAWARE                                                                             SANDYCREEK
                                                                                                         STONEBORO
                                                   PYMATUNING                                                                                                                                                                                                                                            HEATH
                                                                                   FREDONIA                            SANDY LAKE      MINERAL                                                                                                                                                                                              HORTON
                                                 SOUTH                                                                                                VICTORY
                                               PYMATUNING                                                                                                                                                                                                                                                               POLK
                                                                                                                                                                           ROCKLAND                         ASHLAND
                                                             CLARK                                  JACKSON
                                                                       JEFFERSON         COOLSPRING CENTER                                                                                                                                                                                                                            SNYDER
                                               SHARPSVILLE
                                                                                          Mercer
                                                                                                                                                                                                                             SHIPPENVILLE                                             ELDRED                                          BROCKWAY
                                               SHARON
                                                                                                                                             IRWIN      CLINTON                                                                         PAINT
                                                   HERMITAGE                                                                                                                             RICHLAND      SALEM                                                                                                   WARSAW
                                                                                                                      WOLF CREEK
                                               FARRELL     LACKAWANNOCK                              FINDLEY
                                                 WHEATLAND                                                                                            CLINTONVILLE                                                                                  STRATTANVILLE
                                                                                                                                                                                                                                          Clarion
                                                                                                                                  BARKEYVILLE                          SCRUBGRASS
                                                                                                                                                                                                                                                                                                           Jefferson
                                                                                     EAST                                  PINE                                                                                                                         CLARION
                                               WEST MIDDLESEX                    LACKAWANNOCK                                                                                  EMLENTON                                                                                   CORSICA
                                                                                                                                                                       CHERRY                   ST.
                                                  SHENANGO                                                          GROVE CITY                                         VALLEY               PETERSBURG                                                                                    BROOKVILLE
                                                                                                                                                                                                                LICKING                                                                                    PINECREEK                         FALLS
                                                                                                                              HARRISVILLE MARION                   EAU CLAIRE              FOXBURG                             PINEY     MONROE           LIMESTONE           CLOVER                                                         CREEK
                                                                                                                                                                                                            CALLENSBURG                                                                   ROSE
                                                                         NEW                                                   MERCER                                                      HOVEY                                                                          SUMMERVILLE
                                                                      WILMINGTON VOLANT                          LIBERTY                                                                                                    SLIGO                                                                                                            DUBOIS
                                                   PULASKI              WILMINGTON                                                                                                   PARKER CITY       PERRY                                                                                            KNOX             REYNOLDSVILLE
                                                                                                        PLAIN
                                                                                                        GROVE                                                                  PARKER                                                                                                                                          WINSLOW       SANDY
                                                                                                                                               CHERRY                                                                 TOBY
                                                                 NESHANNOCK                                                                                                        BRUIN

                                                  Lawrence
                                                                                                                                                                                                                                                                                                                                     SYKESVILLE
                                                                                                                                                                                                                      RIMERSBURG            PORTER
                                                                                              SCOTT                                                                                                                                                            HAWTHORN         WORTHVILLE        OLIVER         MCCALMONT            TROUTVILLE
                                                                                                                    WEST LIBERTY                                                   PETROLIA
                                                                     NEW CASTLE                                                                 WEST SUNBURY                                                                                      NEW BETHLEHEM                                                                   HENDERSON
                                                                                                               WORTH                BRADY                                       KARNS CITY                                                                                   RINGGOLD
                                                                                                                                                CLAY                                               EAST BRADY

                                                                                                                                                     Butler
                                               BESSEMER        SOUTH NEW CASTLE                                                                                                                                                                                  REDBANK                                                          BIG RUN
                                                                                           SLIPPERY                                                                                                                                                                         TIMBLIN                            YOUNG    BELL
                                                                                                                                                                                                                              MADISON              MAHONING

                                                                                                                                                                                                                                                                                                                                   Clearfield
                                                                     TAYLOR                  ROCK                                                                              CHICORA
                                                                                                                                                                                                                                                                                                           PUNXSUTAWNEY
                                               S.N.P.J.




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                                                                                                     PORTERSVILLE

                                                                                                                                                                                                                     Armstrong
                                                 NORTH BEAVER                                                                                                                   DONEGAL
                                                                                                                                                CENTER                                                                                                                                                                               GASKILL
                                                                                                       MUDDYCREEK           PROSPECT                                                                                                                                    WEST
                                                                      WAMPUM
                                                                                                                                                                                                                                        BOGGS            WAYNE DAYTON MAHONING                     NORTH
                                               LITTLE BEAVER      NEW                                                                                    EAST BUTLER                              WEST
                                                                                                                             CONNOQUENESSING                                                                   EAST FRANKLIN                                         SMICKSBURG                   MAHONING           CANOE
                                                                 BEAVER         ELLPORT                                                                                                         FRANKLIN                                                                                                                             BANKS
                                                 ENON VALLEY                                                   LANCASTER                                                     CLEARFIELD
                                                                                                                                                                                                                                                                                                               Indiana
                                                                           ELLWOOD CITY
                                                            NEW                                                                                BUTLER                                        WORTHINGTON           RAYBURN
                                               DARLINGTON GALILEE         KOPPEL                                                                                                                                              VALLEY                                            SOUTH            EAST                                  GLEN
                                                                                                                                                                                                         WEST KITTANNING                                                                                                             CAMPBELL
                                                                   HOMEWOOD                                                                                                                                                                                                    MAHONING        MAHONING
                                                                                                                                                                                                             APPLEWOLD

                                                                                         Beaver
                                                                                                            FORWARD                                                                                                                                  RURAL VALLEY
                                                         CHIPPEWA
                                                              WEST MAYFIELD
                                                                                          ZELIENOPLE                                                                                          NORTH BUFFALO MANORVILLE                                                      PLUMVILLE                                   County
                                                                                                                                                                                                                                                                                                                     GRANT
                                                                                                                                                                                                                                                                                                                                          BURNSIDE
                                                                                                                          PENN                                                  WINFIELD                                                             COWANSHANNOCK                                MARION
                                                                     EASTVALE                        EVANS CITY                                                                                              FORD CITY                                                                                                           MONTGOMERY
                                                                                                                                                                                                                         KITTANNING                                                               CENTER
                                               SOUTH BEAVER       PATTERSON DAUGHERTY                                                                           SAXONBURG                           CADOGAN     MANOR                                            ATWOOD                                                 Municipalities
                                                               PATTERSON HEIGHTS                         CALLERY
                                                                                                                                                                                                                                                                                                                        DistrictCambria
                                                                                      NEW                                                                                                                                                         PLUMCREEK                                                                      CHERRY TREE
0      5   10       20 Miles
                                                                      FALLSTON     SEWICKLEY                 ADAMS
                                                                                                                        MIDDLESEX
                                                                                                                                                                                BUFFALO      SOUTH BUFFALO
                                                                                                                                                                                                                                                                                              RAYNE
                                                                                                                                                                                                                                                                                                                                16
                                                                                                                                                                                                                   BETHEL
                                                            BRIGHTON BRIDGEWATER                                                                                                                                                                                                                      CHERRYHILL        GREEN
                                                                                                                                               Allegheny
                                               OHIOVILLE                 EAST ROCHESTER             SEVEN FIELDS                                                                         FREEPORT                             BURRELL              ELDERTON                                                                       SUSQUEHANNA

                                                                                                                                                                                        Westmoreland
                                                                  VANPORT MONACA                                                                                                                         GILPIN                                                        CREEKSIDE
                                                      INDUSTRY                                  MARSHALL       VALENCIA                                                                                                                 SOUTH BEND           ARMSTRONG WHITE
                                                                    POTTER       CONWAY                                                                                 FAWN                                      PARKS                                                                                   CLYMER             NORTHERN CAMBRIA
           LITTLE BEAVER                                   NEW BEAVER        WAYNE           ELLPORT                              Lawrence
                           ENON VALLEY
                                                       Case 1:22-cv-00208-JPW Document  49-6 Congressional
                                                                                   Preliminary Filed 02/27/22
                                                                                       ELLWOOD CITY
                                                                                                                Page 129 of 157
                                                                                                           Plan Amendment
                                                                                                                                                                                                                                                                                                                                                            EAST
                                                                                                                                                                                                                                                                                                                                                          FRANKLIN

                                          NEW GALILEE                        KOPPEL
                                                                                                                    FRANKLIN
                                                                                                                                                     LANCASTER                      CONNOQUENESSING
                                                                                                                                                                                Based on Holt Map
                                                                                                                                                                                                                                  BUTLER                              SUMMIT                           CLEARFIELD
                                                                                                                                                                                                                                                                                                                     DISTRICT            WORTHINGTON
                                                                                                                                                                                                                                                                                                                                                          17
                                                                                                                                                                                                                                                                                                                              WEST FRANKLIN
                    DARLINGTON                             BIG BEAVER
                                                                        HOMEWOOD
                                                                                          NORTH
                                                                                        SEWICKLEY


                                                                       BEAVER FALLS                                   MARION              ZELIENOPLE                                                                                                                                                                                       NORTH BUFFALO

                                                                                                                                                                                                                            Butler
                                                                                                                                                           JACKSON                          FORWARD                                                                 JEFFERSON                          WINFIELD
                                                                   WEST MAYFIELD
                                                                     WHITE   EASTVALE                                                                                     EVANS CITY
                      SOUTH BEAVER                    CHIPPEWA         PATTERSON
                                                                                                                                                                                                                                                                                                                                         Armstrong
                                                                                                                                                                                                                                                                                                                                                          CADOGAN
                                                                                            DAUGHERTY                                                                                                                                                                    SAXONBURG
                                                                       PATTERSON
                                                                        HEIGHTS                                                                                                      CALLERY
                                                                                                                                                                                                                                                                                                                                                              BETHEL
                                                                                    PULASKI
                                                                          FALLSTON                                  NEW SEWICKLEY                                                                                                                                                                                                       SOUTH BUFFALO
                                                                             NEW BRIGHTON
                                                                              BRIDGEWATER
                                                                                   ROCHESTER                                                           CRANBERRY                                ADAMS                           MIDDLESEX
                                                            BRIGHTON                                                                                                                                                                                                CLINTON                            BUFFALO
                                                                                            EAST
                                                                               BEAVER    ROCHESTER                                                                                              MARS
                  OHIOVILLE                                              VANPORT             FREEDOM                                                                                                                                                                                                                   FREEPORT
                                                                                                                                                                        SEVEN FIELDS
                                                                                               MONACA
                                                                                                                                                                                                        VALENCIA
                                                                                                                                                                                                                                                                                                                                                     GILPIN
                                                                                                         CONWAY
                                       INDUSTRY
                                                      Beaver        POTTER
                                                                                      CENTER                                                                                                                                                                                                  FAWN
           GLASGOW                                                                                                                                                                       PINE                      RICHLAND
                           MIDLAND                                                                               BADEN        ECONOMY              MARSHALL       BRADFORD
           GEORGETOWN                                                                                                                                                                                                                          WEST DEER                                                       HARRISON                            WEST
                                                                                                                                                                   WOODS                                                                                                                                                                                  HYDE
                                                                                                                                                                                                                                                                                                                                                LEECHBURG
                                     SHIPPINGPORT                                                                                                                                                                                                                                                                                                         PARK

                                                                                                                                                                                                                                                                                   FRAZER                                               ALLEGHENY              PARKS
                                                                                                  ALIQUIPPA                                                                                                                                                                                       BRACKENRIDGE
                                                                                                               HARMONY

                    HOOKSTOWN                         RACCOON                                                                                                                                                                                                                                     TARENTUM                                           VANDERGRIFT
                                                                                                                                                                                                                                                                                          EAST
                                                                                                           AMBRIDGE                                                                                                                                                                       DEER
                 GREENE                                                                                                         BELL ACRES             FRANKLIN PARK
                                                                                                                                                                                    MCCANDLESS                       HAMPTON                                                                  ARNOLD          LOWER BURRELL
                                                                                                                                                SEWICKLEY                                                                                                                                                                                                OKLAHOMA
                                                                                                     SOUTH HEIGHTS     LEET                                                                                                                     INDIANA
                                                                                                                                                  HILLS                                                                                                                                             NEW
                                                                                                               LEETSDALE                                                                                                                                                                         KENSINGTON
                                                                                                                                        SEWICKLEY
                                                                                                              CRESCENT                   HEIGHTS
                                                                                                                          EDGEWORTH                                                                                                                                                SPRINGDALE                                                                   BELL
                                                                                                                                                                                                                                                                HARMAR                                                    UPPER BURRELL
                                                                                                                                                                 OHIO                                                                                                          CHESWICK
                                                                                                                              GLEN OSBORNE                                                      ROSS
                                                                                                                                            ALEPPO
                                                                                                                                                                                                                   SHALER                   FOX CHAPEL
                                                                                                                                             GLENFIELD KILBUCK
                                                                                                                                    CORAOPOLIS      EMSWORTH           BEN AVON WEST VIEW                                                                       OAKMONT
                                                                                                                         MOON                                                                                                                                                                                                                   WASHINGTON
                                                                                                                                                                        HEIGHTS
                                                                                                                                                       NEVILLE                                                                                                                                         PLUM
                                                                                                                                                                      BEN                                              ETNA                               O'HARA VERONA
                                                                                                                                                                     AVON AVALON
                                                                                                                                                                              BELLEVUE                                  SHARPSBURG                     BLAWNOX
                                                                                                                                                                                                    RESERVE                                ASPINWALL
                              FRANKFORT                                                 FINDLAY                                                                         STOWE                               MILLVALE                                                      PENN HILLS
                               SPRINGS
                                                                                                                                                                                                        Allegheny
                                                                                                                                                            KENNEDY
                                                                                                                                                                     MCKEES ROCKS


                                                                                                                                                                         INGRAM                                                                 WILKINSBURG
                                                                                                                                                                                                                                                                                                                                  MURRYSVILLE
                                                                                                                                                                 THORNBURG                                                                     FOREST HILLS
                                                                                                                                                                                                          PITTSBURGH
                                                                                                                                                           PENNSBURY                                                                      EDGEWOOD
                                                                                                                                                                        CRAFTON                                                                                                             MONROEVILLE
                           HANOVER                                                                                                                           VILLAGE                                                                            BRADDOCK     WILKINS
                                                                                                               NORTH FAYETTE                                ROSSLYN FARMS GREEN                                                        SWISSVALE HILLS
                                                                                                                                                                            TREE                                                                               TURTLE                                                                           EXPORT    DELMONT
                                                                              ROBINSON                                                                                                            MOUNT OLIVER                    HOMESTEAD RANKIN     CHALFANT CREEK
                                                                                                                                                                                                                                                                   PITCAIRN
                                                                                                                                                                 CARNEGIE
                                                                                                                              OAKDALE                                                                                                   BRADDOCK
                                                                                                                                                 COLLIER
                                                                                                                                                                                   DORMONT                         WEST HOMESTEAD WHITAKER        EAST WILMERDING                                                                                              SALEM
                                                                                                                                                              HEIDELBERG                                                                                          WALL
                                                                                                                                                                                                                                              PITTSBURGH    EAST         TRAFFORD
                                             BURGETTSTOWN                                                                                                                                                        BALDWIN
                                                                                                                                                                      SCOTT                                                   MUNHALL                   MCKEESPORT
                                                                                                                                                                                MOUNT                                                        DUQUESNE
                                                                                                                                                                                                                                                                                                                      Westmoreland
                                                           SMITH                                                                                                                                          BRENTWOOD                                       NORTH
                                                                                       MIDWAY             MCDONALD                                                             LEBANON     CASTLE                                                                        VERSAILLES                                                              PENN
                                                                                                                                                                                          SHANNON
                                                                                                                                                       BRIDGEVILLE                                     WHITEHALL
                                                                                                                                SOUTH FAYETTE                                                                               WEST MIFFLIN              MCKEESPORT
                                                                                                                                                                                                                                                                                                                                 MANOR
                                                                                                                                                                                                                                            DRAVOSBURG                          WHITE OAK
                                                                                                                                                                 UPPER ST.                                                                        PORT VUE                                                      NORTH IRWIN
                                                                                                                                                                   CLAIR                                         PLEASANT
                                                                                                                                                                                                                                                                                                                                                 JEANNETTE
                                                                                                                                                                                                                   HILLS                                  LIBERTY                                    NORTH            IRWIN
                                                                                                                                                                                BETHEL PARK                                                                     VERSAILLES                         HUNTINGDON
                                                                                                                      CECIL                                                                                                                   GLASSPORT                                                                            ADAMSBURG
                                                                                 MOUNT                                                                                                                                                                                             SOUTH
                                                                                PLEASANT                                                                                                                                                                   LINCOLN               VERSAILLES
                                          CROSS CREEK                                                                                                                                             SOUTH PARK
                                                                                                                                                                                                                            JEFFERSON
                                                                                                                                                                                                                               HILLS          CLAIRTON

                                                                                                                                                                                                                                                                                                                                              HEMPFIELD
                                                                                                                                                                                                                                             WEST
                                                                                                                                                                     PETERS
                                                                                                                                                                                                                                           ELIZABETH
                                                                                                                          CANONSBURG                                                                                                                                                                                                 ARONA
                                                                                                        CHARTIERS                                                                                                                                                   ELIZABETH
                                                                                                                                                                                                FINLEYVILLE
                                        WEST                                                                        HOUSTON                                                                                                                                                                               SEWICKLEY
                                                                    Washington
                                                                                                                                                                                                                                                                                                                              MADISON               YOUNGWOOD
                                     MIDDLETOWN                                                                                                                                                          UNION
                                                                                                                                                                                                                                                                            SUTERSVILLE
               INDEPENDENCE                       HOPEWELL                                                                               NORTH
                                                                                                                                        STRABANE                                                                                                                                                                                                      NEW
                                                                                                                                                                                                                                                                                                                                                    STANTON
                                                                                                                                                                          NOTTINGHAM
                                                                                                                                                                                                                    NEW EAGLE                                                          WEST NEWTON
                                                                                                                                                                                                                                                                                                                                                    HUNKER
                                                                                   CANTON
                                                                                                                                                                                                                              MONONGAHELA

                                                                                                                                                                                                                      CARROLL
                                                  BLAINE                                                      EAST          SOUTH                                                                                                                      DONORA            ROSTRAVER
                                                                                                           WASHINGTON      STRABANE                                                                                                                                                                                   SOUTH




    .
                                                                                                                                                                                                                                                                                                                    HUNTINGDON

                                                                                                                                                                                                                                      NORTH MONESSEN                                                 SMITHTON
                                                                                                   NORTH
                                                                                                                                                                                                                                    CHARLEROI                                                                                                      EAST
                                                                                                  FRANKLIN                                                                SOMERSET
                                                                                                                                                                                                                                        CHARLEROI                                                                                               HUNTINGDON
                       DONEGAL                                                                                                                                                                                   FALLOWFIELD                      NORTH BELLE
                                                                                                                                                                                                                                          SPEERS     VERNON
                                                                                                                                                                                                BENTLEYVILLE
                                       CLAYSVILLE                                                                                                                                                                                               BELLE VERNON
                                                                               GREEN HILLS                                                                                                                                               TWILIGHT   DUNLEVY
                                                                                                                                                                                         ELLSWORTH
                                                                                                                         AMWELL                                                                                                                                                                          PERRY                              County      SCOTTDALE
                                                                                          SOUTH                                                                                                                                                   LONG       FAYETTE CITY
                                                                                                                                                                                                                                                                                                                     Fayette
                                                                                                                                                             NORTH        COKEBURG
                                                                                                                                                                                                                                                 BRANCH      ALLENPORT
                                                                                         FRANKLIN                                                          BETHLEHEM
                                                                                                                                                                                                                                CALIFORNIA                                                                                                  Municipalities
                                                                                                                                                                                                                                                                                                                                                    EVERSON
                                                  EAST FINLEY                                                                                                                                          WEST PIKE RUN                        ELCO          STOCKDALE                               PERRYOPOLIS
0   4.25      8.5                                          17 Miles                                                                                                                                                                       NEWELL       ROSCOE                                                             LOWER TYRONE      DistrictUPPER
                                                                                                                                                                                                                                                                                                                                                     17 TYRONE
                                                                                                                                                   WEST                            BEALLSVILLE                                       COAL CENTER
                    WEST FINLEY
                                                                                      MORRIS                                                     BETHLEHEM
                                                                                                                                                                              DEEMSTON             CENTERVILLE                                                                                                                                 CONNELLSVILLE
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                  Exhibit 2
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                     The Statewide population = 13,002,700

                  The Average population per district = 764,865

     DISTRICT                  POPULATION                         DEVIATION

1                    764,865                            +0 (0.00%)

2                    764,865                            +0 (0.00%)

3                    764,865                            +0 (0.00%)

4                    764,865                            +0 (0.00%)

5                    764,865                            +0 (0.00%)

6                    764,865                            +0 (0.00%)

7                    764,864                            -1 (0.00%)

8                    764,864                            -1 (0.00%)

9                    764,864                            -1 (0.00%)

10                   764,865                            +0 (0.00%)

11                   764,865                            +0 (0.00%)

12                   764,865                            +0 (0.00%)

13                   764,864                            -1 (0.00%)

14                   764,865                            +0 (0.00%)

15                   764,864                            -1 (0.00%)

16                   764,865                            +0 (0.00%)

17                   764,865                            +0 (0.00%)
Preliminary
         CasePlan  Amendment 1 Document 49-6 Filed 02/27/22 Page 132 of 157
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                  LEGISLATIVE DATA PROCESSING CENTER
                           COMPOSITE LISTING
                                    OF
                        CONGRESSIONAL DISTRICTS
 DISTRICT NUMBER                         DESCRIPTION

 Dist. 01    BUCKS and MONTGOMERY Counties.
             All of BUCKS County and Part of MONTGOMERY County
             consisting of the TOWNSHIPS of Franconia, Hatfield,
             Horsham (PART, Districts 02 [PART, Divisions 01, 01
             and 03] and 04 [PART, Divisions 02 and 03]),
             Marlborough, Montgomery, Salford and Upper Hanover
             and the BOROUGHS of East Greenville, Green Lane,
             Hatfield, Lansdale, Pennsburg, Red Hill, Souderton
             and Telford (Montgomery County Portion).
             Total population: 764,865

 Dist. 02    PHILADELPHIA County.
             Part of PHILADELPHIA County consisting of the CITY of
             Philadelphia (PART, Wards 01 [PART, Division 17], 02,
             05, 07, 08 [PART, Divisions 26, 30, 32 and 34], 14,
             16 [PART, Divisions 01, 02, 03, 04 and 05], 18, 19,
             20, 23, 25, 31, 33, 35, 37, 41, 42, 43, 45, 47 [PART,
             Divisions 01, 02, 03, 04, 05, 06, 07, 08 and 12], 53,
             54, 55, 56, 57, 58 [PART, Divisions 02, 04, 05, 06,
             12, 13, 14, 20, 21, 22, 23, 24, 25, 28, 29, 31, 34,
             35, 37, 39, 40, 41 and 42], 61, 62, 63, 64, 65 and
             66).
             Total population: 764,865
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                            CONGRESSIONAL DISTRICTS



Dist. 03   PHILADELPHIA County.
           Part of PHILADELPHIA County consisting of the CITY of
           Philadelphia (PART, Wards 01 [PART, Divisions 01, 02,
           03, 04, 05, 06, 07, 08, 09, 10, 11, 12, 13, 14, 15,
           16, 18, 19, 20 and 21], 03, 04, 06, 08 [PART,
           Divisions 01, 02, 03, 04, 05, 06, 07, 08, 09, 10, 11,
           12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24,
           25, 27, 28, 29, 31, 33 and 35], 09, 10, 11, 12, 13,
           15, 16 [PART, Divisions 06, 07, 08, 09, 10, 11, 12,
           13, 14, 15, 16, 17 and 18], 17, 21, 22, 24, 27, 28,
           29, 30, 32, 34, 36, 38, 39 [PART, Divisions 01, 02,
           03, 04, 05, 06, 07, 08, 09, 10, 11, 12, 13, 15, 16,
           17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 27, 28, 29,
           30, 31, 32, 33, 34, 35, 36, 37, 38, 39, 40, 41, 42,
           43, 44, 45 and 46], 40 [PART, Divisions 02, 03, 04,
           06, 07, 10, 12, 13, 17, 18, 19, 20, 21, 22, 23, 24,
           25, 26, 32 and 33], 44, 46, 47 [PART, Divisions 09,
           10, 11, 13 and 14], 48, 49, 50, 51, 52, 59 and 60).
           Total population: 764,865

Dist. 04   MONTGOMERY and PHILADELPHIA Counties.
           Part of MONTGOMERY County consisting of the TOWNSHIPS
           of Abington, Cheltenham, Douglass, East Norriton,
           Horsham (PART, Districts 01, 02 [PART, Divisions 02
           and 04], 03 and 04 [PART, Divisions 01, 02 and 04]),
           Limerick, Lower Frederick, Lower Gwynedd, Lower
           Merion, Lower Moreland, Lower Pottsgrove, Lower
           Providence, Lower Salford, New Hanover, Perkiomen,
           Plymouth, Skippack, Springfield, Towamencin, Upper
           Dublin, Upper Frederick, Upper Gwynedd, Upper Merion,
           Upper Moreland, Upper Pottsgrove, Upper Providence,
           Upper Salford, West Norriton, West Pottsgrove,
           Whitemarsh, Whitpain and Worcester and the BOROUGHS
           of Ambler, Bridgeport, Bryn Athyn, Collegeville,
           Conshohocken, Hatboro, Jenkintown, Narberth,
           Norristown, North Wales, Pottstown, Rockledge,
           Royersford, Schwenksville, Trappe and West
           Conshohocken and Part of PHILADELPHIA County
           consisting of the CITY of Philadelphia (PART, Ward 58
           [PART, Divisions 01, 03, 07, 08, 09, 10, 11, 15, 16,
           17, 18, 19, 26, 27, 30, 32, 33, 36, 38, 43 and 44]).
           Total population: 764,865
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                            CONGRESSIONAL DISTRICTS



Dist. 05   CHESTER, DELAWARE and PHILADELPHIA Counties.
           Part of CHESTER County consisting of the TOWNSHIPS of
           Birmingham, East Bradford, East Goshen, East
           Marlborough, Kennett, New Garden, Pennsbury, Pocopson,
           Thornbury, West Goshen, West Whiteland (PART,
           Precincts 01, 02, 03 and 04 (all blocks except 1016
           and 3000 of tract 302205)) and Westtown and the
           BOROUGHS of Kennett Square and West Chester; All of
           DELAWARE County and Part of PHILADELPHIA County
           consisting of the CITY of Philadelphia (PART, Wards
           26, 39 [PART, Division 14] and 40 [PART, Divisions
           01, 05, 08, 09, 11, 14, 15, 16, 27, 28, 29, 30, 31,
           34, 35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 45, 46,
           47, 48, 49, 50 and 51]).
           Total population: 764,865
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                            CONGRESSIONAL DISTRICTS



Dist. 06   BERKS and CHESTER Counties.
           Part of BERKS County consisting of the CITY of Reading
           and the TOWNSHIPS of Alsace, Amity, Bern, Bethel,
           Brecknock, Caernarvon, Centre (PART, Precincts 01 and
           02 (only blocks 1029, 1030, 1031, 1033, 1034, 1039,
           1044, 1045, 1046, 3010, 3012, 3013, 3014, 3021, 3022,
           3023, 3024, 3025, 3026, 3027, 3028, 3029, 3037, 3042,
           3050, 3056, 3059 and 3066 of tract 010201)),
           Colebrookdale, Cumru, District, Douglass, Earl,
           Exeter, Heidelberg, Jefferson, Lower Alsace, Lower
           Heidelberg, Maidencreek, Marion, Muhlenberg, North
           Heidelberg, Oley, Ontelaunee, Penn, Pike, Robeson,
           Rockland, Ruscombmanor, South Heidelberg, Spring,
           Tulpehocken, Union, Upper Bern and Upper Tulpehocken
           and the BOROUGHS of Adamstown (Berks County Portion),
           Bernville, Birdsboro, Boyertown, Kenhorst, Laureldale,
           Leesport, Mohnton, Mount Penn, New Morgan, Robesonia,
           Shillington, Sinking Spring, St. Lawrence,
           Wernersville, West Reading, Womelsdorf and Wyomissing
           and Part of CHESTER County consisting of the CITY of
           Coatesville and the TOWNSHIPS of Caln, Charlestown,
           East Brandywine, East Caln, East Coventry, East
           Fallowfield, East Nantmeal, East Nottingham, East
           Pikeland, East Vincent, East Whiteland, Easttown, Elk,
           Franklin, Highland, Honey Brook, London Britain,
           London Grove, Londonderry, Lower Oxford, New London,
           Newlin, North Coventry, Penn, Sadsbury, Schuylkill,
           South Coventry, Tredyffrin, Upper Oxford, Upper
           Uwchlan, Uwchlan, Valley, Wallace, Warwick, West
           Bradford, West Brandywine, West Caln, West
           Fallowfield, West Marlborough, West Nantmeal, West
           Nottingham, West Pikeland, West Sadsbury, West
           Vincent, West Whiteland (PART, Precincts 04 (only
           blocks 1016 and 3000 of tract 302205), 05, 06 and 07)
           and Willistown and the BOROUGHS of Atglen, Avondale,
           Downingtown, Elverson, Honey Brook, Malvern, Modena,
           Oxford, Parkesburg, Phoenixville, South Coatesville,
           Spring City and West Grove.
           Total population: 764,865
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                            CONGRESSIONAL DISTRICTS



Dist. 07   BERKS, LEHIGH, MONROE and NORTHAMPTON Counties.
           Part of BERKS County consisting of the TOWNSHIPS of
           Albany, Centre (PART, Precinct 02 (all blocks except
           1029, 1030, 1031, 1033, 1034, 1039, 1044, 1045, 1046,
           3010, 3012, 3013, 3014, 3021, 3022, 3023, 3024, 3025,
           3026, 3027, 3028, 3029, 3037, 3042, 3050, 3056, 3059
           and 3066 of tract 010201)), Greenwich, Hereford,
           Longswamp, Maxatawny, Perry, Richmond, Tilden,
           Washington and Windsor and the BOROUGHS of Bally,
           Bechtelsville, Centerport, Fleetwood, Hamburg,
           Kutztown, Lenhartsville, Lyons, Shoemakersville and
           Topton; All of LEHIGH County; Part of MONROE County
           consisting of the TOWNSHIPS of Eldred, Hamilton, Ross
           and Stroud (PART, Districts 05 (only blocks 2015,
           2016, 2017 and 2018 of tract 301002), 06 and 07) and
           All of NORTHAMPTON County.
           Total population: 764,864
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                            CONGRESSIONAL DISTRICTS



Dist. 08   BRADFORD, LACKAWANNA, LUZERNE, MONROE, PIKE,
           SUSQUEHANNA, WAYNE and WYOMING Counties.
           All of BRADFORD County; All of LACKAWANNA County; Part
           of LUZERNE County consisting of the CITIES of Pittston
           and Wilkes-Barre and the TOWNSHIPS of Dallas, Exeter,
           Franklin, Jackson, Jenkins, Kingston, Lake, Lehman,
           Pittston, Plains, Plymouth, Ross and Wilkes-Barre and
           the BOROUGHS of Avoca, Dallas, Dupont, Duryea, Exeter,
           Forty Fort, Harveys Lake, Hughestown, Kingston,
           Laflin, Laurel Run, Luzerne (PART, (all blocks except
           2000, 2001, 2002, 2003, 2004, 2005, 2006, 2007, 2008,
           2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016, 2017,
           2018, 2019, 2020, 2021, 3003, 3004, 3005, 3006, 3007,
           3008, 3009, 3010, 3011, 3012, 3013, 3018, 3019, 3026,
           3027 and 3028 of tract 212300)), Swoyersville, West
           Pittston, West Wyoming, Wyoming and Yatesville; Part
           of MONROE County consisting of the TOWNSHIPS of
           Barrett, Chestnuthill, Coolbaugh, Jackson, Middle
           Smithfield, Paradise, Pocono, Polk, Price, Smithfield,
           Stroud (PART, Districts 01, 02, 03, 04 and 05 (all
           blocks except 2015, 2016, 2017 and 2018 of tract
           301002)), Tobyhanna and Tunkhannock and the BOROUGHS
           of Delaware Water Gap, East Stroudsburg, Mount Pocono
           and Stroudsburg; All of PIKE County; All of
           SUSQUEHANNA County; All of WAYNE County and All of
           WYOMING County.
           Total population: 764,864
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                            CONGRESSIONAL DISTRICTS



Dist. 09   CARBON, CLINTON, COLUMBIA, LUZERNE, LYCOMING,
           MONTOUR, NORTHUMBERLAND, POTTER, SCHUYLKILL, SNYDER,
           SULLIVAN, TIOGA and UNION Counties.
           All of CARBON County; Part of CLINTON County
           consisting of the TOWNSHIP of Pine Creek (PART,
           District 01 (all blocks except 1007, 1008, 1010, 1011,
           1037, 1064, 2003, 2004, 2005, 2006, 2007, 2008, 2009,
           2010, 2013, 2015, 2016, 2022, 2023, 2024, 2025, 2027,
           2028, 2057, 2059, 3000 and 3021 of tract 030400)) and
           the BOROUGH of Avis; All of COLUMBIA County; Part of
           LUZERNE County consisting of the CITIES of Hazleton
           and Nanticoke and the TOWNSHIPS of Bear Creek, Black
           Creek, Buck, Butler, Conyngham, Dennison, Dorrance,
           Fairmount, Fairview, Foster, Hanover, Hazle,
           Hollenback, Hunlock, Huntington, Nescopeck, Newport,
           Rice, Salem, Slocum, Sugarloaf, Union and Wright and
           the BOROUGHS of Ashley, Bear Creek Village, Conyngham,
           Courtdale, Edwardsville, Freeland, Jeddo, Larksville,
           Luzerne (PART, (all blocks except 1000, 1001, 1002,
           1003, 1004, 1005, 1006, 1007, 1008, 1009, 1010, 1011,
           1012, 1013, 1014, 1015, 1016, 1017, 1018, 1019, 1020,
           1021, 1022, 1023, 1024, 3000, 3001, 3002, 3014, 3015,
           3016, 3017, 3020, 3021, 3022, 3023, 3024 and 3025 of
           tract 212300)), Nescopeck, New Columbus, Nuangola,
           Penn Lake Park, Plymouth, Pringle, Shickshinny, Sugar
           Notch, Warrior Run, West Hazleton and White Haven;
           All of LYCOMING County; All of MONTOUR County; All of
           NORTHUMBERLAND County; All of POTTER County; All of
           SCHUYLKILL County; Part of SNYDER County consisting
           of the TOWNSHIPS of Chapman, Jackson, Middlecreek,
           Monroe, Penn, Union and Washington and the BOROUGHS
           of Freeburg, Selinsgrove and Shamokin Dam; All of
           SULLIVAN County; All of TIOGA County and Part of UNION
           County consisting of the TOWNSHIPS of Buffalo (PART,
           District 01 (only blocks 2034, 2035, 2036, 2037, 2044,
           2045, 2047, 2056, 2057, 2058, 2059, 2060, 2061, 2062
           and 2063 of tract 090502)), East Buffalo, Kelly and
           Union and the BOROUGH of Lewisburg.
           Total population: 764,864
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                            CONGRESSIONAL DISTRICTS



Dist. 10   ADAMS, CUMBERLAND, DAUPHIN and YORK Counties.
           All of ADAMS County; Part of CUMBERLAND County
           consisting of the TOWNSHIPS of East Pennsboro,
           Hampden, Lower Allen, Monroe, Silver Spring (PART,
           Precincts 02 (all blocks except 2020, 2021, 2026,
           2027, 2028, 2029 and 2030 of tract 011806), 03, 04,
           05, 06, 07, 08 and 09) and Upper Allen and the
           BOROUGHS of Camp Hill, Lemoyne, Mechanicsburg, New
           Cumberland, Shiremanstown and Wormleysburg; Part of
           DAUPHIN County consisting of the CITY of Harrisburg
           and All of YORK County.
           Total population: 764,865

Dist. 11   DAUPHIN, LANCASTER and LEBANON Counties.
           Part of DAUPHIN County consisting of the TOWNSHIPS of
           Conewago, Derry, East Hanover (PART, Precinct 01 (only
           blocks 2077, 2078, 2081, 2082, 2083, 2084, 3013, 3014,
           3016, 3017, 3018, 3019, 3020, 3021, 3022, 3023, 3024,
           3025, 3026, 3027, 3028, 3029, 3030, 3031, 3032, 3033,
           3034, 3035, 3036, 3037, 3038, 3039, 3040, 3041, 3042,
           3043 and 3044 of tract 024502)), Londonderry, Lower
           Swatara and South Hanover and the BOROUGHS of
           Highspire, Hummelstown, Middletown and Royalton; All
           of LANCASTER County and All of LEBANON County.
           Total population: 764,865
       Case 1:22-cv-00208-JPW Document 49-6 Filed 02/27/22 Page 140 of 157
                            CONGRESSIONAL DISTRICTS



Dist. 12   ARMSTRONG, BUTLER, CAMBRIA, CAMERON, CENTRE, CLARION,
           CLEARFIELD, CLINTON, ELK, FOREST, INDIANA, JEFFERSON,
           MCKEAN and WARREN Counties.
           All of ARMSTRONG County; Part of BUTLER County
           consisting of the TOWNSHIPS of Allegheny, Buffalo,
           Clearfield, Clinton, Donegal, Fairview, Jefferson,
           Parker, Summit (PART, District South (only blocks
           1012, 1013, 1015, 1016, 1020, 1021, 1022, 1023, 1024,
           1025, 1026, 1027, 1028, 1029, 1030, 1031, 3042, 3049,
           3050 and 3051 of tract 911200)) and Winfield and the
           BOROUGHS of Bruin, Chicora, Fairview, Karns City,
           Petrolia and Saxonburg; Part of CAMBRIA County
           consisting of the CITY of Johnstown and the TOWNSHIPS
           of Allegheny, Barr, Blacklick, Cambria, Chest,
           Clearfield, Cresson, Croyle, Dean, East Carroll, East
           Taylor, Elder, Gallitzin, Jackson, Lower Yoder, Middle
           Taylor, Munster, Portage, Reade, Stonycreek (PART,
           District 02), Summerhill, Susquehanna, Upper Yoder,
           Washington, West Carroll, West Taylor and White and
           the BOROUGHS of Ashville, Brownstown, Carrolltown,
           Cassandra, Chest Springs, Cresson, Daisytown, Dale,
           East Conemaugh, Ebensburg, Ehrenfeld, Ferndale,
           Franklin, Gallitzin, Hastings, Lilly, Lorain, Loretto,
           Nanty Glo, Northern Cambria, Patton, Portage,
           Sankertown, South Fork, Southmont, Summerhill,
           Tunnelhill (Cambria County Portion), Vintondale,
           Westmont and Wilmore; All of CAMERON County; All of
           CENTRE County; All of CLARION County; All of
           CLEARFIELD County; Part of CLINTON County consisting
           of the CITY of Lock Haven and the TOWNSHIPS of
           Allison, Bald Eagle, Beech Creek, Castanea, Chapman,
           Colebrook, Crawford, Dunnstable, East Keating,
           Gallagher, Greene, Grugan, Lamar, Leidy, Logan, Noyes,
           Pine Creek (PART, Districts 01 (only blocks 1007,
           1008, 1010, 1011, 1037, 1064, 2003, 2004, 2005, 2006,
           2007, 2008, 2009, 2010, 2013, 2015, 2016, 2022, 2023,
           2024, 2025, 2027, 2028, 2057, 2059, 3000 and 3021 of
           tract 030400) and 02), Porter, Wayne, West Keating
           and Woodward and the BOROUGHS of Beech Creek,
           Flemington, Loganton, Mill Hall, Renovo and South
           Renovo; All of ELK County; All of FOREST County; All
           of INDIANA County; All of JEFFERSON County; All of
           MCKEAN County and All of WARREN County.
           Total population: 764,865
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                            CONGRESSIONAL DISTRICTS



Dist. 13   BLAIR, CUMBERLAND, DAUPHIN, FRANKLIN, FULTON,
           HUNTINGDON, JUNIATA, MIFFLIN, PERRY, SNYDER and UNION
           Counties.
           All of BLAIR County; Part of CUMBERLAND County
           consisting of the TOWNSHIPS of Cooke, Dickinson,
           Hopewell, Lower Frankford, Lower Mifflin, Middlesex,
           North Middleton, North Newton, Penn, Shippensburg,
           Silver Spring (PART, Precincts 01 and 02 (only blocks
           2020, 2021, 2026, 2027, 2028, 2029 and 2030 of tract
           011806)), South Middleton, South Newton, Southampton,
           Upper Frankford, Upper Mifflin and West Pennsboro and
           the BOROUGHS of Carlisle, Mount Holly Springs,
           Newburg, Newville and Shippensburg (Cumberland County
           Portion); Part of DAUPHIN County consisting of the
           TOWNSHIPS of East Hanover (PART, Precincts 01 (all
           blocks except 2077, 2078, 2081, 2082, 2083, 2084,
           3013, 3014, 3016, 3017, 3018, 3019, 3020, 3021, 3022,
           3023, 3024, 3025, 3026, 3027, 3028, 3029, 3030, 3031,
           3032, 3033, 3034, 3035, 3036, 3037, 3038, 3039, 3040,
           3041, 3042, 3043 and 3044 of tract 024502) and 02),
           Halifax, Jackson, Jefferson, Lower Paxton, Lykens,
           Middle Paxton, Mifflin, Reed, Rush, Susquehanna,
           Swatara, Upper Paxton, Washington, Wayne, West
           Hanover, Wiconisco and Williams and the BOROUGHS of
           Berrysburg, Dauphin, Elizabethville, Gratz, Halifax,
           Lykens, Millersburg, Paxtang, Penbrook, Pillow,
           Steelton and Williamstown; All of FRANKLIN County;
           All of FULTON County; All of HUNTINGDON County; All
           of JUNIATA County; All of MIFFLIN County; All of PERRY
           County; Part of SNYDER County consisting of the
           TOWNSHIPS of Adams, Beaver, Center, Franklin, Perry,
           Spring, West Beaver and West Perry and the BOROUGHS
           of Beavertown, McClure and Middleburg and Part of
           UNION County consisting of the TOWNSHIPS of Buffalo
           (PART, Districts 01 (all blocks except 2034, 2035,
           2036, 2037, 2044, 2045, 2047, 2056, 2057, 2058, 2059,
           2060, 2061, 2062 and 2063 of tract 090502) and 02),
           Gregg, Hartley, Lewis, Limestone, West Buffalo and
           White Deer and the BOROUGHS of Hartleton, Mifflinburg
           and New Berlin.
           Total population: 764,864
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                            CONGRESSIONAL DISTRICTS



Dist. 14   BEDFORD, CAMBRIA, FAYETTE, GREENE, SOMERSET,
           WASHINGTON and WESTMORELAND Counties.
           All of BEDFORD County; Part of CAMBRIA County
           consisting of the TOWNSHIPS of Adams, Conemaugh,
           Richland and Stonycreek (PART, Districts 01, 03 and
           04) and the BOROUGHS of Geistown and Scalp Level; All
           of FAYETTE County; All of GREENE County; All of
           SOMERSET County; Part of WASHINGTON County consisting
           of the CITY of Monongahela and the TOWNSHIPS of Amwell
           (PART, District 02), Blaine, Carroll, Donegal, East
           Bethlehem, East Finley, Fallowfield, Independence
           (PART, District 01), Morris, North Franklin (PART,
           District 01), Nottingham, Peters, Somerset, South
           Franklin, Union, West Bethlehem, West Finley and West
           Pike Run and the BOROUGHS of Allenport, Beallsville,
           Bentleyville, California, Centerville, Charleroi,
           Claysville, Coal Center, Cokeburg, Deemston, Donora,
           Dunlevy, Elco, Ellsworth, Finleyville, Long Branch,
           Marianna, New Eagle, North Charleroi, Roscoe, Speers,
           Stockdale, Twilight and West Brownsville and All of
           WESTMORELAND County.
           Total population: 764,865

Dist. 15   ALLEGHENY County.
           Part of ALLEGHENY County consisting of the CITIES of
           Clairton, Duquesne, McKeesport and Pittsburgh and the
           TOWNSHIPS of Baldwin, Elizabeth, Forward, Mount
           Lebanon, North Versailles, Penn Hills, Reserve, South
           Park, South Versailles, Stowe (PART, Wards 01, 02
           [PART, Division 01], 06 and 09) and Wilkins and the
           BOROUGHS of Baldwin, Bethel Park, Braddock, Braddock
           Hills, Brentwood, Castle Shannon, Chalfant, Churchill,
           Dormont, Dravosburg, East McKeesport, East Pittsburgh,
           Edgewood, Elizabeth, Forest Hills, Glassport,
           Homestead, Jefferson Hills, Liberty, Lincoln, McKees
           Rocks, Monroeville, Mount Oliver, Munhall, North
           Braddock, Pitcairn, Pleasant Hills, Plum, Port Vue,
           Rankin, Swissvale, Trafford (Allegheny County
           Portion), Turtle Creek, Versailles, Wall, West
           Elizabeth, West Homestead, West Mifflin, Whitaker,
           White Oak, Whitehall, Wilkinsburg and Wilmerding.
           Total population: 764,864
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                            CONGRESSIONAL DISTRICTS



Dist. 16   BUTLER, CRAWFORD, ERIE, LAWRENCE, MERCER and VENANGO
           Counties.
           Part of BUTLER County consisting of the CITY of Butler
           and the TOWNSHIPS of Adams, Brady, Butler, Center,
           Cherry, Clay, Concord, Connoquenessing, Cranberry,
           Forward, Franklin, Jackson, Lancaster, Marion, Mercer,
           Middlesex, Muddycreek, Oakland, Penn, Slippery Rock,
           Summit (PART, Districts North and South (all blocks
           except 1012, 1013, 1015, 1016, 1020, 1021, 1022, 1023,
           1024, 1025, 1026, 1027, 1028, 1029, 1030, 1031, 3042,
           3049, 3050 and 3051 of tract 911200)), Venango,
           Washington and Worth and the BOROUGHS of Callery,
           Cherry Valley, Connoquenessing, East Butler, Eau
           Claire, Evans City, Harmony, Harrisville, Mars,
           Portersville, Prospect, Seven Fields, Slippery Rock,
           Valencia, West Liberty, West Sunbury and Zelienople;
           All of CRAWFORD County; All of ERIE County; All of
           LAWRENCE County; All of MERCER County and All of
           VENANGO County.
           Total population: 764,865
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                            CONGRESSIONAL DISTRICTS



Dist. 17   ALLEGHENY, BEAVER and WASHINGTON Counties.
           Part of ALLEGHENY County consisting of the TOWNSHIPS
           of Aleppo, Collier, Crescent, East Deer, Fawn,
           Findlay, Frazer, Hampton, Harmar, Harrison, Indiana,
           Kennedy, Kilbuck, Leet, Marshall, McCandless, Moon,
           Neville, North Fayette, O'Hara, Ohio, Pine, Richland,
           Robinson, Ross, Scott, Shaler, South Fayette,
           Springdale, Stowe (PART, Wards 02 [PART, Division 02],
           03, 04, 05, 07 and 08), Upper St. Clair and West Deer
           and the BOROUGHS of Aspinwall, Avalon, Bell Acres,
           Bellevue, Ben Avon, Ben Avon Heights, Blawnox,
           Brackenridge, Bradford Woods, Bridgeville, Carnegie,
           Cheswick, Coraopolis, Crafton, Edgeworth, Emsworth,
           Etna, Fox Chapel, Franklin Park, Glen Osborne,
           Glenfield, Green Tree, Haysville, Heidelberg, Ingram,
           Leetsdale, McDonald (Allegheny County Portion),
           Millvale, Oakdale, Oakmont, Pennsbury Village, Rosslyn
           Farms, Sewickley, Sewickley Heights, Sewickley Hills,
           Sharpsburg, Springdale, Tarentum, Thornburg, Verona
           and West View; All of BEAVER County and Part of
           WASHINGTON County consisting of the CITY of Washington
           and the TOWNSHIPS of Amwell (PART, District 01),
           Buffalo, Canton, Cecil, Chartiers, Cross Creek,
           Hanover, Hopewell, Independence (PART, District 02),
           Jefferson, Mount Pleasant, North Bethlehem, North
           Franklin (PART, Districts 02 and 03), North Strabane,
           Robinson, Smith and South Strabane and the BOROUGHS
           of Burgettstown, Canonsburg, East Washington, Green
           Hills, Houston, McDonald (Washington County Portion),
           Midway and West Middletown.
           Total population: 764,865


                  Population of all districts: 13,002,700
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               LEGISLATIVE DATA PROCESSING CENTER                 12/13/2021
                                                                      PAGE 1
        COUNTIES SPLIT BY CONGRESSIONAL DISTRICTS
15 TOTAL COUNTIES                                     18 TOTAL SPLITS

ALLEGHENY                                                  015 017

BERKS                                                      006 007

BUTLER                                                     012 016

CAMBRIA                                                    012 014

CHESTER                                                    005 006

CLINTON                                                    009 012

CUMBERLAND                                                 010 013

DAUPHIN                                                    010 011 013

LUZERNE                                                    008 009

MONROE                                                     007 008

MONTGOMERY                                                 001 004

PHILADELPHIA                                               002 003 004 005

SNYDER                                                     009 013

UNION                                                      009 013

WASHINGTON                                                 014 017
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                  LEGISLATIVE DATA PROCESSING CENTER           12/13/2021
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          PLACES SPLIT BY CONGRESSIONAL DISTRICTS
16 TOTAL PLACES                                        18 TOTAL SPLITS

ALLEGHENY COUNTY
  STOWE                   TOWNSHIP               015 017

BERKS COUNTY
  CENTRE                  TOWNSHIP               006 007

BUTLER COUNTY
  SUMMIT                  TOWNSHIP               012 016

CAMBRIA COUNTY
  STONYCREEK              TOWNSHIP               012 014

CHESTER COUNTY
  WEST WHITELAND          TOWNSHIP               005 006

CLINTON COUNTY
  PINE CREEK              TOWNSHIP               009 012

CUMBERLAND COUNTY
  SILVER SPRING           TOWNSHIP               010 013

DAUPHIN COUNTY
  EAST HANOVER            TOWNSHIP               011 013

LUZERNE COUNTY
  LUZERNE                 BOROUGH                008 009

MONROE COUNTY
  STROUD                  TOWNSHIP               007 008

MONTGOMERY COUNTY
  HORSHAM                 TOWNSHIP               001 004

PHILADELPHIA COUNTY
  PHILADELPHIA            CITY                   002 003 004 005

UNION COUNTY
  BUFFALO                 TOWNSHIP               009 013
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          PLACES SPLIT BY CONGRESSIONAL DISTRICTS


WASHINGTON COUNTY
  AMWELL                 TOWNSHIP                014 017
  INDEPENDENCE           TOWNSHIP                014 017
  NORTH FRANKLIN         TOWNSHIP                014 017
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           WARDS SPLIT BY CONGRESSIONAL DISTRICTS
19 TOTAL WARDS                                         19 TOTAL SPLITS

ALLEGHENY COUNTY
  STOWE                               TOWNSHIP
      WARD 02                                           015 017

BERKS COUNTY
  CENTRE                              TOWNSHIP
      WARD 02                                           006 007

BUTLER COUNTY
  SUMMIT                              TOWNSHIP
      WARD SOUTH                                        012 016

CHESTER COUNTY
  WEST WHITELAND                      TOWNSHIP
      WARD 04                                           005 006

CLINTON COUNTY
  PINE CREEK                          TOWNSHIP
      WARD 01                                           009 012

CUMBERLAND COUNTY
  SILVER SPRING                       TOWNSHIP
      WARD 02                                           010 013

DAUPHIN COUNTY
  EAST HANOVER                        TOWNSHIP
      WARD 01                                           011 013

LUZERNE COUNTY
  LUZERNE                             BOROUGH
      WARD                                              008 009

MONROE COUNTY
  STROUD                              TOWNSHIP
      WARD 05                                           007 008

MONTGOMERY COUNTY
  HORSHAM                             TOWNSHIP
      WARD 02                                           001 004
      WARD 04                                           001 004
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           WARDS SPLIT BY CONGRESSIONAL DISTRICTS


PHILADELPHIA COUNTY
  PHILADELPHIA                        CITY
      WARD 01                                           002   003
      WARD 08                                           002   003
      WARD 16                                           002   003
      WARD 39                                           003   005
      WARD 40                                           003   005
      WARD 47                                           002   003
      WARD 58                                           002   004

UNION COUNTY
  BUFFALO                             TOWNSHIP
      WARD 01                                           009 013
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                  Exhibit 3
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Compactness Report
HB2146
For more information on compactness calculations Click Here
Compactness measure: Polsby–Popper
               District Area      Perimeter      Area of Circle with   Perim       Compactness
District
               (SQM)              (Miles)        Same Perimeter        eter of     Value
1              713                151             1,807                  95      0.39
2              65                 61              291                    29      0.22
3              56                 55              241                    27      0.23
4              399                142             1,606                  71      0.25
5              339                129             1,331                  65      0.25
6              1,246              284             6,424                  125     0.19
7              1,071              192             2,921                  116     0.37
8              4,979              421             14,125                 250     0.35
9              6,984              539             23,120                 296     0.30
10             1,557              211             3,536                  140     0.44
11             1,455              193             2,954                  135     0.49
12             10,301             557             24,711                 360     0.42
13             5,350              483             18,585                 259     0.29
14             5,051              520             21,491                 252     0.24
15             308                116             1,070                  62      0.29
16             4,896              354             9,979                  248     0.49
17             1,284              260             5,383                  127     0.24
Most Compact: 0.49 For District: 16                                                   0.32
Least Compact: 0.19 For District: 6

Compactness measure: Schwartzberg
               District Area      Perimeter      Area of Circle with   Perim       Compactness
District
               (SQM)              (Miles)        Same Perimeter        eter of     Value
1              713                151             1,807                  95      0.63
2              65                 61              291                    29      0.47
3              56                 55              241                    27      0.48
4              399                142             1,606                  71      0.50
5              339                129             1,331                  65      0.50
6              1,246              284             6,424                  125     0.44
7              1,071              192             2,921                  116     0.61
8              4,979              421             14,125                 250     0.59
9              6,984              539             23,120                 296     0.55
10             1,557              211             3,536                  140     0.66
11             1,455              193             2,954                  135     0.70
12             10,301             557             24,711                 360     0.65
13             5,350              483             18,585                 259     0.54
14             5,051              520             21,491                 252     0.48
15             308                116             1,070                  62      0.54
16             4,896              354             9,979                  248     0.70
17             1,284              260             5,383                  127     0.49
Most Compact: 0.7 For District: 16                                                    0.56
Least Compact: 0.44 For District: 6

Compactness measure: Reock Score
                 District Area     Perimeter     Area of Circle with   Perim      Compactness

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               District Area      Perimeter   Area of Circle with   Perim       Compactness
District
               (SQM)              (Miles)     Same Perimeter        eter of     Value
1              713                151          1,807                  95      0.40
2              65                 61           291                    29      0.30
3              56                 55           241                    27      0.37
4              399                142          1,606                  71      0.36
5              339                129          1,331                  65      0.34
6              1,246              284          6,424                  125     0.38
7              1,071              192          2,921                  116     0.40
8              4,979              421          14,125                 250     0.41
9              6,984              539          23,120                 296     0.33
10             1,557              211          3,536                  140     0.44
11             1,455              193          2,954                  135     0.49
12             10,301             557          24,711                 360     0.62
13             5,350              483          18,585                 259     0.43
14             5,051              520          21,491                 252     0.38
15             308                116          1,070                  62      0.58
16             4,896              354          9,979                  248     0.38
17             1,284              260          5,383                  127     0.45
Most Compact: 0.62 For District: 12                                                0.42
Least Compact: 0.3 For District: 2




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                  Exhibit 4
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Precinct Splits Population Breakdowns by District

Summit Township, Butler County, Population Total: 4,504

 District 12                             District 16
 3,678                                   826


Pine Creek Township, Clinton County, Population Total: 3,416

 District 9                             District 12
 1,289                                  2,127


Buffalo Township, Union County, Population total: 3,593

 District 9                             District 13
 340                                    3,253


Silver Spring Township, Cumberland County. Population Total: 19,557

 District 10                             District 13
 17,009                                  2,548


East Hanover Township, Dauphin County, Population Total: 6,019

 District 11                              District 11
 1,370                                    4,649


Luzerne Borough, Luzerne County, Population Total: 2,711

 District 8                               District 9
 1,196                                    1,515


Stroud Township, Monroe County, Population total: 19,834

 District 7                               District 8
 2,898                                    16,936


Centre Township, Berks County, Population: 3,938

 District 6                              District 7
 2,678                                   1,260


West Whiteland Township, Chester County, Population total: 19,632

 District 5                              District 6
 10,509                                  9,123
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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that this filing complies with the provisions of the Case

Records Public Access Policy of the Unified Judicial System of Pennsylvania that

require filing confidential information and documents differently than non-

confidential information and documents.

                                          /s/ Jeffry Duffy
                                          Jeffry Duffy (PA No. 081670)
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                               CERTIFICATE OF SERVICE

        I hereby certify that on January 24, 2022, a copy of the foregoing filing was

served on all counsel of record via PACFile.

                                           /s/ Jeffry Duffy
                                           Jeffry Duffy (PA No. 081670)
122042.000003 4882-3764-9163
